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                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION

FEDERAL TRADE COMMISSION,                          Case No.: 3:24-cv-00347-AN
STATE OF ARIZONA,
STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA,                              PLAINTIFFS’ POST-HEARING BRIEF,
STATE OF ILLINOIS,                                 PROPOSED FINDINGS OF FACT, AND
STATE OF MARYLAND,                                 PROPOSED CONCLUSIONS OF LAW
STATE OF NEVADA,
STATE OF NEW MEXICO,                               PUBLIC VERSION
STATE OF OREGON, and
STATE OF WYOMING,

Plaintiffs,

v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

Defendants.




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                                  PRELIMINARY STATEMENT

        Kroger and Albertsons compete fiercely in thousands of communities across America:

from the East Coast to the West Coast, from rural regions in the Mountain states to

neighborhoods located in the heart of a city, millions of Americans rely on Kroger and

Albertsons as their local grocery store. In many of these communities, the head-to-head

competition between Kroger and Albertsons has led to higher quality fresh groceries at lower

prices. And it is the benefits American shoppers and workers reap from this competition that are

the table stakes of this litigation.

        Over the course of the weeks-long hearing, Plaintiffs introduced documents, testimony,

and economic analysis showing that Kroger’s $24.6 billion acquisition of Albertsons is both

presumptively anticompetitive in well over 1,000 local markets around the country and will

eliminate significant head-to-head competition between Kroger and Albertsons, leading to higher

prices, lower quality, and less choice. In response to this voluminous evidentiary record,

Defendants did not define a market of their own, nor did they seriously dispute that Kroger and

Albertsons compete aggressively with each other. Instead, Defendants first attacked Plaintiffs’

prima facie case by highlighting the presence of alternative competitors for shoppers and

workers and a supposed fundamental shift in how Americans buy groceries. Second, Defendants

made a series of promises about “prices” that would, allegedly, offset some of the harm to

competition. Neither argument can justify this anticompetitive acquisition. Below, Plaintiffs

summarize briefly the overwhelming evidence establishing their prima facie case and respond to

Defendants’ primary arguments raised throughout the hearing.

I.      PLAINTIFFS HAVE MET THEIR PRIMA FACIE BURDEN ACROSS
        MULTIPLE RELEVANT ANTITRUST MARKETS

        Plaintiffs satisfied their prima facie burden three times over. First, by showing that the
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acquisition will result in an undue increase in market concentration, making it presumptively

anticompetitive: (1) in the supermarkets product market (which includes supercenters like

Walmart and Target), (2) in a substantially more conservative product market consisting of all

large format food retail stores, and (3) in dozens of markets for union grocery labor. Second, by

showing robust head-to-head competition between Kroger and Albertsons that will cease the

moment the acquisition closes. And third, by showing that this acquisition will reduce union

bargaining leverage, harming hundreds of thousands of union grocery workers.

       A.      Plaintiffs Have Shown That the Increases in Post-Acquisition Market
               Concentration Make This Acquisition Presumptively Anticompetitive

       Plaintiffs have shown repeatedly that both the supermarkets and large format stores

product markets are relevant antitrust markets.1 Supermarkets (e.g., Albertsons, Kroger, and

Amazon Fresh) and supercenters (e.g., Walmart, Fred Meyer, and Target) are a distinct relevant

product market because they offer a convenient one-stop shopping experience where customers

can obtain substantially all of their food and non-food requirements in a single visit.2 To do that,

supermarkets’ large stores offer a wide breadth of grocery and household products as well as a

depth of assortment within each product type including varying package sizes, national brand

options, and private label options.3 Supermarkets also have an array of services including

pharmacies, florists, fuel centers, butchers, and deli and seafood counters.4

       Plaintiffs need not prove that there is a subset of customers who only desire this one-stop



1
  FOF §§ III.A-B; Pls. Br. at 22-33. This acquisition will increase concentration for union
grocery workers in CBA areas. Pls. Br. at 33-37; Pls. Rep. Br. at 16-19; FOF § IV.
2
  Compl. ¶ 44; McMullen Hrg. 1634:5-16; PX6009 (Kroger) at 113; Kammeyer Hrg. 480:7-12;
Curry Hrg. 873:6-13; Van Helden Hrg. 163:19-164:14, 166:5-11; Schwilke Hrg. 811:15-21.
3
  McMullen Hrg. 1634:5-16; PX6009 (Kroger) at 113; Knopf Hrg. 934:8-19; Yates Hrg.
2193:22-25, 2194:8-10; Van Helden Hrg. 164:15-22; Broderick Hrg. 1362:3-1363:25.
4
  Van Helden Hrg. 162:22-163:9, 168:9-169:7, 169:21-170:4; Kammeyer Hrg. 476:13-477:15.
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shopping experience for groceries, or who shop at only one store. People may “cross-shop”

different retailers for different purposes. But a customer’s “need state,” or what the customer is

seeking to find on a particular shopping trip, determines the customer’s reasonable substitutes in

terms of choices of stores to visit.5 For instance, if a customer needs a fill-in shop or a treasure

hunt experience, they may go to a dollar store.6 Club stores offer stock-up trips for bulk items.7

Premium, natural, and organic stores serve as secondary shops that offer fill-in trips for

customers seeking specialty products and a curated assortment.8 But when a customer’s need

state requires a one-stop shopping experience, supermarkets are uniquely positioned to best

fulfill that need for reasons illustrated by an application of the Brown Shoe practical indicia.9

       Despite this, Defendants spent most of the hearing arguing that cross-shopping somehow

proves that the supermarkets product market is too narrow. This contention ignores precedent,

testimony, and documents presented at the hearing. It also disregards Plaintiffs’ second

proposed antitrust market (large format stores in local store-based areas) that includes nearly all

the retail formats Defendants identified in their briefing or oral advocacy: every store in the

supermarkets product market (i.e., traditional supermarkets and supercenters like Walmart and

Target), plus club stores (e.g., Costco), limited assortment stores (e.g., Aldi and Lidl), and

premium, natural and organic stores (e.g., Trader Joe’s, Sprouts, and Whole Foods).10 Yet even

in this far more inclusive market, whose breadth understates the likely competitive effects of the

acquisition, serious competitive concerns remain.


5
  Yates Hrg. 2196:23-2197:1; Lieberman Hrg. 2359:3-2361:15.
6
  Unkelbach Hrg. 463:9-464:11.
7
  George Hrg. 2045:13-2046:2.
8
  Neal Hrg. 372:17-373:7.
9
  McMullen Hrg. 1634:5-16; Broderick Hrg. 1363:13-25. Pls. Br. at 22-28 provides a full
analysis of the Brown Shoe practical indicia. See also FOF § III.A.1.
10
   Hill Hrg. 1445:1-16.
                                                    3
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       Plaintiffs’ economic expert, Dr. Nicholas Hill, applied the hypothetical monopolist test

(HMT) to examine whether Plaintiffs’ candidate markets were properly defined, confirming that

both supermarkets and large format stores are relevant antitrust markets in thousands of local

areas around Defendants’ stores. When applying the HMT and calculating shares and

presumptions, Dr. Hill assessed each product market—supermarkets and large format stores—

using two independent and complementary approaches to defining local store-based geographic

markets. Dr. Hill first used a store-based methodology akin to the approach Defendants argued

for in their pre-Complaint advocacy.11 He then applied a customer-based rebuttal methodology

that responded to Defendants’ criticisms of the draw area focus of the store-based approach.

Both analyses resulted in geographic markets consisting of localized areas surrounding

Defendants’ stores, just as Plaintiffs’ Complaint alleges.12

       Relying on a robust data set including micro-level sales and loyalty data for each party

store, Dr. Hill found that 2,055 supermarket candidate markets passed the HMT using the store-

based geographic market approach, and 2,674 supermarket candidate markets passed the HMT

using the customer-based geographic market approach.13 In the broader large format store

product market, 2,688 candidate markets passed the HMT under the store-based geographic

market approach, and 2,498 candidate markets passed the HMT under the customer-based

geographic market approach.14 Dr. Hill then analyzed market shares and concentration levels in

each properly defined market, concluding that in 1,922 supermarket markets, the acquisition will

result in presumptively anticompetitive levels of market concentration under the Guidelines



11
   See PX10007 (Compass Lexecon) at 003, 007.
12
   PX7006 (Hill Rebuttal Rpt.) ¶¶ 31-43; Compl. ¶¶ 51-52.
13
   See Hill Hrg. 1463:10-1464:5; PX7006 (Hill Rebuttal Rpt.) ¶ 42, Fig. 4.
14
   Hill Hrg. 1463:10-1464:5; PX7006 (Hill Rebuttal Rpt.) ¶ 42, Fig. 4.
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thresholds.15 Even by the more lenient standards of the 2010 Guidelines, 1,574 supermarket

markets are presumptively anticompetitive.16

       In the large format store market, Dr. Hill concluded the acquisition is presumptively

anticompetitive in 1,785 candidate markets under the Guidelines and 911 candidate markets

under the 2010 Guidelines.17 However you slice it—supermarkets or large format stores, store-

based or customer-based geographic markets, 2010 or 2023 Guidelines—the acquisition is

presumptively anticompetitive in many hundreds of markets.

       B.      The Acquisition Will Eliminate Significant and Substantial Head-to-Head
               Competition to the Detriment of Consumers and Workers

       Independent of market concentration, Plaintiffs can also establish a prima facie case by

showing that a merger eliminates significant head-to-head competition between close

competitors. See FuboTV Inc. v. Walt Disney Co., No. 24-CV-01363, 2024 WL 3842116, at *17,

29-30 (S.D.N.Y. Aug. 16, 2024) (granting a preliminary injunction based on competitive

effects—and not market concentration—without a “comprehensive market analysis”); FTC v.

IQVIA Holdings Inc., 710 F. Supp. 3d 329, 385 (S.D.N.Y. 2024); FTC v. Sysco Corp., 113 F.

Supp. 3d 1, 61 (D.D.C. 2015); U.S. Dep’t of Justice & Fed. Trade Comm’n, Merger Guidelines

§ 2.2 (2023). Plaintiffs showed that Kroger and Albertsons are fierce competitors with highly

similar go-to-market strategies: be the best traditional supermarket.

       As Kroger’s CEO Rodney McMullen explained, Defendants’ supermarkets connect with

their local communities.18 While large companies like Amazon, Costco, and Walmart also sell

groceries, Kroger and Albertsons strive to offer a distinct consumer experience. Indeed, both


15
   Hill Hrg. 1553:25-1554:5; PX7004 (Hill Rpt.) ¶ 351, Fig. 78.
16
   2010 Merger Guidelines at §5.3; PX7006 (Hill Rebuttal Rpt.) at Fig. 43.
17
   PX7006 (Hill Rebuttal Rpt.) at Fig. 10.
18
   McMullen Hrg. 1600:20-1601:8, 1648:3-20.
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companies’ SEC 10-K filings emphasize nearly identical features distinctive to a traditional

supermarket, e.g., (a) a focus on fresh food products and friendly customer service; (b)

substantial private-label offerings alongside national brands; and (c) promotional pricing and

rewards.19 Unsurprisingly, Albertsons describes Kroger as its “primary food competitor” and

seeks to “beat Kroger on a sustained basis.”20 Likewise, according to Kroger’s CEO, Albertsons

is Kroger’s number one or number two competitor in 14 of 17 major metropolitan statistical

areas (MSAs) where the two companies overlap.21 During the hearing, executives for the two

companies in charge of pricing and running the local divisions and banners confirmed the

substantial local competition at risk.22

       Consistent with the qualitative evidence, Dr. Hill’s quantitative analysis showed that the

merged firm would have presumptively unlawful market shares and an incentive to raise prices

as a result of the acquisition in over 1,400 communities around the country.23 Importantly, Dr.

Hill’s competitive effects analysis was largely agnostic to market definition. In other words, it

accounts for the potential that customers might substitute to certain food retailers outside of both

Plaintiffs’ supermarkets and large store format markets (e.g., dollar stores), and yet still predicts

that the transaction will lead to higher prices in hundreds of markets.

       Defendants’ attacks on the labor impacts of the acquisition are equally unavailing.

Defendants agree that a lessening of competition between employers in a labor market may result

in the diminution of bargaining leverage that workers can use to negotiate their compensation.24


19
   PX6154 (Kroger); PX6153 (Albertsons).
20
   Sankaran Hrg. 1755:2-4, 1766:2-8.
21
   McMullen Hrg. 1655:16-20; PX6024 (Kroger) at 058-60.
22
   See, e.g., Groff Hrg. 285:13-286:10; Broderick Hrg. 1371:19-1372:6; Kammeyer Hrg. 487:8-
18; PX1743 (Kroger).
23
   PX7006 (Hill Rebuttal Rpt.) at 040, 106, Figs. 13, 46; see also Hill Hrg. 1483:17-1484:4.
24
   McCrary Hrg. 3107:23-3108:7.
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Despite that concession, however, Defendants spent much of the hearing focused on the wrong

labor question. In assessing the impact of a merger of employers, the focus of the antitrust

inquiry is on the views of the affected workers. Todd v. Exxon Corp., 275 F.3d 191, 202 (2d Cir.

2001). Defendants’ misguided emphasis on the types of entry-level workers that employers may

view as substitutes for their needs is irrelevant. Rather, one must assess, from the perspective of

workers, the interchangeability of a job at, e.g., Home Depot or McDonald’s, with a job at a

union grocery employer. See id. Here, the workers, via unions, recognize that union grocery

employers are unique, and that Kroger and Albertsons are the two dominant—and often only—

available union grocery employers.25 Id. Unsurprisingly, no union supports this acquisition.26

Finally, regardless of the status of current labor laws or NLRB protections, Defendants’ labor

law expert offered no opinion on the likely anticompetitive effects of this acquisition, in contrast

to the union presidents who consistently testified that the acquisition would diminish their

bargaining leverage in future negotiations and that Kroger would not follow through on its

commitment to invest in workers.27

                                          *      *       *

       The record is replete with examples of Kroger and Albertsons competing intensely,

fiercely, and head-to-head to win customers.28 To gain market share, Kroger and Albertsons

closely monitor and respond to each other on regular pricing, promotional pricing, and non-price

dimensions like freshness, service, and convenience.29 Thus, not only will this acquisition

increase market concentration in thousands of communities nationwide, but it will also eliminate


25
   See FOF § IV.
26
   See, e.g., Clay Hrg. 721:8-10; Zinder Hrg. 773:25-774:14; McPherson Hrg. 670:3-671:4.
27
   See King Hrg. 2872:16-18; Zinder Hrg. 772:19-776:6; Clay Hrg. 721:8-24.
28
   FOF § III.F.
29
   FOF § III.F.
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this close and substantial competition, satisfying Plaintiffs’ prima facie burden.

II.     DEFENDANTS CANNOT REBUT PLAINTIFFS’ STRONG PRIMA FACIE CASE

        Once Plaintiffs meet their prima facie burden, the burden shifts to Defendants to produce

evidence rebutting that case, or to carry their burden on efficiencies, remedy, or any additional

affirmative defenses. Saint Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778

F.3d 775, 783 (9th Cir. 2015) (“St. Luke’s”). Defendants cannot meet their burden on any count.

        A.      Defendants Have Not Shown That Plaintiffs’ Markets are Improper

        Defendants’ efforts to undermine Plaintiffs’ product markets repeatedly miss the mark.

Of course, “[i]t is always possible to take pot shots at a market definition.” United States v.

Rockford Memorial Corp., 898 F.2d 1278, 1285 (7th Cir. 1990). But that is precisely why the

Supreme Court has instructed that “[t]he ‘market,’ as most concepts in law or economics, cannot

be measured by metes and bounds.” Times-Picayune Publ’g Co. v. United States, 345 U.S. 594,

611 (1953). Defendants’ primary contentions on market definition rely on both a

mischaracterization of the allegations in this case, and a mischaracterization of the commercial

realities in the grocery retail space.

        First, Kroger and Albertsons profess that Plaintiffs have somehow violated their due

process rights by failing to plead a separate product market consisting of large format stores.30

This is both untrue and irrelevant.31 Plaintiffs’ Complaint explicitly contemplates the existence

of broader product markets, noting: “Even if the non-supermarket retail formats described above


30
  Defendants’ Closing Argument Hrg. 3532:16-3533:19.
31
  The liberal pleading standard under Federal Rule of Civil Procedure 8 requires that the
complaint give defendants fair notice of the grounds for a claim. Pac. Coast Fed’n of
Fishermen’s Ass’ns v. Glaser, 945 F.3d 1076, 1086 (9th Cir. 2019). Plaintiffs provided fair
notice in their complaint. Compl. ¶ 57. Defendants also received fair notice of Dr. Hill’s expert
methodologies upon receipt of his reports. See Pac. Coast, 945 F.3d at 1087 (explaining that
defendants received fair notice through a combination of the complaint and expert reports).
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[e.g., club, limited assortment, etc.] are included in the relevant product market, the proposed

acquisition is still presumptively unlawful.”32 Further, Dr. Hill’s initial expert report and

Plaintiffs’ brief both discuss the large format stores market in detail.33 Indeed, Defendants’

expert Dr. Israel responded to the large format stores market at length, referencing it dozens of

times in his initial report.34 Finally, even if an alternative product market were not explicitly

mentioned in the Complaint—which it was—that would not preclude the Court from finding that

large format stores are a properly defined antitrust product market. See Epic Games, Inc. v.

Apple, Inc., 67 F.4th 946, 978 n.9 (9th Cir. 2023) (rejecting the “radical argument” that a case

ends if the district court finds an “in-between market” different from the plaintiffs’ market);

Rockford Memorial, 898 F.2d at 1285 (7th Cir. 1990) (affirming the district court’s identification

of its own relevant geographic market instead of those that the parties offered).

       Second, Defendants say that Plaintiffs’ relevant markets are too narrow because a

customer can purchase the same item from various store formats. This simplified approach to

market definition is incorrect. Instead, properly defining a relevant market requires determining

which products and services are reasonable substitutes by consumers for the same purpose.

Optronic Techs., Inc. v. Ningbo Sunny Elec. Co., 20 F.4th 466, 482 (9th Cir. 2021). Documents

and testimony presented at the hearing confirm that the mere availability of a similar food item in

various store formats does not mean that each of those store formats provides a comparable

customer experience to, or is a reasonable substitute for, shopping at a supermarket.35 For

example, bananas are sold in traditional supermarkets, natural food stores, club stores, and even



32
   Compl. ¶ 57.
33
   PX7004 (Hill Rpt.) ¶¶ 15-19, 66-100, 114-160; Pls. Br. at 32-33, 37-38.
34
   DX2623 (Israel Rpt.) passim.
35
   FOF ¶¶ 9-31.
                                                   9
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at some dollar stores and convenience stores. But a customer’s decision about where to shop

will depend on how many and what kind of bananas they want, what else is on their shopping

list, and the in-store experience they are seeking (or can afford).36 More specifically, a person

who wants just two bananas cannot have that need met at a club store; if they want to buy

bananas along with a box of national-brand cereal, they may be out of luck at a natural food

store; and if they also want access to staffed service counters, those are not available from a

limited assortment store like Aldi or at a dollar store.37 Each store format may suit a customer’s

need on occasion, but the traditional supermarket’s go-to-market strategy satisfies a distinct

demand for a one-stop shopping experience that offers the key combination of convenience,

service, high quality, and a broad and deep assortment.38 See FTC v. Whole Foods Mkt., Inc.,

548 F.3d 1028, 1037-1040 (D.C. Cir. 2008).

       Third, Defendants wrongly suggest that customers no longer value the one-stop shopping

experience at the core of Kroger’s and Albertsons’ business models. Defendants claim that

shoppers no longer distinguish between different retail formats, a trend they refer to as “channel

blur.”39 But Dr. Hill’s quantitative analysis showed that across all overlap areas, shoppers still

spend the majority (68 percent) of their grocery dollars at supermarkets (including supercenters),

and that 96 percent of all food and grocery purchases are made at large format stores.40 These

market dynamics have held stable for many years, including post-COVID, with little variation in

each format’s share of overall food and grocery sales.41 Thus, contrary to Defendants’ claims,



36
   FOF ¶ 21.
37
   FOF ¶¶ 9-31.
38
   FOF ¶¶ 11-15.
39
   Defendants’ Closing Argument Hrg. 3568:2-16.
40
   PX7004 (Hill Rpt.) ¶¶ 78, Fig. 9.
41
   Hill Hrg. 1451:14-1452:11; PX7004 (Hill Rpt.) ¶¶ 79, Fig. 10.
                                                  10
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there is no evidence of a recent “seismic” shift in consumer shopping behavior.

        Fourth, Defendants attempt to distract from all this evidence of persistent consumer

demand for a supermarket one-stop shopping experience by pointing to Walmart, Costco, and

Amazon as apparent game-changing retailers. But these companies have been around for years,

and Plaintiffs account for each. Walmart and Amazon Fresh are in Plaintiffs’ supermarkets

product market, while Costco and Amazon’s Whole Foods Market are included in Plaintiffs’

large format market—and the acquisition will result in presumptively unlawful market

concentration levels in all scenarios.42 The stable market shares calculated by Dr. Hill also

contradict any claim that grocery shopping has fundamentally changed.43 Because Plaintiffs

have already accounted for the presence of Walmart, Costco, and Amazon, Defendants’ hand-

waving references to these companies as supposed market disrupters is belied by the record.

       B.      Defendants Fail to Show That Eliminating Competition Between Kroger and
               Albertsons Would not Result in a Substantial Lessening of Competition

       Defendants placed enormous emphasis on Walmart throughout the hearing, and yet, the

acquisition is anticompetitive even if accounting for Walmart in full. “[M]ergers that eliminate

head-to-head competition between close competitors often result in a lessening of competition.”

United States v. Anthem, 236 F. Supp. 3d 171, 216 (D.D.C. 2017), aff’d, 855 F.3d 345, 426 (D.C.

Cir. 2017) (quoting FTC v. Staples, Inc., 190 F. Supp. 3d 100, 131 (D.D.C. 2016)). This maxim

holds true “even where the merging parties are not the only two, or even the two largest,

competitors in the market.” Id. at 216; see also RSR Corp. v. FTC, 602 F.2d 1317, 1325 (9th Cir.

1979) (“[A] merger of the second and fifth largest firms . . . is not the merger of ‘two small

firms.”). Rather, when analyzing a transaction, the “acquired firm need not be the other’s closest


42
  Hill Hrg. 1445:1-16, 1504:12-18.
43
  Hill Hrg. 1451:14-1452:11; PX7004 (Hill Rpt.) ¶ 79, Fig. 10; FOF ¶¶ 32, 34.
                                                 11
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competitor to have an anticompetitive effect; the merging parties only need to be close

competitors.” Anthem, 236 F. Suppl. 3d at 216; see also United States v. H&R Block, Inc., 833

F. Supp. 2d 36, 82-83 (D.D.C. 2011).

       Even crediting Defendants’ claim that Walmart is their largest competitor, this

acquisition is anticompetitive for two reasons: (1) a merger need not be between the two largest

competitors to be anticompetitive; and (2) the record demonstrates that Kroger and Albertsons

directly and aggressively compete with each other. Plaintiffs do not ignore or discount Walmart.

Walmart is part of both the supermarket and large format markets, and thus considered in all of

Dr. Hill’s analyses, e.g., price-checking, market shares, presumptions, and competitive effects.44

Nor is Albertsons a more distant competitor to Kroger than Walmart. To the contrary, in 14 of

17 MSAs with overlapping operations, Albertsons is either Kroger’s number one or number two

competitor.45 Unsurprisingly, dozens of emails, communications to shareholders, and reports

show robust price and non-price competition between Kroger and Albertsons.46 In response,

Defendants argue that because Kroger uses Walmart to set its price floor for certain items and in

certain divisions, competition between Kroger and Albertsons is meaningless. The evidence

shows otherwise. First, in many areas, Kroger does not match Walmart’s price but rather prices

using a “spread” that is capped by Albertsons’ pricing, making Albertsons a meaningful price

guardrail.47 Second, in some divisions, Kroger prices off Albertsons directly.48 Third, and

perhaps most important, Defendants compete fiercely on important non-price dimensions: the so-

called “full, fresh, and friendly” strategy. And, for that, competition with Albertsons is a key


44
   Hill Hrg. 1445:1-16.
45
   McMullen Hrg. 1655:16-20; PX6024 (Kroger) at 58-60.
46
   FOF §§ III.F.1, III.F.3.
47
   FOF ¶¶ 60-65.
48
   FOF ¶¶ 60-61.
                                               12
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driver of both innovation and quality.49 Kroger and Albertsons spend an enormous amount of

time and resources tracking, assessing, and responding to each other.50 It belies credulity that the

two largest traditional supermarket chains in the country would do so if that competition was

immaterial. Instead, the record shows the acquisition will eliminate this substantial, direct, and

aggressive competition between Kroger and Albertsons in violation of the antitrust laws. 15

U.S.C § 18 (proscribing mergers where “the effect of such acquisition may be substantially to

lessen competition”); Anthem, 236 F. Supp. 3d at 216.

III.   DEFENDANTS CANNOT MEET THEIR BURDEN TO OFFSET THE HARM

       Lacking the evidence to rebut Plaintiffs’ prima facie case, Defendants offer three

promises in rebuttal: (1) unenforceable promises including purported “price investments;” (2)

promises of claimed efficiencies that Defendants allege will benefit consumers; and (3) promises

that C&S will effectively replace the substantial lost competition. Because these promises are

only analyzed after a finding of harm, Defendants bear a high burden under each theory to ensure

that shoppers do not bear the risk of Defendants’ decision to merge. St. Luke’s, 778 F.3d at 783.

Defendants cannot meet their burden.

       A.      Self-Serving Promises by Merging Party Executives Cannot Immunize an
               Anticompetitive Acquisition

       Throughout the course of this hearing, Defendants time and again referred to promises



49
  FOF § III.F.3.
50
  FOF §§ III.F.1, III.F.3; Pls. Br. at 8-16. Putting aside Walmart, Defendants’ second major
response is that the grocery space is “competitive.” They rely on information such as aggregated
national data (which ignores local competition) and generic competitor lists (which do not
address the extent to which any “competitor” acts as a constraint on Defendants). But these
materials do not answer the key question: whether sufficient alternative competition would
remain to make the elimination of competition between Kroger and Albertsons insubstantial.
Generic attestations that the market is “competitive” are insufficient for Defendants to refute the
substantial competition between Kroger and Albertsons.

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regarding their post-acquisition conduct. They vowed to “lower their prices,” “improve their

stores,” and “improve associates’ salaries,” and asserted that “no stores will close.”51 But self-

serving promises by executives, however well intentioned, cannot rebut the anticompetitive

effects of a merger. H&R Block, 833 F. Supp. 2d at 82. Courts generally have treated subjective

corporate testimony with skepticism, especially when it pertains to post-merger behavior. FTC

v. Meta Platforms, Inc., 654 F. Supp. 3d 892, 937 (N.D. Cal. 2023); Bertelsmann, 646 F. Supp.

3d at 50. Unenforceable promises, like a vow to lower prices, “can be broken at will”—and

likely will be broken if they would not be profit-maximizing—and thus are entitled to “no

weight.” Bertelsmann, 646 F. Supp. 3d at 50. Indeed, as the Washington state court recently

held in a parallel challenge, Defendants’ promises of price investments should not be considered:

“[E]vidence regarding non-binding promises, whether you call it a business plan, or a price

investment, or something else” are not “admissible and I just won’t consider it.” Trial Tr. 311,

State of Washington v. Kroger et al., No. 24-2-00977-9, (Wash. Super. Ct. 2020).52

       Here, Defendants’ promises trigger many of the concerns recognized by past courts.

First, as Kroger’s CEO admitted, a promise to undertake “price investments” is not legally

enforceable.53 Second, any assumption that Defendants will invest more in reducing prices than

they did prior to the merger is not economically rational. United States v. AT&T, 916 F.3d 1029,

1044 (D.C. Cir. 2019) (“[P]rofit maximization . . . [is] a principle of antitrust law”). These

promises are only considered after this Court has found that Plaintiffs meet their burden to show

a reduction in competition, meaning after Plaintiffs have shown that Defendants will have less


51
   Defendants’ Closing Argument Hrg. 3552:7-9.
52
   While the Court later entered an order allowing evidence of whether there would be an
“economic incentive” to lower prices post-merger, Defendants have presented no such evidence
here that this acquisition would somehow enhance or change their incentive to compete.
53
   McMullen Hrg. 1669:5-9, 1626:3-12, 1678:9-13.
                                                    14
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incentive to invest in prices to steal share from each other than they have today. Even if Kroger

stands to make more money because of this acquisition (essentially what their “flywheel” says),

it will nonetheless have less incentive to use that windfall to compete in the markets impacted by

the acquisition because it will face less competition. See Anthem, 855 F.3d at 356 (D.C. Cir.

2017) (viewing skeptically “potential price reductions subject to a number of uncertainties”

where “the merger would immediately give rise to upward pricing pressure by eliminating a

competitor”). Third, the promised price investments are far from certain. See id. One

Albertsons local division executive wrote candidly that, “we all know prices will not go down.

A $500M investment in pricing won’t get our prices down to Kroger levels in my view, therefore

the conclusion that’s easily drawn is overall prices will increase.”54 Another Kroger executive

acknowledged, if Kroger’s financial circumstances change—for example, if it falls short of

synergies estimates—the company might reduce or cease price investments.55 The same

executive explained that Kroger has reduced past price investments to achieve earnings per share

targets.56 While today Kroger may be sincere in its promise, Kroger’s board has a fiduciary

responsibility to deliver returns to its shareholders—not to lower prices to consumers—and

tomorrow, outside this Court, Kroger will act with its duty to benefit shareholders in mind.57

       Even if the Court treats Defendants’ claimed price investments as a procompetitive

benefit to be balanced against a finding of harm, the proper framework for such assessment

would be the efficiencies defense. See FTC v. Hackensack Meridian Health, Inc., 30 F.4th 160,

176 (3d Cir. 2022). Defendants have not shown that promised price investments would benefit



54
   PX2376 (Albertsons) at 003; Broderick Hrg. 1412:3-14.
55
   Aitken Hrg. 1894:3-18.
56
   Aitken Hrg. 1895:10-17.
57
   Aitken Hrg. 1894:15-18.
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those communities most likely to be harmed by the acquisition, cannot show any investments

would address lost non-price competition, cannot independently verify the promised investments,

and cannot show price investments would be merger specific given both Kroger and Albertsons

make price investments independently today.58 Indeed, executives from each company admitted

that they were already investing in lowering prices separate and apart from the acquisition and

that these investments were contingent at least in part on the realization of certain cost savings.59

       B.      Defendants Fail to Meet their Burden to Show Sufficient Cognizable
               Efficiencies to Offset the Harm of This Acquisition

       No court has ever found that efficiencies, alone, immunize an anticompetitive merger.

Sysco, 113 F. Supp. at 82. The Supreme Court has even cast doubt on the availability of the

efficiencies defense to the antitrust laws. FTC v. Procter & Gamble Co., 386 U.S. 568, 580

(1967). The Ninth Circuit also “remain[s] skeptical about the efficiencies defense in general and

about its scope in particular.” St. Luke’s, 778 F.3d at 790.

       To establish this defense, defendants bear the burden to show: (1) that the acquisition

enhances competition because of the efficiencies; (2) that the claimed efficiencies are merger

specific; and (3) that efficiencies estimates are verifiable. St. Luke’s, 778 F.3d at 790-91.

Defendants bear the burden of demonstrating that the claimed efficiencies would benefit

customers in the challenged markets. FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865, 913

(E.D. Mo. 2020); United States v. Aetna Inc., 240 F. Supp. 3d 1, 94 (D.D.C. 2017); FTC. v. CCC

Holdings Inc., 605 F. Supp. 2d 26, 74 (D.D.C. 2009). Defendants bear this burden because the

facts “lie peculiarly in th[eir] knowledge.” Smith v. United States, 568 U.S. 106, 112 (2013).

       Revenue Efficiencies. Defendants’ first category of efficiencies—revenue synergies—


58
  FOF § V.E.
59
  McMullen Hrg. 1664:1-4, 1671:18-23; Sankaran Hrg. 1761:16-1762:8, 1764:6-18.
                                              16
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fails out of the gate. Revenue synergies (i.e., making more money) are not competition-

enhancing; instead, “they merely shift revenue among the participants in the market and, in

effect, do nothing more than increase [defendant’s] bottom-line.” FTC v. ProMedica Health,

2011 WL 1219281, at *36 (N.D. Ohio 2011). Because incremental revenue does not benefit

consumers, it does not offset competitive harm and should not be credited as a cognizable

efficiency. Anthem, 855 F.3d at 362. Defendants have not demonstrated that their promised

revenue synergies would benefit competition at all, let alone in the affected communities. For

instance, Defendants’ Alternative Profit Synergy, a claimed opportunity to generate “incremental

revenue,”60 will benefit the combined firm, but not necessarily help competition or consumers.

         Expansions of Business. To the extent Defendants argue the acquisition will enhance

their ability to compete in a different market (e.g., retail media) or in local communities not

impacted by the acquisition, that argument fails. Section 7 does not permit “anticompetitive

effects in one market [to] be justified by procompetitive consequences in another.” United States

v. Phila. Nat’l Bank, 374 U.S. 321, 370 (1963); see also RSR, 602 F.2d at 1325.

         Best-of-Both Pricing. Defendants also claim that the combined firm will achieve “best-

of-both” pricing from large consumer product companies like Procter & Gamble—i.e., where

Albertsons purchases a product for less than Kroger, the merged firm will negotiate to pay the

lower Albertsons rate, and vice versa. These and nearly all of Defendants’ other claimed cost

savings are neither merger specific nor verifiable, and thus are not legally cognizable. To carry

their burden of production, Defendants must show that efficiencies are merger specific; that is,

they cannot readily “be achieved without the concomitant loss of a competitor.” FTC v. H.J.

Heinz Co., 246 F.3d 708, 722 (D.C. Cir. 2001); see also 2023 Merger Guidelines § 3.3.


60
     Gokhale Hrg. 2136:4-6.
                                                     17
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Defendants cannot show this—Kroger and Albertsons today already work tirelessly, and

independently, to cut costs, and Defendants’ efficiencies expert failed to consider what cost

savings Albertsons could obtain independently.61

        Defendants also fail to establish that most of their claimed cost savings are verifiable.

Merging firms must show “by reasonable means the likelihood and magnitude of each asserted

efficiency.” H&R Block, 833 F. Supp. 2d at 89. As noted in Bertelsmann, “because it is the

parties’ interest to be aggressive and optimistic in the projection of efficiencies to justify their

own merger,” no court has given any weight to non-verifiable efficiencies. Trial Tr. at 2755:11-

24 No. 1:21-cv-02886 (D.D.C. Aug. 17, 2022). An independent party must conduct a “rigorous

analysis” to verify efficiencies. Heinz, 246 F.3d at 721. To entrust this responsibility of

verification to the merging parties or their consultants alone would allow the efficiencies defense

to “swallow the whole of Section 7 of the Clayton Act” because Defendants could create

estimates of any size necessary to immunize their acquisition. FTC v. Wilh. Wilhelmsen Holding

ASA, 341 F. Supp. 3d 27, 73 (D.D.C. 2018) (citing H&R Block, 833 F. Supp. 2d at 91).

        Kroger’s efficiencies expert did not rigorously analyze Kroger’s claimed efficiencies.

Instead, Mr. Gokhale merely recounted work from Kroger’s consultants.62 But an expert cannot

just rely on the parties’ consultants. See Aetna, 240 F. Supp. 3d 1 at 97. Here, Mr. Gokhale

testified that he did not understand Kroger or its consultants to have been estimating efficiencies

in a manner consistent with the Merger Guidelines.63 Yet after he reviewed the consultants’

work product and conducted some interviews, he was “comfortable that parties’ methodology

was indeed designed to estimate the incremental benefit of the merger,” and used that


61
   FOF § V.E.3.
62
   See, e.g., DX2736 at ¶¶ 74-99; see also FOF § V.E.2.
63
   Gokhale Hrg. 2146:13-21.
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methodology as the basis for his opinions.64 Reviewing and adopting consultants’ work product

is not the “robust analysis” required under the law. Id. Simply identifying “best-of-both” cost

differences without describing how Kroger and Albertsons could plausibly take advantage of the

lowest prices from sophisticated Fortune 500 companies on each and every product they

purchase is insufficient to satisfy the stringent efficiencies defense. Wilhelmsen, 341 F. Supp. 3d

at 73 (“Nor can reference to the merging parties’ past practices, managerial expertise and

incentives, or internal verification processes serve to substantiate any efficiencies.”); see also

Anthem, 236 F. Supp. 3d at 244-45 (finding claimed efficiencies not verifiable where “the record

is devoid of plans specifying what method could be employed to” realize them).

IV.      DEFENDANTS FAIL TO REBUT PLAINTIFFS’ STRONG PRIMA FACIE CASE
         WITH AN INADEQUATE DIVESTITURE PACKAGE TO A POORLY
         PERFORMING BUYER

         Defendants’ made-for-litigation divestiture of 579 stores to C&S, a wholesaler with a

poor track record of running grocery stores, fails to meet Defendants’ substantial burden. When

the plaintiff’s “prima facie case anticipates and addresses the respondent’s rebuttal evidence,”

then the plaintiffs’ case “is very compelling and significantly strengthened.” Chicago Bridge &

Iron Co. N.V. v. FTC, 534 F.3d 410, 426 (5th Cir. 2008). As a result, Defendants’ “burden of

production on rebuttal is also heightened.” Id. Defendants must demonstrate that the divestiture

would “sufficiently mitigate[] the merger’s effect such that it [i]s no longer likely” that the

merger would “substantially lessen competition.” Illumina, Inc. v. FTC, 88 F.4th 1036, 1059

(5th Cir. 2023). Any divestiture must “[r]estor[e] competition” and “replac[e] the competitive

intensity lost as a result of the merger.” Sysco, 113 F. Supp. 3d at 72-73. Here, Defendants’

divestiture to C&S fails for the many reasons cited in Plaintiffs’ pre-hearing briefing and shown


64
     Gokhale Hrg. 2115:12-2116:10.
                                                     19
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at the hearing.65 Plaintiffs highlight below some of the key evidence from C&S that it will not

compete effectively, the lack of support for Defendants’ claims to the contrary, and the

cautionary tales of prior failed divestitures connected with grocery chain mergers.

       A.      The Divestiture Fails to Mitigate a Substantial Lessening of Competition

        Critically, the divestiture immediately fails because it leaves hundreds of supermarket

and large format markets—representing tens of billions in sales—unremedied and thus,

presumptively unlawful.66 Dr. Hill’s economic analyses confirm that prices likely will increase

in hundreds of these markets, even using his conservative compensating marginal cost reduction

(“CMCR”) analysis.67 In a remarkable concession, Defendants’ expert Dr. Israel agrees that

there are unremedied markets under a CMCR analysis.68 This alone dooms the divestiture, as

Section 7 proscribes mergers “where in any line of commerce . . . in any section of the country,

the effect of such acquisition . . . may be substantially to lessen competition.” 15 U.S.C. § 18;

see also Crown Zellerbach Corp. v. FTC, 296 F.2d 800, 812 (9th Cir. 1961) (“[T]he statutory

phrase ‘in any line of commerce’, the word entitled to emphasis is ‘any’ . . . . The line of

commerce need not even be a large part of the business of any of the corporations involved.”).

        Even where it is receiving stores, C&S has admitted that it will not compete with

Defendants for several years post-merger.69 C&S will not run its own pricing and promotions

until the second or third year post-divestiture.70 As C&S admits: “[U]ntil we are fully de-

coupled, we are not a separate functioning company,” let alone a meaningful competitor that


65
   Pls. Br. at 37-46; FOF §§ V.A-B.
66
   PX7006 (Hill Rebuttal Rpt.) at Appx. E, Figs. 43-44; Hill Hrg. 3381:16-3382:5; FOF § V.A.
67
   PX7006 (Hill Rebuttal Rpt.) at Figs. 13 and 46; Hill Hrg. 3381:16-3382:5.
68
   Israel Hrg. 2687:17-2688:8; see also Defs. Resp. Br. at 27 (admitting the post-divestiture
acquisition is presumptively illegal in 22 large format markets).
69
   Winn Hrg. 1195:5-1197:1; PX3956 (C&S) at 045.
70
   DX1058 (C&S) at 045; Florenz Hrg. 1147:4-7.
                                                     20
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would mitigate a substantial lessening of competition.71

       Finally, the hearing confirmed that divested stores will perform poorly. C&S’s own deal

model, which fails to account for many of the associated risks, shows substantial revenue loss

and increased expenditures for acquired stores.72 To use a real world example, C&S previously

purchased 12 stores as part of Price Chopper/Tops divestiture, rebannered them to Grand Union,

and saw sales plummet by 28% in 2023—their first full year of operation.73 And sales have

continued to fall in 2024.74 C&S’s failure with this small divestiture package bodes ill for its

ability to serve as a remedy for the far greater loss of competition caused by this acquisition.

       Evidence of intense and aggressive head-to-head competition between Kroger and

Albertsons contrasts sharply with C&S’s history of failure at running supermarkets and plan to

copy Kroger’s base and promotional pricing for as long as possible.75 When competing to beat

Kroger on advertised pricing, Albertsons “need[s] to keep winning!”76 When Kroger struggles,

Albertsons states “[t]hese guys are spiraling down and I need to push my foot on the back of

their neck.”77 In stark contrast, C&S needed to call Kroger “to discuss what it takes to operate a

grocery store” when considering the divestiture.78 The idea that C&S could replicate the

intensity of lost competition from Albertsons is implausible at best.




71
   Winn Hrg. 1196:8-1197:1.
72
   PX3602 (C&S) at tab “Assumptions and CF Impacts”; Florenz Hrg. 1112:7-9, 1113:9-11,
1115:20-25, 1116:8-22, 1118:17-20.
73
   PX7004 (Hill Rpt.) ¶ 225, Fig. 56; McGowan Hrg. 993:19-994:18.
74
   McGowan Hrg. 1002:4-16.
75
   See, e.g., Florenz Hrg. 1147:4-7; Aitken Hrg. 1876:16-1878:6; PX1358 (Kroger) at 1
(describing how Albertsons’ scores “direct hit[s]” against Kroger in improving its stores, and
Kroger needs to get “scrappy” to respond).
76
   Curry Hrg. 886:1-887:5, 895:16-21; PX12577 (Albertsons) at 001.
77
   Broderick Hrg. 1404:12-18; PX2395 (Albertsons) at 1.
78
   PX1272 (Kroger) at 001.
                                                    21
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       B.      Defendants’ Claims About the Divestiture Package are Unsupported

       Although the record illustrates many shortcomings of the proposed divestiture, other

crucial evidence is unavailable to the Court. That is reason alone to be deeply skeptical of

Defendants’ proposed remedy. In Sysco, for example, the court’s analysis of the divestiture was

informed by the positions taken by the buyer in negotiations. Sysco, 113 F. Supp. 3d at 75;

Aetna, 240 F. Supp. 3d at 72 (finding probative “statements by [buyer] executives indicate that

[the buyer] might decide to withdraw from several of the divestiture [markets] in short order, and

instead only compete in some”). Here, by contrast, Defendants have withheld as privileged and

work product evidence of the divestiture negotiation.79 The Court therefore cannot assess

whether the parties’ negotiating history undermines their claims that the divested assets suffice.

       Because objective facts do not support Defendants’ divestiture defense, they rely heavily

on subjective assertions primarily from their own executives. Susan Morris, for example,

testified about her optimism for her potential role as CEO of C&S’s retail operations.80 But her

current role as COO of Albertsons prevents her from meaningfully engaging in strategy and

planning for operating the divested stores, and she was not shown a single ordinary course

document relating to post-divestiture operations in the course of her direct testimony.81

Defendants called only one C&S witness: CEO Eric Winn. While Mr. Winn, too, expressed

excitement about the future, much of his testimony focused on C&S’s miniscule retail operations

services business, even though C&S will not be using those capabilities to support the divested

stores.82 Mr. Winn also acknowledged that when he and former CEO Bob Palmer discussed


79
   See Sword/Shield Motion.
80
   Morris Hrg. 1902:16-21, 1961:21-1962:15.
81
   Morris Hrg. 1919:8-1920:17 (“We don’t engage in deep discussions on strategy . . . .”); see
also id. 1915:12 (“I’ve seen very high-level business plans.”).
82
   Winn Hrg. 1212:13-1220:1, 1261:3-10.
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closing stores acquired in the divestiture, Mr. Winn’s talking points for wholesale customers left

open the possibility of selling stores to them in the future.83 The ordinary course evidence of

C&S considering selling and closing stores, and the C&S deal model projections of declining

sales and below-market revenue growth, starkly contrast with Ms. Morris’s and Mr. Winn’s

optimism.84 And Dr. Hill’s analysis shows that those declining sales, and the resulting increase

in sales at Kroger-owned stores, increases concentration and the already astronomical number of

markets in which consumers face a likelihood of substantial harm.85

       Defendants also make misleading claims about C&S’s wholesale operations to bolster

their divestiture defense. In particular, Defendants make much of C&S’s 7,500 independent

customer stores, but those customers account for less than one-quarter of C&S’s wholesale

revenues, which are themselves a fraction of Albertsons’ retail revenues.86 These small

customers bear little resemblance to the full-service stores, carrying tens of thousands of SKUs,

that Defendants own and operate.87 Even though C&S provides many of these independent

stores with retail services—because it would be uneconomical for them to have full corporate

office staffing—those services account for under 0.5% of C&S’s revenues.88 Thus, by looking at

the facts about these customers and not simply counting them, it becomes clear that C&S’s

services to independent customers do not prepare it to operate the divestiture stores, nor do

wholesale sales to those stores give C&S the purchasing power Albertsons has today.




83
   Winn Hrg. 1197:2-1199:12, 1200:11-1202:1; PX3111 (C&S); PX3115 (C&S).
84
   Florenz Hrg. 1109:19-1110:7, 1111:12-20, 1112:7-9, 1113:9-11, 1115:11-25; PX3602 (C&S).
85
   Hill Hrg. 1491:12-1493:11; PX7006 (Hill Rebuttal Rpt.) at 110, Fig. 51.
86
   Winn Hrg. 1165:18-20; Morris Hrg. 1965:24-1966:1; Galante Hrg. 3206:14-3207:6; DX1058
(C&S) at 12.
87
   Winn Hrg. 1261:14-22.
88
   Winn Hrg. 1212:13-23, 1263:19-21.
                                                 23
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       C.      Supermarket Divestitures are Inherently Risky and Have Failed to the
               Detriment of Consumers

       Prior supermarket divestitures, including those involving Albertsons and C&S, have

resulted in closed stores, bankruptcy, and the elimination of important competition. The Court

heard both fact and expert testimony about four different merger-related divestitures of grocery

stores: (1) divestiture to Raley’s in connection with the 1999 Albertsons/American Stores

merger, (2) divestiture to Haggen and three wholesale grocers in connection with the 2015

Albertsons/Safeway merger, (3) divestiture of 81 stores in connection with the 2016

Ahold/Delhaize merger, and (4) divestiture to C&S in connection with the 2021 Price

Choppers/Tops merger.89 In each case, the divestiture failed to replace the lost competition. As

Mr. Knopf testified, Raley’s acquisition of 27 stores, 19 in Las Vegas and 8 in New Mexico,

resulted in the Las Vegas stores being sold to Kroger within three years of the divestiture, and

Raley’s exiting the New Mexico market by selling those stores back to Albertsons.90 Among the

challenges Raley’s faced in operating those stores—challenges C&S will face here—were the

continued presence in those markets of the merged firm, and the requirement to rebanner the

acquired stores.91 When Albertsons acquired Safeway in 2015, it divested 168 stores, 146 to

Haggen, and the rest to wholesalers; Dr. Hill analyzed the outcome of this divestiture and found

that 57% of the divested stores closed, compared to only 8% of the retained stores.92 Albertsons

ultimately reacquired many Haggen supermarkets and the trade name, which is slated to be




89
   Knopf Hrg. 957:17-966:7; Hill Hrg. 1486:19-1491:11; McGowan Hrg. 993:19-994:6.
90
   Knopf Hrg. 957:17-966:7.
91
   Knopf Hrg. 957:17-966:7.
92
   Hill Hrg. 1487:12-1489:2.
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divested to C&S.93 Dr. Hill found very similar results for the divestiture connected with the

Ahold/Delhaize merger; there, the divested stores closed “at five to six times the rate of the

retained stores.”94 Finally, as discussed above, C&S’s acquisition of stores in connection with

the Price Choppers/Tops merger has resulted in                         , the stores have never been

profitable on a retail basis, and they continue to underperform C&S’s forecasts.95 If the Court

permits Kroger’s acquisition of Albertsons and the divestiture to C&S to occur, any further

decline in sales, sale of stores, or closure of stores would further exacerbate the substantial

lessening of competition that will already result from the acquisition.

       Defendants bore a significant burden to show their divestiture is sufficient. Due to the

divestiture’s many shortcomings, they failed. The public should not shoulder the risk of this

inadequacy.

V.     CONCLUSION

       For these reasons, the Court should grant the preliminary injunction.




93
   Morris Hrg. 1932:22-1933:2, 1935:25-1936:6; PX7004 (Hill Rpt.) ¶¶ 235-236.
94
   Hill Hrg. 1489:3-1489:18; PX7006 (Hill Rebuttal Rpt.) ¶¶147-50, Fig. 29.
95
   McGowan Hrg. 997:15-998:12, 1002:14-1003:3; Hill Hrg. 1489:19-1491:11.
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       PLAINTIFFS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW


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                        PLAINTIFFS’ PROPOSED FINDINGS OF FACT

I.     THE PARTIES TO THE PROPOSED ACQUISITION AND DIVESTITURE

1.     Founded in 1883, Kroger is the largest traditional supermarket chain in the country as

well as the largest employer of union grocery workers.1 Today, Kroger owns around 2,700

supermarkets, of which approximately 2,250 have pharmacies and 1,600 have fuel centers.2 In

fiscal year 2023, Kroger had an operating profit of approximately $3.1 billion.3 For four

decades, Kroger has acquired supermarket chains across the country.4 Kroger now operates

more than 20 local banners, including Kroger, Smith’s, Dillons, King Soopers, Fry’s, QFC, City

Market, Jay C, Harris Teeter, Pick ‘n Save, Metro Market, Mariano’s, Fred Meyer, Food 4 Less,

Foods Co., and Ralphs.5 Kroger has 33 manufacturing facilities across the U.S., including a

meat plant, 2 beverage plants, 5 grocery plants, 5 bakeries, 2 frozen dough plants, 2 deli plants,

14 dairies, and 2 cheese plants, all of which Kroger uses to lower costs.6

2.     Founded in 1939, Albertsons is—behind Kroger—the second-largest traditional

supermarket chain and the second-largest employer of union grocery workers in the country.7

Like Kroger, Albertsons has grown by a series of acquisitions and now operates 2,269

supermarkets across 34 states and the District of Columbia under more than 20 banners,

including Albertsons, Safeway, Vons, Pavilions, Randalls, Tom Thumb, Carrs, Jewel-Osco

(“Jewel”), Acme, Shaw’s, Star Market, United Supermarkets, Market Street, Haggen, Kings

Food Markets, and Balducci’s Food Lovers Market.8 Albertsons also operates 1,725 pharmacies,


1
  Sankaran Hrg. 1745:14-15; PX7004 (Hill Rpt.) ¶ 247; PX6154 (Kroger) at 6-7.
2
  McMullen Hrg. 1573:17-18; PX6009 (Kroger) at 113.
3
  PX6154 (Kroger) at 027.
4
  PX6030 (Kroger) at 007.
5
  PX6023 (Kroger) at 001.
6
  PX6200 (Kroger) at 020.
7
  Sankaran Hrg. 1745:8-13; PX7004 (Hill Rpt.) ¶ 247; PX6153 (Albertsons) at 010.
8
  PX6153 (Albertsons) at 008.
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402 adjacent fuel centers, 22 distribution centers, 19 manufacturing facilities, and various digital

platforms.9 In fiscal year 2023, Albertsons generated almost $1.3 billion in net income.10

Shortly after announcing this acquisition, Albertsons also announced a $4 billion dividend,

which it paid to its shareholders in January 2023.11

3.     C&S Wholesale Grocers is a wholesaler that supplies retail operators with grocery

products. C&S’s wholesaling business has declined by approximately 33% since 2017, and it

forecasts a further decline this year.12 C&S does not currently have a distribution network in

many of the divestiture geographies through its wholesale business.13 It operates only 23 retail

grocery stores, mostly in upstate New York, Vermont, and Wisconsin.14 Defendants propose

selling 579 stores in 18 states and D.C. and other assorted assets to C&S to cure the

anticompetitive effects of the acquisition.15

II.    PROPOSED ACQUISITION AND PROCEDURAL HISTORY

4.     In the fall of 2022, Kroger agreed to pay $24.6 billion to acquire Albertsons.16 In pursuit

of this acquisition, Kroger and Albertsons have spent an additional $864 million in 2024 alone.17

5.     Defendants now vaguely claim that the rationale for this acquisition was to gain scale.

But scale was not the reason Albertsons gave investors. Instead, Albertsons told investors that it

was pursuing this acquisition because of concentrated ownership of its stock by one investor,




9
  PX6153 (Albertsons) at 008.
10
   Id. at 040.
11
   Sankaran Hrg. 1772:7-10.
12
   Winn Hrg. 1165:21-1166:8.
13
   McGowan Hrg. 1077:18-1078:14 (C&S for the most part does not currently have presence in
Intermountain states, Southern California, Arizona, Alaska, and Colorado).
14
   PX7002 (Fox Rpt.) ¶ 11; Winn Hrg. 1173:24-25.
15
   PX7002 (Fox Rpt.) ¶ 45; Winn Hrg. 1175:9-1178:6; 1232:20-22.
16
   PX6084 (Kroger) at 002.
17
   McMullen Hrg. 1675:21-1676:4.
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which caused concern the investor might sell the shares and negatively affect the stock price.18

Scale was also not impeding Albertsons’ growth when it decided to merge, as shown by its

increase in market share.19 Indeed, Albertsons’ COO wrote “we are literally crushing it

consistently” and “our owners are not selling us because we are at risk, not performing, or

failing, but because they simply want to monetize their investment.”20 Defendants admit that

none of their claimed efficiencies (infra at § V.E) relate to volume or scale.21 Defendants’

unsupported scale arguments are also inconsistent with their contention that C&S, which will be

much smaller than Kroger post-acquisition,22 will be an effective competitor.

6.     While Plaintiffs were investigating or litigating this acquisition, four of Albertsons’ seven

hearing witnesses (including its CEO) deleted responsive text messages despite receiving a

preservation hold and multiple reminders of their obligations under said notice.23 The Court

found “that the lost text messages should have been preserved, that [Albertsons] failed to take

reasonable steps to preserve them, they cannot be restored or replaced through additional

discovery, and the loss of the text messages prejudices plaintiffs.”24 For instance, Todd

Broderick—Albertsons’ Denver Division President—texted for work between 25 and 100 times

per day, yet deleted texts from November 2022 until October 2023,25 including ones related to

this acquisition such as: “It is all about pricing and competition, and we all know prices will not




18
   PX6081 (Albertsons) at 026; Sankaran Hrg. 1770:7-1771:4.
19
   Sankaran Hrg. 1771:21-1772:6.
20
   PX2616 (Albertsons) at 001.
21
   Gokhale Hrg. 2165:18-2166:5.
22
   See infra ¶ 120.
23
   Spoliation Motion at 003-007; Kinney Hrg. 2945:12-2946:1; 3012:17-3015:10; 3017:2-
3018:25; 3021:5-9 (Ms. Kinney did not disable auto-delete setting until shortly before May 2024
deposition and texted about her work, the acquisition, and C&S).
24
   ECF No. 407 at 002.
25
   Broderick Hrg. 1405:6-1407:3.
                                                     3
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go down. A $500M investment in pricing to our company won’t get our prices down to Kroger

levels in my view, therefore the conclusion that’s easily drawn is overall prices will increase.”26

Likewise, Vivek Sankaran—Albertsons’ CEO—texted for work approximately ten times a day,

yet enabled his phone’s auto-delete function in 2022—potentially after hearing about this

acquisition—and did not disable auto-delete until the FTC raised the issue in November 2023.27

Mr. Sankaran may have deleted over 1,700 work texts, including with Albertsons’ senior

leadership team, board chairs, and consultants; Kroger senior leaders; and C&S.28

7.     On February 26, 2024, the FTC initiated an administrative proceeding to permanently

enjoin this acquisition and filed this action seeking a preliminary injunction to maintain the status

quo in the meantime. The Attorneys General of Arizona, California, District of Columbia,

Illinois, Maryland, Nevada, New Mexico, Oregon, and Wyoming—following parallel

investigations—joined the FTC in seeking a preliminary injunction. The Attorneys General of

Colorado and Washington have also each filed separate lawsuits to enjoin the acquisition.

8.     Defendants are subject to a preliminary injunction in the Colorado action until five days

after a ruling in that case,29 but once that expires, they may begin consolidating their operations.

The acquisition agreement expires October 9, 2024, but Defendants may choose to extend the

agreement past that date.30

III. PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR §7
CHALLENGE FOR THE SALE OF GROCERIES

           A. Supermarkets are a Relevant Product Market



26
   PX2376 (Albertsons) at 003; Broderick Hrg. 1408:1-1413:25.
27
   Sankaran Hrg. 1790:2-1791:11.
28
   Sankaran Hrg. 1790:4-1791:8, 1791:16-1792:25.
29
   See Colorado v. Kroger Co., No. 2024-CV-30459, Order Re: Pls’ Mot. for Prelim. Inj. (Colo.
Dist. Ct. July 25, 2024).
30
   DX2552 (Kroger/Albertsons) at 088.
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9.     Supermarkets, encompassing both traditional supermarkets and supercenters,31 are a

relevant product market. Grocery products are sold in the United States through a variety of

store formats, each designed to serve a specific customer shopping mission and need.32

Supermarkets are distinct from other grocery formats such as club stores, dollar stores, limited

assortment stores, natural and organic stores, and e-commerce websites.

       1. Brown Shoe indicia establish a distinct submarket for supermarkets

10.    Supermarkets have peculiar characteristics and uses, unique facilities, distinct price

strategies, and industry recognition as a distinct submarket, all of which supports a finding that

supermarkets are a relevant product market.

                              i.   Supermarkets have peculiar characteristics and uses

11.    Supermarkets are large brick-and-mortar stores that sell a distinctly broad variety of

household consumables ranging from food items like fresh produce, meat, seafood, dairy

products, frozen foods, shelf-stable foods, and beverages, to non-food items such as detergents,

pet foods, and health and beauty care products.33 This broad variety includes a deep selection

within each product type, including both private label and national brands, organic options,

flavor varieties, and a range of package sizes.34 Supermarkets also stock large selections of fresh



31
   Supercenters, like supermarkets, sell a full line of groceries at a variety of package sizes, brand
options (i.e., both national and private label brands), and price points, and likewise provide the
opportunity to meet various grocery customer need states in one stop. Lieberman Hrg. 2356:20-
2358:25. Because they effectively contain traditional supermarkets within their footprints,
supercenters are a subset of the supermarket product market. PX7004 (Hill Rpt.) ¶ 67, n. 84.
32
   Yates Hrg. 2196:20-2198:9; Knopf Hrg. 938:12-15; 939:8-25; George Hrg. 2045:13-2046:2;
Neal Hrg. 372:11-373:7; Lieberman Hrg. 2360:6-2361:12, 2362:9-18, 2363:22-2364:15.
33
   McMullen Hrg. 1634:5-16; PX6009 (Kroger) at 113; Knopf Hrg. 934:8-19; Schwilke Hrg.
808:1-809:20; Curry Hrg. 868:12-869:25; Broderick Hrg. 1361:10-1362:2.
34
   McMullen Hrg. 1573:8-13, 1634:5-16; Curry Hrg. 867:10-868:9, 871:3-873:13; Broderick
Hrg. 1362:3-1363:12; Marx Hrg. 419:9-420:19; Sankaran Hrg. 1746:2-21; Knopf Hrg. 933:2-17,
934:8-19, 939:8-25; Schwilke Hrg. 807:19- 810:8, 811:7-21; Van Helden Hrg. 164:23-168:4;
Lieberman Hrg. 2358:1-25.
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and Raley’s stores offer about 40,000 SKUs.42

14.    Supermarkets carry a broad and deep assortment of products and related services in order

to provide a “one-stop shop” experience where customers can meet substantially all of their food

and non-food grocery requirements in a shopping visit.43 Supermarkets strategically offer this

assortment because they understand customers value the convenience of being able to satisfy the

majority of their grocery needs in one trip.44 In each of its 10-K filings from 2015 to 2023,

Kroger claimed that its store format is “successful because the stores are large enough to offer

the specialty departments that customers desire for one-stop shopping . . . .”45 As an Albertsons

executive observed, “[w]ith our larger basket sizes and fewer trips, [customers] are telling us

they want one stop shopping – how can we best meet that demand?”46 Albertsons’ CEO is

“proud of . . . [its] position as being a one-stop shop for consumers.”47 Defendants’ division

presidents agree their stores offer a one-stop shopping experience to meet customer demand.48

15.    Other store formats that sell grocery products have different characteristics and uses from

supermarkets and, as a result, are not reasonable substitutes for supermarkets. In particular, these

formats have different product assortments and service offerings than supermarkets.

16.    Club stores. Club stores (e.g., Costco) have a different product offering from



42
   Yates Hrg. 2194:8-10; Knopf Hrg. 933:4-7; Van Helden Hrg. 164:23-165:10.
43
   McMullen Hrg. 1634:5-16; Curry Hrg. 873:6-13; Van Helden Hrg. 163:19-164:14; Schwilke
Hrg. 811:15-21; Broderick Hrg. 1363:20-25; Knopf Hrg. 933:18-934:7 (customers typically can
satisfy over 80% of household grocery needs shopping at a Raley’s or a Bashas’ store); Kinney
Hrg. 3038:9-3039:18; PX2999 (Albertsons) at 058 (“Cross-shoppers of both Costco and ACI”
rate Albertsons better on “one-stop shop, easy-to-find items, website/app.”).
44
   Schwilke Hrg. 811:15-21; Broderick Hrg. 1363:13-25; Van Helden Hrg. 163:19-164:14,
175:13-22; Kammeyer Hrg. 476:2-15.
45
   McMullen Hrg. 1634:5-1636:14; see also, e.g., PX6009 (Kroger) at 113 (2023 10-K filing).
46
   PX2932 (Albertsons) at 001.
47
   PX12380 (Albertsons) at 001.
48
   Curry Hrg. 873:6-13; Schwilke Hrg. 811:15-21; Broderick Hrg. 1363:20-25; Kammeyer Hrg.
475:14-476:15.
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(e.g., have little-to-no fresh produce) and often at lower quality.68 Dollar stores offer a “fill-in”

shop to a shopper needing to restock a few items.69 They do not have service counters.70 Dollar

stores do not carry the same volume of inventory as grocery stores, and out-of-stocks mean

customers may not always be able to find important items on the shelves.71 Dollar stores offer

smaller-sized packages than supermarkets to maintain their lower price perception.72

20.    E-commerce sites. Grocery e-commerce sites (e.g., Amazon.com) typically have a

limited selection of fresh foods compared to supermarkets due to storage and shipping

limitations, particularly fresh meat, produce, and frozen foods.73 To date, Amazon has only one

warehouse, in Phoenix, Arizona, capable of handling perishable products.74

21.    As a result of these distinct characteristics, supermarkets fill customer needs that other

formats do not. Customers’ choice of which format to shop is determined by their “mission” or

“need state,” i.e., what the customer seeks for that shopping trip, and customers typically do not

seek out other formats for the same purposes as supermarkets.75 Customers looking for a one-

stop shop at a neighborhood store can meet those needs at a supermarket.76 Other retail formats

serve different customer need states or missions.77 For example, club stores like Costco appeal



68
   McMullen Hrg. 1644:17-22; Van Helden Hrg. 176:21-177:7; Unkelbach Hrg. 461:19-24,
466:9-14, 468:23-469:5, 469:22-470:5; Knopf Hrg. 943:7-18.
69
   Unkelbach Hrg. 463:9-463:21, 467:6-11; Lieberman Hrg. 2362:5-18.
70
   Van Helden Hrg. 170:14-171:1, 177:8-11; Unkelbach Hrg. 462:22-463:2, 466:9-14, 23-24;
Knopf Hrg. 943:7-22.
71
   Van Helden Hrg. 177:5-7; Unkelbach Hrg. 460:12-21, 461:11-18, 461:25-462:21, 464:5-11,
466:15-22, 468:23-469:5; Knopf Hrg. 943:23-944:10.
72
   Unkelbach Hrg. 462:11-21, 465:22-466:8.
73
   Heyworth Hrg. 2818:21-2820:25; Knopf Hrg. 950:4-13; Lieberman Hrg. 2374:10-16.
74
   Heyworth Hrg. 2814:18-2815:4.
75
   Yates Hrg. 2196:23-2198:9; Lieberman Hrg. 2359:1-8, 2360:11-24, 2363:22-2364:15, 2362:9-
18; Knopf Hrg. 936:20-937:16, 938:23-939:25; Oblisk Hrg. 2291:20-11; Neal Hrg. 373:8-23.
76
   Van Helden Hrg. 162:22-164:14; Knopf Hrg. 934:8-19, 961:8-18 (“[t]he stores are community
and neighborhood centric in nature”); Lieberman Hrg. 2360:6-2361:12.
77
   Yates Hrg. 2197:2-23; Lieberman Hrg. 2361:13-15.
                                                      10
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to households and businesses that want to purchase grocery products in bulk.78 Shoppers

typically visit club stores less often than supermarkets, but rather travel for bulk “stock-up

trip[s]” (e.g., “Costco Runs”).79 Natural and organic stores such as Sprouts serve a distinct set of

core customers,80 and focus their product assortment on organic and fresh products to attract

these customers.81 Natural and organic stores offer a “secondary” or fill-in shop for healthier

items, or to “discover products and find things that [customers] didn’t know that they necessarily

wanted.”82 Most dollar store customers do not purchase their weekly groceries at a dollar store;

rather, dollar stores offer a fill-in shop and a treasure hunt experience.83 Likewise, “[t]he mission

is very different” for a customer at a limited assortment store like Aldi, given the narrower

assortment and high percentage of private label products.84 Customers at limited assortment

stores are also generally highly price-focused.85

22.    Thus, although a customer may shop at multiple store formats, data about “cross

shopping” or “share of wallet” do not explain the purpose for which customers are shopping any

particular format, and do not demonstrate that the different formats are substitutes.86



78
   Van Helden Hrg. 173:25-174:12; Knopf Hrg. 937:25-938:15.
79
   George Hrg. 2045:13-1046:2;                                                  ; PX12385
(Albertsons) at 005; Knopf Hrg. 938:1-15, 939:8-25.
80
   Neal Hrg. 375:3-376:8, 378:6-379:4.
81
   Neal Hrg. 377:3-25.
82
   Neal Hrg. 372:11-373:23, 374:11-375:2.
83
   Unkelbach Hrg. 463:9-464:11, 467:6-11; Lieberman Hrg. 2362:9-18.
84
   Knopf Hrg. 940:10-25.
85
   Van Helden Hrg. 175:8-176:6; Sankaran Hrg. 1746:23-1747:4; Knopf Hrg. 940:10-25.
86
   Kinney Hrg. 2936:7-10; 2996:18-21; 2998:19-2999:1; 3005:19-22; Israel Hrg. 2706:8-23
(share of wallet data “doesn’t answer the question [of substitutability] by itself”). See also
Lieberman Hrg. 2363:22-2364:15 (cross-shopping between formats reflects complementarity);
Yates Hrg. 2197:24-2198:9 (need state drives what stores are an “option” (i.e., substitute) for any
given shopping trip). Further, the national share-of-wallet data proffered by Defendants, which
include areas where Defendants do not overlap, cannot show a lack of local competition between
Defendants in any specific trade area. Kinney Hrg. 3004:2-13 (conceding that Kroger and


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on other formats when setting prices.111 Ahold’s Food Lion



                                                           112
                                                                 Kroger likewise price checks Walmart

and traditional grocers “to ensure that Kroger is in line”—including checking Albertsons in each

area where they overlap.113 For nearly all pricing programs, Kroger does not price check Costco,

Sam’s Club, Aldi, Lidl, Trader Joe’s, dollar stores, drug stores, or convenience stores.114

Albertsons sets base prices in each price area based on prices from other supermarkets—and no

other format—and strives to match the supermarkets or be very close in price on the items most

important to customers.115 Supermarkets also typically track and respond to promotions offered

by other supermarkets, but not by other formats.116

30.    Other retailers have distinct price points and strategies, and do not systematically target

price parity with supermarkets. Club stores charge membership fees, and members must be

willing to pay for large pack sizes, e.g., a three-pound bunch of bananas.117 At the other end of

the spectrum, dollar stores, as their name suggests, have consistently low price points throughout




111
    Van Helden Hrg. 177:12-23; Broderick Hrg. 1367:14-17, 1369:2-23, 1373:10-1375:15,
1377:9-14; PX2369 (Albertsons) at 001, 003; Curry Hrg. 886:1-25, 889:2-891:7; PX2551
(Albertsons) at 001, 003; Schwilke Hrg. 829:15-831:12, 836:15-838:3; PX1458 (Kroger);
PX1480 (Kroger);                                                ; Silva Hrg. 249:10-19; Groff
Hrg. 271:19-272:11; PX1130 (Kroger) at 009-018.
112
                                                                         .
113
    PX1130 (Kroger) at 009-018; Groff. Hrg. 271:19-272:11.
114
    Groff Hrg. 272:12-273:14. Kroger does not price check online-only retailers except in areas
where Kroger delivers products and does not have physical stores. Groff Hrg. 273:5-8.
115
    Silva Hrg. 227:20-228:12, 233:11-238:10; PX12359 (Albertsons).
116
    Broderick Hrg. 1373:10-1375:15, 1377:9-14; PX2369 (Albertsons) at 001, 003; Curry Hrg.
886:1-25; PX12577 (Albertsons) at 001; Sankaran Hrg. 1756:2-1757:12; Schwilke Hrg. 821:10-
823:10, 825:1-21; PX1496 (Kroger); Knopf Hrg. 944:21-946:4, 956:8-21; PX4071 (Yates
(Ahold) Dep. 149:5-152:6.
117
    Van Helden Hrg. 172:18-173:6, 173:25-174:12; Kinney Hrg. 3036:4-14; PX12112
(Albertsons) at 001; George Hrg. 2038:17-2039:14; see also                               .
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areas where Kroger and Albertsons overlap in 2022; moreover, this share of sales has been

consistent since 2014, indicating that consumers have not “seismically” or “tectonically” shifted

their grocery dollars to non-supermarket formats in recent years.123

33.    Dr. Hill also analyzed data about Defendants’ price-checking behavior to assess the

closeness of competition between supermarkets and other formats. He found that Defendants

chiefly monitor pricing at other supermarkets in the ordinary course. Price-checking data show

that over 75% of Kroger’s price checks in its “everyday essentials” and “rule-based” core pricing

programs were of other supermarkets.124 Albertsons’ use of price-check data is even more

focused on traditional supermarkets than Kroger’s. Across all overlap areas, Albertsons’

designated “primary food competitor” (used to generate pricing comparisons and

recommendations) is another traditional supermarket 78% of the time, a supercenter 21% of the

time, and a club store just 1% of the time.125 No other store format was listed as a primary food

competitor in any price zone located in any overlap area.126 This evidence is consistent with

both Kroger and Albertsons considering other supermarkets to be their close pricing competitors.

           B. There is Also a Broader Product Market for Large Format Stores

34.    The large format store product market includes not only traditional supermarkets and

supercenters, but also club stores such as Costco, natural and gourmet stores like Whole Foods,

and limited assortment stores like Aldi.127 While, as discussed infra, supermarkets comprise

their own product market, large format stores also compete for the sale of food and groceries.128




123
    Hill Hrg. 1451:14-1452:11; PX7004 (Hill Rpt.) ¶ 79, Figs. 9-10.
124
    Hill Hrg. 1447:19-1448:19, 1449:18-23; PX7004 (Hill Rpt.) ¶¶ 91-94, Figs. 15-17.
125
    Hill Hrg. 1448:23-1449:12; PX7004 (Hill Rpt.) ¶¶ 85-86, Fig. 12.
126
    Hill Hrg. 1448:23-1449:12; PX7004 (Hill Rpt.) ¶¶ 85-86, Fig. 12.
127
    Hill Hrg. 1445:1-16; PX7004 (Hill Rpt.) ¶ 70, Fig. 7.
128
    Hill Hrg. 1445:1-1446:16; PX7004 (Hill Rpt.) ¶¶ 67-70.
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More distant retail formats like dollar stores, convenience stores, and pure e-commerce players

are not substitutes for large format stores.129 Large format stores accounted for 96% of all food

and grocery sales in overlap areas in 2022, a share that has remained stable since at least 2014.130

And while Defendants primarily price check supermarkets, 100% of Albertsons’ designated

“primary food competitors” and 100% of Kroger’s “everyday essentials” and “rule-based” price

checks in overlap areas were large format stores.131

           C. Local Store-Based Overlap Areas are Relevant Geographic Markets

35.    Grocery competition is fundamentally local, and Defendants’ supermarkets are connected

with their local communities.132 People prefer to buy groceries close to where they live.133

Kroger’s SEC filings state that their supermarkets typically draw customers from a few miles

around each store (e.g., 2-2.5 miles).134

36.    In the ordinary course of business, supermarkets (including Defendants) assess

competition and make strategic decisions based on local competitive conditions. They

frequently set pricing strategies at the local level because of competitive pressures around

stores.135 Competition and customers differ by store, and thus supermarkets often depend on

store directors to make the relevant adjustments to their stores.136 Defendants’ expert agrees that

geographic market definition starts by focusing at the store level.137



129
    See supra ¶¶ 19-21, 24, 26, 28-30; Hill Hrg. 1459:12-1460:2; Van Helden Hrg. 179:12-15,
180:22-24; Groff Hrg. 273:12-17; Knopf Hrg. 949:23-950:5.
130
    PX7004 (Hill Rpt.) ¶ 79, Fig. 10; Hill Hrg. 1450:8-21.
131
    PX7004 (Hill Rpt.) ¶¶ 86, 91-92, 94, Figs. 12, 15, 17; Hill Hrg. 1447:19-1449:12.
132
    McMullen Hrg. at 1648:3-25.
133
    McMullen Hrg. 1636:2-14; PX6683 (Kroger) at 003; Schwilke Hrg. 811:22-812:8; Sankaran
Hrg. 1749:14-16; Kinney Hrg. 3028:14-25; PX2514 (Albertsons) at 006.
134
    McMullen Hrg. 1636:2-14; PX6683 (Kroger) at 003.
135
    Sankaran Hrg. 1760:5-8; Groff Hrg. 270:12-17.
136
    Sankaran Hrg. 1760:9-1761:1.
137
    Israel Hrg. 2622:15-23.
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37.    Supermarkets (including Defendants’ stores) track competitors’ sales within local areas

around each store to help them understand nearby competitive conditions and because nearby

stores are likely to be competing for the same customers.138 To do this, supermarkets often

assess a “trade area”—that is, the localized area surrounding a store, from which that store draws

the bulk of its customers.139

38.    Kroger’s trade areas are developed in the ordinary course of business based on a drive

time model that relies on customer loyalty data.140 Third parties also use loyalty data to define

their trade areas.141 Defendants’ economic expert and Kroger’s consultants agree that ordinary-

course trade areas based on loyalty data are “a useful tool for defining geographic markets in this

matter and in assessing potential local competitive effects.”142 Likewise, Defendants’ advocacy

during Plaintiffs’ investigation argued that circular store-based overlap areas are a reasonable

way to assess geographic markets in retail mergers like this one.143

39.    Dr. Hill used Defendants’ customer loyalty card data, which includes information about

where shoppers live and make purchases, to calculate the 75% catchment area radius (the radius

within which the store makes 75% of its sales) of each Kroger or Albertsons store in each

overlap area (the market’s “focal store”).144 Although store-specific catchment areas vary with




138
    Yates Hrg. 2200:5-11; see also PX2423 (Albertsons) at 005; PX1291 (Kroger) at 003-005.
139
    Yates Hrg. 2199:24-2200:4; PX1286 (Kroger); Kinney Hrg. 2997:14-23; see also McMullen
Hrg. 1636:2-14; PX6683 (Kroger) at 003.
140
    PX10007 (Compass Lexecon) at 002, 011-012.
141
    Yates Hrg. 2200:17-23.
142
    PX10007 (Compass Lexecon) at 002; see also PX1286 (Kroger) at 003.
143
    PX10007 (Compass Lexecon) at 003 (“The assessment [of geographic markets in retail
mergers] generally focuses on overlaps between the merging parties’ stores because it is often
the case, as here, that at least some prices are set at the store level or otherwise influenced by
store-level competitive conditions. . . . [T]his store-by-store assessment leads to circles or other
boundaries around each overlap store such that the constraining set of competitors is included.”).
144
    Hill Hrg. 1454:10-20, 1455:3-9; PX7004 (Hill Rpt.) ¶¶ 102-106.
                                                    19
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local conditions,      of Kroger stores and        of Albertsons stores draw 75% of their sales

from within six miles or less.145 The average 75% catchment area radii for Albertsons and

Kroger stores in overlap areas were      miles and        miles, respectively.146 Dr. Hill then

defined each focal store’s candidate geographic market as a circle with double that radius, to

ensure that it included third-party stores located outside the focal store’s draw area, but that

nevertheless compete for the focal store’s customers.147

40.    Dr. Hill also defined geographic markets using a “customer-based” approach.148 The

customer-based approach, like the store-based approach, defines localized geographic markets

around party focal stores. The term “customer-based” refers to the fact that this methodology

accounts for sales by competitors, however close or far away they are from the focal store, if

they draw customers from the same census block groups (CBGs are a small unit of population

measurement determined by the U.S. Census Bureau) as does the party focal store.149 For

instance, a relatively distant Walmart Supercenter would be included in Dr. Hill’s customer-

based geographic market if it made sales in the same CBG(s)—i.e., serves the same customers—

as the market’s focal store.150 Customer-based shares address Defendants’ expert Dr. Israel’s

critique that Dr. Hill’s store-based approach understates the competitive relevance of competitors

beyond the catchment border and thus overstates the Defendants’ shares. As it turns out, Dr.

Hill’s customer-based approach largely yields higher combined shares for Defendants than his




145
    PX7004 (Hill Rpt.) ¶¶ 108-109, Fig. 22. This is consistent with qualitative evidence that
competition is influenced by local conditions. See, e.g., Van Helden Hrg. 211:5-10; Yates Hrg.
2200:24-2201:2.
146
    PX7004 (Hill Rpt.) ¶ 110, Fig. 23.
147
    Hill Hrg. 1454:10-1455:2; PX7004 (Hill Rpt.) ¶¶ 104-106.
148
    PX7006 (Hill Rebuttal Rpt.) ¶¶ 39-43.
149
    Hill Hrg. 1467:3-17; PX7004 (Hill Rpt.) ¶ 102, n.132 (defining CBGs).
150
    See Hill Hrg. 1467:3-17.
                                                     20
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store-based approach—for instance, the average customer-based market share is 36.5%, the

average store-based market share is 33.5%, and the customer-based market share is higher in

1,774 out of 2,498 (71%) of all markets—confirming that the store-based approach is

conservative and understates the Defendants’ combined shares.151

           D. Thousands of Local Supermarket Markets Satisfy the Hypothetical
              Monopolist Test Under Multiple Geographic Market Methodologies

41.    Having identified candidate product and geographic markets, Dr. Hill performed a

hypothetical monopolist test (“HMT”) to assess whether they were properly defined antitrust

markets, concluding that both supermarkets and large format stores are properly defined antitrust

markets in more than two thousand local areas.152

       1. The HMT is a reliable methodology

42.    The HMT is a widely-accepted methodology—endorsed by both the 2023 Guidelines and

the 2010 Guidelines—for testing whether an antitrust market is properly defined, i.e., does not

leave out important substitutes.153 Economists use the HMT to determine which firms are close

enough substitutes that they should be included in a market.154 The test asks whether a

“monopolist of the specified products in the specified geography [the “candidate market”] would

profitably be able to raise prices, lower quality, or take other actions to make consumers worse

off compared to current conditions.”155 If the answer is yes, then the candidate market “passes”

the HMT, meaning it is a properly defined antitrust market.156 If not—i.e., if the hypothetical

monopolist would lose too many customer sales to make the price increase or worsening of terms



151
    PX7006 (Hill Rebuttal Rpt.) ¶¶ 37-38, Fig. 2, n.43.
152
    PX7004 (Hill Rpt.) ¶ 141, Fig. 29; PX7006 (Hill Rebuttal Rpt.) ¶ 42, Fig. 4.
153
    Hill Hrg. 1463:3-9; McCrary Hrg. 3109:23-3110:9; Merger Guidelines § 4.3.
154
    Hill Hrg. 1460:18-21.
155
    PX7004 (Hill Rpt.) ¶ 65; see also Merger Guidelines § 4.3.
156
    Hill Hrg. 1460:25-1463:2.
                                                    21
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profitable—then the candidate market “fails” the HMT, suggesting that one or more reasonably

interchangeable substitutes exist outside of the candidate market.157 The HMT can confirm that

multiple, overlapping candidate markets are appropriately defined, because the hypothetical

monopolist could profitably raise prices by a little bit in any or all of them (e.g., a merger to

monopoly of motor vehicles could raise prices in markets for motor vehicles, cars, and 4WDs).

                              i.   Dr. Hill’s HMT uses appropriate inputs

43.    Margins are an input into both the HMT and competitive effects calculations.158 Dr. Hill

used Defendants’ ordinary course gross margins in his analyses.159 This is because Defendants’

business documents and sworn testimony establish that they look to gross margins when

analyzing or making decisions about pricing and profitability.160 Defendants also tout their

performance to investors in terms of gross margin.161 Dr. Israel, in contrast, relies upon margins

purportedly used by Kroger in the capital finance planning context.162 Defendants cite no

evidence, however, indicating that they use capital planning margins to set or analyze pricing.163

44.    Even if the margins Kroger uses for capital planning were an appropriate measure of

marginal costs—which they are not—Dr. Hill’s economic analyses of recent real-world events

confirm that Dr. Israel’s capital finance margins substantially overstate Defendants’ marginal

costs, thereby understating the relevant margins (because higher costs lead to lower margins).

First, Dr. Hill analyzed what happened when workers at King Soopers (Kroger) stores in Denver

went on strike in January 2022, causing an increase in sales at nearby Safeway (Albertsons)


157
    See Hill Hrg. 1461:9-18.
158
    PX7004 (Hill Rpt.) ¶¶ 190-191, 327-328; Hill Hrg. 1531:20-25.
159
    See Hill Hrg. 1533:7-12.
160
    Aitken Hrg. 1858:14-24. See also PX1129 (Kroger) at 003 (referring to opportunities to raise
prices as “gross margin opportunities”); Groff Hrg. 287:14-17; Curry Hrg. 892:13-17.
161
    PX6683 (Kroger) at 014; PX6153 (Albertsons) at 041
162
    Israel Hrg. 2670:24-2671:10; Maharoof Hrg. 2087:24-2088:11.
163
    Israel Hrg. 2730:16-2731:13.
                                                      22
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stores. Changes in sales and costs at the 77 affected Safeway stores before, during, and after the

strike imply a margin of 28%—nearly identical to Dr. Hill’s ordinary-course gross margin of

29% for these stores, and in stark contrast to Dr. Israel’s 19% margin.164 Second, once Dr. Hill

corrected Dr. Israel’s flawed event study of Seattle QFC (Kroger) store closures by removing

non-Seattle control stores that were not subject to the same city policy affecting costs at the

Seattle stores, he found margins closer to his ordinary-course gross margins than to Dr.

Israel’s.165 These two empirical analyses further support Dr. Hill’s margins and illustrate why

Dr. Israel’s are not an appropriate input to his calculations.

45.    Dr. Hill’s HMT also uses appropriate diversions as an input. Dr. Hill implemented the

HMT using a common economic technique called critical loss analysis, which analyzes whether

a small price increase by the hypothetical monopolist would be profitable by comparing the sales

it would lose as a result of the price increase (because people don’t want to pay higher prices) to

the sales it would “recapture” because the lost customers would switch (or “divert”) to shopping

at the other merging party’s stores.166 Diversions are an input into critical loss analysis because

they measure the level of substitution between stores in response to a price increase.167 Dr. Hill’s

diversions assume that sales lost by one firm will divert to other firms proportional to their share

in the large format store market.168 This approach is conservative: despite evidence of

supermarkets’ distinctive value proposition, Dr. Hill’s diversions do not assume that customers

are more likely to switch between supermarkets than to another format.169 To test his estimates




164
    Hill Hrg. 3373:20-3377:5; PX7006 (Hill Rebuttal Rpt.) ¶ 49, Fig. 5.
165
    Hill Hrg. 3376:15-3377:5; PX7025 (Hill Sur-reply Rpt.) ¶ 10, Fig. 2.
166
    PX7004 (Hill Rpt.) ¶¶ 120-121.
167
    Hill Hrg. 1477:6-10, 3379:20-3380:12; PX7004 (Hill Rpt.) ¶¶ 123-125.
168
    PX7006 (Hill Rebuttal Rpt.) ¶ 50; Hill Hrg. 3380:13-16.
169
    See PX7004 (Hill Rpt.) ¶ 191; PX7006 (Hill Rebuttal Rpt.) ¶ 53.
                                                      23
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of diversions between Defendants, Dr. Hill used the King Soopers strike as a real-world study,

and found that observed customer diversions from Kroger to Albertsons were higher than his

share-based estimates for 99% of the affected Safeway stores.170 This shows that assuming

diversion proportional to share likely underestimates substitution between Defendants’ stores.

46.    Dr. Israel used another diversion methodology derived from a paper by Ellickson, Grieco,

and Khvastunov (“EGK”), but this difference does not drive the divergence in their results; that

discrepancy results partially from Dr. Israel’s use of the unreliable capital finance margins but

also requires crediting his assumption that the divestiture will function perfectly.171 Dr. Hill’s

share-based diversions are qualitatively consistent with Dr. Israel’s EGK diversions, and in fact

more conservative: implementing the HMT using Dr. Israel’s diversions instead of Dr. Hill’s

yields more than 350 additional presumptively anticompetitive supermarket markets.172

                             ii.   The HMT confirms that thousands of local supermarket and
                                   large format store markets are properly defined

47.    Under the HMT, thousands of local supermarket and large format store markets are

properly defined antitrust markets.173 Dr. Hill found that 2,055 supermarket candidate markets

pass the HMT under the store-based geographic market approach.174 This result is not sensitive

to Defendants’ critiques: despite Dr. Israel’s objections to Dr. Hill’s store-based geographic

markets, implementing the HMT on customer-based markets yields considerably more (2,674)

properly defined supermarket markets.175 And even in the broader and more conservative large

format market, Dr. Hill found that 2,498 store-based markets and 2,688 customer-based markets



170
    PX7006 (Hill Rebuttal Rpt.) ¶¶ 54-56, Fig. 7.
171
    Hill Hrg. 3380:19-3381:15; PX7006 (Hill Rebuttal Rpt.) ¶¶ 70-73, Figs. 10, 43.
172
    Hill Hrg. 1476:18-25; PX7006 (Hill Rebuttal Rpt.) ¶¶ 52-53, Figs. 6, 43.
173
    PX7004 (Hill Rpt.) ¶ 141, Fig. 29.
174
    See Hill Hrg. 1463:10-1464:5; PX7004 (Hill Rpt.) ¶¶ 140-141, Fig. 29.
175
    PX7006 (Hill Rebuttal Rpt.) ¶ 42, Fig. 4.
                                                     24
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pass the HMT.176 It is thus appropriate to calculate shares and concentration statistics for these

markets, and to ask whether the acquisition is presumptively anticompetitive in any of them.

                            iii.   Defendants’ expert did not perform an HMT and his critiques
                                   of Plaintiffs’ market definition fail

48.    Dr. Israel claims to have performed “an actual data version” of the hypothetical

monopolist test.177 Specifically, he ran a regression analysis purporting to measure the

relationship between concentration metrics (measured in terms of the Herfindahl-Hirschman

Index or “HHI”) and margins in different geographic areas.178 Dr. Israel’s claim that his

regression accurately reflects the relationship between margin and the HHI is not reliable.179

49.    First, regressions of price or margin on the HHI are inherently flawed for the simple

reason that supply and demand affect both market concentration and price. For example,

suppose demand falls in a particular market when a factory closes, causing job losses and

population decline. Lower demand may lead to lower prices in the market and also prompt some

of the stores in the market to close, increasing concentration. A regression of price or margin on

the HHI might lead one to conclude, mistakenly, that higher concentration leads to lower prices,

when in fact an external event (the factory employer closing) was responsible for both

changes.180 Indeed, regressions of price/margin on the HHI have “largely been abandoned by

industrial organization researchers,” because they face “severe measurement problems and worse

conceptual problems.”181 Dr. Israel purports to have implemented controls to address these




176
    Hill Hrg. 1463:10-1464:5; PX7006 (Hill Rebuttal Rpt.) ¶ 42, Fig. 4.
177
    Israel Hrg. 2653:3-11.
178
    DX2623 (Israel Rebuttal Rpt.) ¶ 198.
179
    PX7006 (Hill Rebuttal Rpt.) ¶¶ 19-20.
180
    Hill Hrg. 1464:6-1465:11, 3389:25-3392:20; PX7006 (Hill Reply Rpt.) ¶ 21.
181
    Hill Hrg. 3390:7-3391:17; PX7006 (Hill Reply Rpt.) ¶ 20 n. 9.
                                                    25
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concerns.182 But these controls are inadequate; for instance, he is unable to account for relevant

local conditions that vary within a given state, such as Seattle’s COVID hazard pay law that

prompted Kroger to close certain QFC stores and occasioned his study of margins, nor to isolate

the reason(s) why the number of competitors in any given market changed.183

50.    Second, Dr. Israel did not perform his own HMT and instead relied on what he coined the

“actual monopolist test”—a test that is not cited in any case or economic literature, and for good

reason. That purported “test” yields improbable, illogical conclusions that undermine its

reliability. As Dr. Israel writes, “my results imply that even if Kroger were a hypothetical

monopolist with a 100 percent share within Dr. Hill’s supermarket or large format markets, it

would not be expected to increase prices by even one percent[.]”184 It is facially implausible to

conclude that a single firm controlling Kroger, Albertsons, Walmart, Target, Costco, Sam’s

Club, Whole Foods, Sprouts, Trader Joe’s, Stater Bros., Raley’s, Aldi, Lidl, WinCo, and all other

large format stores in the relevant markets could not profitably raise prices at even one store by

even one percent, particularly in light of Dr. Israel’s simultaneous (and internally inconsistent)

position that Walmart “is the key constraint” on Kroger’s pricing that will prevent any

acquisition-related consumer harm.185

           E. Concentration Levels in Hundreds of Relevant Supermarket and Large
              Format Store Markets Establish a Presumption that the Acquisition is Illegal

51.    Under the Merger Guidelines, a merger is presumptively illegal if it significantly

increases concentration (by raising the HHI by more than 100 points) in any “highly

concentrated market,” meaning a market where either the post-merger HHI exceeds 1,800 or the



182
    Israel Hrg. 2653:12-2654:19.
183
    Hill Hrg. 3390:7-3391:11.
184
    DX2623 (Israel Rebuttal Rpt.) ¶ 199 (emphasis in original).
185
    Israel Hrg. 2591:21-2592:7; Hill Hrg. 3393:1-24.
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merged firm’s market share, alone, exceeds 30%.186 Applying these thresholds, Dr. Hill found

that 1,922 supermarket markets satisfy the presumption.187 Even in the broader and more

conservative large format store product market, the acquisition is presumptively anticompetitive

in 1,785 local markets.188

           F. The Proposed Acquisition will Eliminate Substantial Head-to-Head
              Competition in Supermarkets

52.    Defendants compete fiercely with each other for customers on both price and non-price

dimensions. Albertsons’ VP of Customer and Market Intelligence observed: “There is no way

that [Kroger] could buy all of us – too many competing markets.”189 Albertsons refers to Kroger

as “a strong competitor”190 and its “primary” and “top food competitor,”191 and believes it “will

beat Kroger on a sustained basis.”192 Likewise, Albertsons is Kroger’s number one or number

two competitor in 14 of the 17 “major markets” where the two overlap.193 Kroger considers

Albertsons’ banners “
                                               194
                                                     While Kroger will “follow” Albertsons’

pricing,195 or use its pricing as a “ceiling” on price sensitive everyday essentials,196 Albertsons

has sought to be “equal to or better than [Kroger]” on its everyday prices on certain items.197 As

a result of targeting Kroger, Albertsons drove its own growth and “invested in many different



186
    Merger Guidelines § 2.1; see COL I.A.5, infra.
187
    PX7006 (Hill Rebuttal Rpt.) at 103, Fig. 43.
188
    PX7006 (Hill Rebuttal Rpt.) ¶ 69, Fig. 10.
189
    PX2514 (Albertsons) at 006; Kinney Hrg. 3028:14-25.
190
    Sankaran Hrg. 1764:22-1765:3.
191
    Huntington Hrg. 563:3-564:1; PX12476 (Albertsons) at 003-004.
192
    PX2322 (Albertsons) at 002; Sankaran Hrg. 1766:2-8.
193
    McMullen Hrg. 1655:16-20; PX6024 (Kroger) at 058-060 (list of “major markets”).
194
    PX1674 (Kroger); PX1675 (Kroger); Kammeyer Hrg. 493:15-494:19.
195
    Kammeyer Hrg. 487:8-21; PX1743 (Kroger) at 001.
196
    Kammeyer Hrg. 489:3-11; PX1726 (Kroger) at 001.
197
    Huntington Hrg. 558:25-559:3; PX12483 (Kroger) at 003.
                                                       27
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things, like e-commerce” and other capabilities.198 When Albertsons outperforms Kroger, it uses

colorful language like “Crushed them!!” and “Eat our dust Kroger” to celebrate its competitive

victories.199 During a Kroger strike, Albertsons’ Denver Division President wrote, “[t]hese guys

are spiraling down, and I need to push my foot on the back of their neck[.]”200

       1. Kroger and Albertsons constrain each other’s base and promotional prices

53.    Base Pricing. Kroger and Albertsons adjust base—also called regular, or “white tag”—

prices in response to each other’s pricing.

54.    Albertsons. Contrary to Defendants’ contentions, because prices are “always moving,”

Albertsons’ prices are in many cases lower than Kroger’s.201 In a number of divisions, on price-

sensitive everyday items like milk and bananas, Albertsons is often priced lower than Kroger.202

55.    Albertsons’ base pricing goal is to achieve “an imperceptible price gap” to Kroger.203 To

effectuate this strategy, Albertsons has adopted a tool called Price Advisor.204 In Price Advisor,

Albertsons inputs a “primary food competitor” to serve as the main pricing benchmark in each

price area (a subset of stores within a division that share the same base price).205 In every price

area in the Portland, Seattle, Southwest, and Intermountain divisions;206 all but one price area in

the Denver division;207 and in most price areas in the Southern California, Jewel-Osco, and




198
    Sankaran Hrg. 1767:16-23.
199
    PX12382 (Albertsons) at 002; Sankaran Hrg. 1788:20-1789:21.
200
    Broderick Hrg. 1404:12-18; PX2395 (Albertsons) at 001.
201
    Sankaran Hrg. 1758:7-11.
202
    Sankaran Hrg. 1758:7-1759:6; PX12375 (Albertsons) at 019.
203
    Silva Hrg. 248:8-25 (discussing quote from DX1087 at 003), 236:23-25, 237:1-8; PX12392
(Albertsons) at 010                                                                        .
204
    Silva Hrg. 237:1-8, 258:17-259:1.
205
    Silva Hrg. 229:10-14, 232:25-233:4, 234:16-20, 235:16-25, 238:6-10, 226:8-23.
206
    Silva Hrg. 230:5-16, 231:18-232:10; PX12359 (Albertsons) at tab “Full Primary”.
207
    Silva Hrg. 231:5-17; PX12359 (Albertsons) at tab “Full Primary”.
                                                     28
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                                                                                              226
                                                                                                    For
                                                                                 227
example,                                                                               and explored
                                                                                     228



62.    For most of its other divisions, Kroger seeks to set prices within a range using Walmart

as the lower bound229 and a high-priced retailer (“HPR”)—typically a traditional supermarket,

and almost always an Albertsons banner in areas where they are both present—as the upper

bound.230 This upper bound on Kroger’s pricing—which Kroger calls the “HPR rule”—helps

Kroger to “ensure we are not priced significantly higher than the traditional retail competitor”

and “put[s] additional pressure on our traditional competitors by not allowing them to undercut

us on items that our price science indicate are important to price perception.”231

63.    Albertsons banners are the primary HPR for eight different Kroger divisions—Dallas,

King Soopers, Fry’s, Fred Meyer, Fred Meyer Alaska, Smith’s (Las Vegas), Smith’s

(Albuquerque), and Ralphs.232
                         233
                               When Kroger reinvigorated its use of the HPR rule in 2021, it

invested an estimated $40 million over the first year to lower prices to levels at or below

Albertsons and the other designated HPR competitors.234

64.    In the divisions where Albertsons banners act as the HPR, close head-to-head



226
    PX1414 (Kroger).
227
    PX11271 (Kroger) at 001.
228
    PX1984 (Kroger) at 001.
229
    Kroger sets pricing for many of its items at spreads of   % above Walmart prices.
PX1130 (Kroger) at 007-018.
230
    Groff Hrg. 276:10-12.
231
    PX1109 (Kroger) at 007; see also PX1110 (Kroger) at 001-002; Groff Hrg. 279:22-280:11,
325:14-18.
232
    PX1109 (Kroger) at 007; Groff Hrg. 280:9-282:11; PX1115 (Kroger) at 003-006.
233
    PX1125 (Kroger) at 003.
234
    PX1109 (Kroger) at 007; Groff Hrg. 282:12-25.
                                                     31
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competition between Kroger and Albertsons banners demonstrates that Albertsons acts as a

constraint on Kroger pricing. For example, Ralphs, Kroger’s largest banner in Southern

California, prices in a range between Walmart and Albertsons’ Vons banner for white tag (or

regular) pricing.235 Kroger price checks Albertsons and then recommends price changes to move

Kroger pricing up to, but not exceeding Albertsons pricing in Southern California.236 For

example, Ralphs increased prices for 70 feminine hygiene products based only on Albertsons’

pricing,237 and Ralphs used Vons’s pricing for milk at $3.99 to inform its pricing decision to stay

at $3.99 instead of using Walmart’s price of $3.85.238 Ralphs’s President wants more autonomy

to benchmark pricing against Albertsons.239

65.    Similarly, Albertsons banners are the primary HPR for Fred Meyer divisions, and Fred

Meyer’s division president described Albertsons banners as “our biggest competitors with 300-

plus stores.”240 For everyday essentials products, Fred Meyer follows Safeway and Albertsons

prices in price zones with no Walmart.241 Elsewhere, Albertsons’ prices act as a “ceiling” that

Fred Meyer will not exceed, even if Safeway cut its prices.242 Fred Meyer also compares its

produce pricing against Safeway and attempts to price lower.243 In 2021, Kroger budgeted $9.3

million per year at Fred Meyer in part to “increase our [price] advantage over Safeway.”244




235
    Schwilke Hrg. 819:3-10; PX1497_KRPROD-FTC-2R-021386277 (Kroger) at 3.
236
    Schwilke Hrg. 829:15-831:12, 836:15-838:3; PX1480 (Kroger); PX1458 (Kroger).
237
    Schwilke Hrg. 829:15-831:12; PX1480 (Kroger) at 001.
238
    Schwilke Hrg. 836:15-838:3; PX1458 (Kroger) at 001.
239
    Schwilke Hrg. 838:4-21.
240
     Kammeyer Hrg. 497:17-498:1; PX1420 (Kroger) at 001.
241
     Kammeyer Hrg. 487:8-21; PX1743 (Kroger) at 001. Everyday essentials product prices are
set in price micro-zones, typically with one Kroger store as the focal point. Groff Hrg. 270:12-
17.
242
    Kammeyer Hrg. 489:3-16; PX1726 (Kroger) at 001.
243
    Kammeyer Hrg. 491:18-23.
244
    PX1109 (Kroger) at 004.
                                                    32
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69.    Albertsons likewise monitors and reacts to Kroger’s promotional pricing, especially

around major holidays. In November 2020, Albertsons’ Jewel banner reported



                                                  ”259 When Albertsons’ CEO asked why Jewel

was losing market share, Jewel’s division lead responded, “[



                                                  ”260

70.

                                                                                         .261

Albertsons reported “[a] win in SoCal” for July 4, 2021, after seeing “much higher pricing” by

Ralphs and Stater Bros on meat.262



                                                                                  ”263

71.    In Portland, Albertsons uses “history and trends to predict Fred Meyer [promotional

pricing] and beat it on holidays.”264




                          ”266




259
    PX2673 (Albertsons) at 001; see also PX2679 (Albertsons) at 001-002.
260
    PX12087 (Albertsons) at 001.
261
    PX2478 (Albertsons) at 001.
262
    Curry Hrg. 886:1-25; PX12577 (Albertsons) at 001.
263
    PX12029 (Albertsons) at 001.
264
    Huntington Hrg. 555:4-11; PX12478 (Albertsons) at 005.
265
    PX2464 (Albertsons) at 001
266
    PX2484 (Albertsons) at 001.
                                                   35
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72.    In Colorado, Albertsons compares prices and other features against Kroger’s King

Soopers ads to ensure it is very competitive with Kroger’s advertised pricing.267 In 2022, when

Albertsons’ ad featured better deals than King Soopers’, its Denver Division President wrote,

“The beating continues,” and King Sooper’s “Lower lips are quivering.”268 As a result,

Albertsons saw a “[m]assive week” for increased market share.269

       2. Economic evidence shows that Defendants constrain each other’s pricing

73.    The economic evidence also supports a finding that Kroger and Albertsons constrain each

other’s pricing. In particular, the evidence does not support Defendants’ arguments that

Albertsons is irrelevant to Kroger’s pricing and Walmart will sufficiently constrain the combined

firm to discipline their post-merger incentives to raise prices. Dr. Hill found that, by replicating

Dr. Israel’s regression model and instead focusing on the effect of Albertsons on Kroger’s prices,

Dr. Israel’s own model finds that lower Albertsons prices are meaningfully correlated with lower

Kroger prices.270 That analysis also found Walmart’s presence does not substantially mitigate

the loss of an independent Albertsons.271

       3. Kroger and Albertsons compete closely on non-price factors

74.    Product Quality and Assortment. Defendants monitor and respond to each other to

improve product quality and assortment.272 As described above, fresh products are important to

customers,




267
    Broderick Hrg. 1371:19-1372:6, 1378:21-1379:1.
268
    Broderick Hrg. 1373:10-1374:11, 1374:24-1375:15, 1377:9-14; PX2369 (Albertsons) at 001,
003.
269
    Broderick Hrg. 1375:17-1376:4; PX2369 (Albertsons) at 002.
270
    Hill Hrg. 3394:16-3395:16; PX7006 (Hill Rebuttal Rpt.) ¶¶ 133-135.
271
    Hill Hrg. 3394:16-3395:16; PX7006 (Hill Rebuttal Rpt.) ¶¶ 133-135.
272
    See, e.g., Broderick Hrg. 1388:10-25, 1404:4-11; Schwilke Hrg. 814:20-815:16; PX2395
(Albertsons) at 001.
                                                     36
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proportional to share as inputs to his CMCR analysis.297 Dr. Hill nevertheless took an additional

conservative measure with his CMCR diversions by “allowing” for consumers to substitute to

stores outside of the large format product market and outside of the focal store’s store-based

geographic market.298 Practically speaking, this means Dr. Hill’s CMCR analysis is largely

agnostic to disputes about the proper market definition.299

85.    Dr. Hill found that 1,472 local supermarket markets and 1,513 local large format store

markets are both presumptively anticompetitive and have a CMCR value greater than 5%.300

This means that, for those markets, the acquisition is likely to result in a price increase unless it

were to reduce the firm’s marginal costs by more than five times Defendants’ claimed cost

efficiencies of less than 1%.301 Thus, Dr. Hill’s CMCR analysis confirms that prices likely will

increase as a result of the acquisition, regardless of Defendants’ claimed cost savings.302

86.    Finally, although Dr. Israel used the gross upward pricing pressure index (“GUPPI”)

methodology to measure competitive effects, and claimed that the two methodologies are

functionally identical, his own academic work recommends CMCR analysis because it

“account[s] for the effects of all the products [i.e., stores] of the merging parties” and allows one

to “determine required efficiency levels for each product to avoid pricing pressure.”303

IV. PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR §7
CHALLENGE FOR UNION GROCERY LABOR



297
    Hill Hrg. 1531:20-25, 1537:14-16; PX7004 (Hill Rpt.) ¶ 191. These are appropriate inputs, as
explained supra in FOF § III.D.1.i.
298
    PX7004 (Hill Rpt.) ¶ 191.
299
    Hill Hrg. 1482:24-1483:15.
300
    PX7006 (Hill Rebuttal Rpt.) at 040, 106, Figs. 13, 46.
301
    PX7004 (Hill Rpt.) ¶ 193; PX7006 (Hill Rebuttal Rpt.) ¶¶ 180-182; see also Hill Hrg.
1480:1-13.
302
    PX7006 (Hill Rebuttal Rpt.) ¶ 182.
303
    PX7006 (Hill Rebuttal Rpt.) ¶ 86 n.89; see also Israel Hrg. 2727:3-10 (testifying that his
GUPPI analysis is based only on “current diversions, current competitive pressures”).
                                                      40
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           A. Union Grocery Labor in CBA Areas Is a Relevant Labor Market

87.    The effect of this acquisition on competition will be most directly and immediately felt

by union grocery workers in the geographic areas covered by the jurisdiction of the unions’

collective bargaining agreements (“CBA”) areas as shown through an application of the Brown

Shoe practical indicia.304

       1. Brown Shoe indicia establish union grocery labor as a relevant labor market

88.    Union grocery labor has distinct characteristics, distinct compensation, and industry

recognition as a distinct type of labor.

                              i.   Union grocery labor has peculiar characteristics

89.    For grocery workers and their unions, union grocery labor has distinct characteristics

from other labor. Unlike non-union jobs, union labor is governed by CBAs that guarantee

certain benefits such as protections from dismissal without just cause and premium pay rates.305

Likewise only union workers benefit from the protections of multi-employer health and pension

funds (“Taft-Hartley” plans).306 Workers can retain these and other union-negotiated wage and

non-wage benefits only when they switch jobs between union employers.307

90.    Many roles in a grocery store, such as meatcutters, pharmacy personnel, department

heads, receivers, and front-end managers, require different skills and experiences from other jobs

outside the grocery industry.308 For example, meatcutters require prior experience as a meat

clerk or a multi-year apprenticeship with training programs covering topics such as knife and

equipment skills, food safety and handling, customer service, and preparing specialty cuts of



304
    Zinder Hrg. 775:12-776:6.
305
    McPherson Hrg. 599:24-600:19; Van Helden Hrg. 196:14-197:4.
306
    Zinder Hrg. 762:17-763:1.
307
    Clay Hrg. 700:11-701:4; Zinder Hrg. 762:17-763:1; Van Helden Hrg. 197:12-15.
308
    Zinder Hrg. 750:21-751:6; see also Van Helden Hrg. 193:2-195:1.
                                                    41
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meat.309 A job at a meatpacking plant, by contrast, offers a worker a very different work

environment, requires different skills, and often pays relatively less.310

91.    In a buy-side case involving the merger of employers, the proper focus of the antitrust

market definition inquiry is the interchangeability of buyers (employers) from the perspective of

sellers (workers).311 Defendants’ expert analyzes the types of skills and training in demand from

the perspective of employers, not from the perspective of union grocery workers.312 Moreover,

Defendants’ analysis focuses on entry-level hires, not the skills of experienced workers or those

with specialized positions at Kroger or Albertsons stores.313

                             ii.   Union grocery labor has distinct compensation

92.    Union workers at Kroger and Albertsons receive higher compensation than their non-

union counterparts, including both higher total pay and stronger benefits.314 The total

compensation package of a union grocery worker will include forms of compensation guaranteed

in the union contract, including not only wage rates, but also fringe benefits such as health and

welfare, retirement, vacation paid time off, disability, and more.315

93.    Kroger and Albertsons could reduce their union workers’ total compensation by a small

amount, yet still remain above the compensation levels of their non-union workers, making it

possible to reduce union compensation without losing workers to other non-union employers.316

As a result, union grocery workers would not switch to a non-union employer if their



309
    Zinder Hrg. 751:7-752:5; see also Broderick Hrg. 1425:5-14.
310
    Zinder Hrg. 752:6-753:1.
311
    See COL at ¶ 35.
312
    See McCrary Hrg. 3065:24-3066:13.
313
    McCrary Hrg. 3067:4-17.
314
    Clay Hrg. 679:10-18; Ashenfelter Hrg. 3320:24-3328:25; PX7010 (Ashenfelter Rebuttal Rpt.)
¶¶ 14-33.
315
    Dosenbach Hrg. 2543:21-2544:18.
316
    Ashenfelter Hrg. 3339:4-20; PX7010 (Ashenfelter Rebuttal Rpt.) ¶ 33.
                                                     42
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compensation was reduced by a small amount (relative to a non-union employer).317

94.    Defendants’ labor economics expert Professor McCrary does not analyze union grocery

workers’ motivations to work in or switch from union stores.318 Professor McCrary also fails to

take into account the fact that union workers receive better pay and benefits than their non-union

counterparts at Kroger and Albertsons stores.319 By focusing primarily on entry level positions,

Professor McCrary ignores the important value ascribed to union grocery compensation by more

senior employees, for whom turnover decreases significantly after benefits accrue.320

                            iii.   Union grocery labor is recognized by industry participants as
                                   a distinct type of labor

95.    Albertsons uses different teams and processes for setting wages and benefits for their

union and non-union associates.321 Both Kroger and Albertsons acknowledge that union grocery

workers generally receive more generous healthcare and pension benefits than their non-union

counterparts receive within the same company.322 Stater Brothers views its competition for labor

as other union grocery operators in its market.323

       2. CBA areas constitute relevant geographic markets

96.    Kroger and Albertsons compete for union labor in the local areas covered by the

CBAs.324 The negotiated wages, benefits, and working conditions cover all the union grocery


317
    See, e.g., PX4112 (Cordova (UFCW Local 7) Dep. at 46:7-24).
318
    Cf. McCrary Hrg. 3070:5-3071:13.
319
    Ashenfelter Hrg. 3320:24-3328:25; PX7010 (Ashenfelter Rebuttal Rpt.) ¶¶ 14-33.
320
    McMullen Hrg. 1576:20-1577:6; McPherson Hrg. 595:8-14; Zinder Hrg. 750:5-12; see also
PX7010 (Ashenfelter Rebuttal Rpt.) at Appx. C ¶ 2, Tbl. C1.
321
    Dosenbach Hrg. 2537:25-2538:5.
322
    McPherson Hrg. 595:15-596:4; Dosenbach Hrg. 2523:2-6; see also PX7010 (Ashenfelter
Rebuttal Rpt.) at ¶¶ 31-32, Tbl. 4.
323
    Van Helden Hrg. 195:2-7, 195:8-16.
324
    McPherson Hrg. 599:9-14; see, e.g., PX4134 (Frazier (UFCW Local 1564) Dep. 15:23-16:6);
PX1381 (Kroger); PX2252 (Albertsons) at 084-085 (describing geographic scope of CBA
around Southern California); PX2257 (Albertsons) at 006 (describing geographic scope of CBA
around Spokane, Washington).
                                                     43
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workers at stores within the defined area of the CBA.325 As such, any changes in wages or

benefits during negotiations will impact all union workers at stores covered by the CBA.326

Defendants recognize that the “geographic areas” impacted by changes in negotiating leverage

are those areas “covered by the labor agreements.”327 For instance, a recent mutual strike

assistance agreement (“MSAA”) contemplated by Defendants reflects that they seek to use

mutual lockouts to counter union strike leverage in geographic areas defined by CBAs.328

97.    Kroger and Albertsons try to stay competitive within the jurisdiction of the CBAs by

surveying the compensation offered by others in those CBA areas.329 Unions also focus on what

other employers are paying in the local area.330

98.    Each CBA area ranges in size from a city or county to a group of counties.331 Like most

workers, union grocery workers prefer to work near where they live.332 Most CBA areas reflect

this reality.333 Defendants’ focus on the UFCW’s Southern California CBA area is misplaced

because multiple unions jointly negotiated one CBA.334 The geographic scope of this

exceptional CBA is larger than it would be if it reflected the jurisdiction of just one union.335

           B. High Shares in Many CBA Areas Establish Presumptive Unlawfulness

99.    Kroger and Albertsons consistently are the two largest union grocery employers in each



325
    PX7004 (Hill Rpt.) ¶ 246.
326
    PX4112 (Cordova (UFCW Local 7) Dep. 189:2-191:9).
327
    PX2148 (Albertsons) at 004; see also Dosenbach Hrg. 2559:14-2560:9; McPherson Hrg.
607:4-13.
328
    PX2148 (Albertsons) at 004-005; see also Dosenbach Hrg. 2559:14-2560:9.
329
    McPherson Hrg. 598:11-14, 664:20-665:1; Dosenbach Hrg. 2539:23-2540:3; see also
McPherson Hrg. 664:20-667:7.
330
    Clay Hrg. 677:18-23.
331
    PX7004 (Hill Rpt.) ¶ 246; see also McPherson Hrg. 598:4-10.
332
    Zinder Hrg. 797:25-798:3; PX7004 (Hill Rpt.) ¶¶ 246, 252.
333
    PX7004 (Hill Rpt.) ¶ 246; see also McPherson Hrg. 598:4-10.
334
    PX7004 (Hill Rpt.) ¶ 257; McCrary Hrg. 3124:25-3125:3.
335
    See Zinder Hrg. 743:17-21.
                                                     44
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division and geographic area where they overlap.336 Dr. Hill calculated market shares in four

states where Defendants have overlapping CBA areas: Oregon, Washington, California, and

Colorado. These calculations show that Defendants’ combined market shares, market

concentration, and increases in concentration easily surpass the levels that create a presumption

of illegality.337 In overlapping Colorado CBA areas, there are no other union grocery employers

at all, making the acquisition a merger-to-monopoly.338 In Southern California, Dr. Hill

calculates a combined union grocery worker share of nearly 75%.339 In the overlapping CBA

areas of UFCW Local 555, covering parts of Oregon and Washington, Dr. Hill shows that the

merged firm would employ over 70% of union grocery workers.340 And in each of the

overlapping CBA areas of UFCW Local 3000 in Washington, Dr. Hill finds that the acquisition

would give Defendants a combined union grocery worker share of more than 75%.341

           C. The Acquisition Will Eliminate Substantial Head-to-Head Competition For
              Union Grocery Labor

100.   Kroger and Albertsons recognize each other as a primary—and in some cases, only—

union competitor in the areas where their stores and workforces overlap.342 Albertsons refers to

Kroger as its “bargaining competitor,” meaning they compete for sales and talent, while also

engaging in bargaining with the same unions at the same time.343 Both Defendants acknowledge

the importance of offering competitive wages and benefits in order to attract and retain their

union associates.344 If Kroger and Albertsons fail to match each other’s contract wages and


336
    See, e.g., Zinder Hrg. 756:10-15.
337
    See Hill Hrg. 1496:18-1497:8; see also Merger Guidelines § 2.1; COL at § I.A.5, infra.
338
    PX7004 (Hill Rpt.) at 127, Fig. 59.
339
    PX7004 (Hill Rpt.) at 128, Fig. 60.
340
    PX7004 (Hill Rpt.) at 129, Fig. 61.
341
    PX7004 (Hill Rpt.) at 130, Fig. 62.
342
    McPherson Hrg. 594:23-595:7; Broderick Hrg. 1391:17-19.
343
    Dosenbach Hrg. 2538:9-25
344
    McMullen Hrg. 1576:20-1577:6; Broderick Hrg. 1390:3-18.
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terms, they risk losing workers to their union competitors (i.e., one another).345

101.   Defendants engage in coordinated bargaining with UFCW unions in many parts of the

Western United States, which allows the unions to pit the companies against each other to

pressure them to either match or improve on each other’s proposals.346 Having both Kroger and

Albertsons—alternative employers whose interests and priorities frequently diverge—at the

bargaining table when negotiating a CBA is crucial.347 Unions leverage this competition for

workers to achieve better wages and benefits and otherwise improve working conditions.348 In

Colorado, for example, Albertsons’ labor executives noted that if the union extracted higher

wages from Kroger, then Albertsons likely would have to agree to the same higher wages.349

And in Portland, Oregon, UFCW Local 555 secured additional pension payments and other non-

wage benefits by playing Kroger and Albertsons off against each other.350

102.   The acquisition removes unions’ primary source of leverage in collective bargaining

negotiations: the ability to credibly threaten a strike, boycott, or other job action against an

employer.351 Strikes are an “economic weapon.”352 When workers strike or boycott, impacted

stores cannot operate normally or may have to close temporarily.353 Struck supermarkets are at

risk of lasting damage to their reputation and loss of shoppers to competing stores.354



345
    Broderick Hrg. 1396:1-8; PX2082 (Albertsons) at 002; McPherson Hrg. 650:10-17.
346
    See McPherson Hrg. 601:17-602:3; Broderick Hrg. 1393:7-1396:8; Zinder Hrg. 758:11-25;
PX2082 (Albertsons) at 001-002.
347
    See McPherson Hrg. 601:23-602:7; Zinder Hrg. 756:22-758:4.
348
    Zinder Hrg. 758:5-10; McPherson Hrg. 604:8-605:6; Broderick Hrg. 1396:1-1398:9; PX2082
(Albertsons) at 002; Clay Hrg. 683:23-685:2.
349
    Broderick Hrg. 1396:1-8; PX2082 (Albertsons) at 002.
350
    Clay Hrg. 689:20-690:13.
351
    Zinder Hrg. 758:11-25, 774:15-25; Dosenbach Hrg. 2549:6-14.
352
    McPherson Hrg. 602:12-14; DX2740 (King Rpt.) ¶ 52.
353
    Clay Hrg. 685:3-14; Zinder Hrg. 758:11-25.
354
    Broderick Hrg. 1396:15-1398:9, 1399:21-1400:6, 1403:16-21; Zinder Hrg. 758:11-25;
PX2395 (Albertsons) at 001.
                                                      46
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103.    During strikes, the union tries to direct customers to alternative union grocery store.355

As unions seek to redirect customers from the struck store, competing union stores are often

busier during the strike and their sales increase.356 The strike target is also at risk of losing

workers.357 Workers may choose to pick up shifts at other union grocery employers that remain

open during the strike in order to continue getting paid and earning benefit contributions.358

104.    Because strikes damage an employer’s sales, reputation, and employee relationships,

unions can use a strike or the credible threat of a strike to pressure an employer to offer better

wages, benefits, and working conditions.359 Unions use the strike threat in almost every

negotiation against Kroger or Albertsons.360 “If the acquisition were to go through, the

credibility of the threat would be . . . de minimis.”361

105.    Unions also employ a negotiating tactic known as “whipsawing.”362 In whipsaw

bargaining, the union first secures an agreement with one employer, then uses it as a benchmark

to leverage negotiations with the other.363 To increase pressure, a union may also engage in a

whipsaw strike, in which a union strikes or threatens to strike one employer.364 Once there is

agreement, the union shifts the strike threat to get a competitor to meet or beat that agreement.365




355
    Zinder Hrg. 760:15-761:5; Clay Hrg. 685:3-686:13, 687:2-5.
356
    Zinder Hrg. 761:6-762:8.
357
    PX4132 (Guenther (UFCW Local 3000) Dep. 86:5-7, 122:4-124:13).
358
    Zinder Hrg. 761:6-763:1.
359
    Zinder Hrg. 759:1-17, 764:2-12; PX2082 (Albertsons) at 002.
360
    Zinder Hrg. 759:1-17, 784:6-11.
361
    Zinder Hrg. 774:15-25.
362
    McPherson Hrg. 611:19-612:20; Dosenbach Hrg. 2558:19-23; Clay Hrg. 679:23-680:5.
363
    DX2740 (King Rpt.) ¶ 47; King Hrg. 2846:19-25, 2877:1-9; Clay Hrg. 680:1-10; McPherson
Hrg. 649:14-20.
364
    DX2740 (King Rpt.) ¶ 47; King Hrg. 2846:19-25, 2877:1-9; McPherson Hrg. 656:9-13.
365
    McPherson Hrg. 602:20-25; Dosenbach Hrg. 2531:13-2532:6; Zinder Hrg. 763:2-12; Clay
Hrg. 680:1-10.
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This strategy is effective because Kroger and Albertsons do not want to lose sales or shoppers.366

106.   Unions commonly leverage competition between Defendants to benefit union grocery

workers. In December 2021, UFCW Local 555 struck several Fred Meyer (Kroger) locations in

the Portland, Oregon; Bend, Oregon; and Klamath Falls, Oregon areas.367 As a result of the

strike, Local 555 obtained the “biggest wage increases” it had ever achieved with Kroger, as well

as several other important non-wage improvements.368 Local 555 then brought the agreement to

Albertsons to negotiate a similar contract, resulting “in a much more expensive settlement.”369

107.   In another example, in January 2022, UFCW Local 7 struck King Soopers (Kroger)

stores in the Denver area.370 Local 7 used the leverage gained from the strike to negotiate wage

increases and improve benefits with Kroger. Once Local 7 agreed to a new CBA with Kroger,

the union then used that CBA to “move” Albertsons to a new CBA with similar terms.371

108.   To counter the unions’ strategy of playing them off one another, Kroger and Albertsons

have attempted to align on their union negotiations.372 However, their coordination is costly,

imperfect, and often unsuccessful.373 Defendants’ frequent failure to reach alignment in

bargaining, despite their best efforts, gives unions even greater negotiating leverage.374

109.   This misalignment is most evident in Kroger’s repeated requests to Albertsons to



366
    McPherson Hrg. 655:19-656:13; Dosenbach Hrg. 2556:18-2557:2.
367
    Clay Hrg. 688:22-689:19; Dosenbach Hrg. 2553:10-22.
368
    Clay Hrg. 689:13-19; Dosenbach Hrg. 2553:10-2554:16.
369
    PX2251 (Albertsons) at 1; see Dosenbach Hrg. 2553:10-22; Clay Hrg. 683:23-684:24.
370
    McPherson Hrg. 656:14-20; Broderick Hrg. 1396:15-19, 1399:21-1400:2.
371
    PX4112 (Cordova (UFCW Local 7) Dep.128:4-130:11); see also Broderick Hrg. 1396:1-19;
PX2082 (Albertsons) at 002.
372
    Broderick Hrg. 1393:3-1394:2; PX2082 (Albertsons) at 001.
373
    McPherson Hrg. 619:7-11; Broderick Hrg. 1391:14-1396:8; PX2082 (Albertsons) at 001-002;
see also PX7010 (Ashenfelter Rebuttal Rpt.) ¶¶ 53-54; compare McPherson Hrg. 602:4-7 with
Dosenbach Hrg. 2551:12-2552:1.
374
    Broderick Hrg. 1391:14-1396:8; PX2082 (Albertsons) at 001-002; see Ashenfelter Hrg.
3337:22-3339:3.
                                                     48
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consider entering into an MSAA.375 An MSAA is an agreement between two employers that if

one is struck, the other will lock out its union employees; the two companies may agree to share

in the profits reaped from the increase in sales resulting from the strike of the competitor.376 An

MSAA gives employers “a ton of leverage at the bargaining table to get an agreement” because it

remove unions’ ability to use whipsaw tactics.377 An MSAA also effectively increases the size

of a strike so it raises the risks and costs to the union.378 But MSAAs are difficult to enter into

when the Defendants are otherwise fierce competitors. Facing strike threats in contentious

negotiations, for example, Kroger unsuccessfully tried to convince Albertsons to enter into

MSAAs in Portland (2021),379 Denver (2022),380 and Southern California (2022).381 Post-

acquisition, there will be no need for the Defendants to agree to an MSAA to increase their

leverage (as they attempt to do now) because one would essentially already be in place.382

110.   The presence of smaller union grocery employers does not impact union negotiations

with Defendants.383 Smaller union grocery employers understand that they do not have the size

and national scope to withstand the financial impact of a strike, so they follow the CBA terms

negotiated by Kroger and Albertsons.384 Likewise, unions recognize that they cannot effectively

leverage smaller grocers’ CBAs against Kroger or Albertsons during collective bargaining.385



375
    McPherson Hrg. 619:7-11.
376
    Dosenbach Hrg. 2527:15-2528:3; McPherson Hrg. 605:7-17; PX7010 (Ashenfelter Rebuttal
Rpt.) ¶ 38.
377
    McPherson Hrg. 605:18-606:25; PX7010 (Ashenfelter Rebuttal Rpt.) ¶¶ 41-42; PX1033
(Kroger) at 002.
378
    PX7010 (Ashenfelter Rebuttal Rpt.) ¶ 41; see also Dosenbach Hrg. 2552:15-2553:4.
379
    McPherson Hrg. 608:1-12; PX1040 (Kroger) at 002.
380
    McPherson Hrg. 612:21-613:13; see also PX2148 (Albertsons) at 001.
381
    McPherson Hrg. 615:11-14.
382
    PX7010 (Ashenfelter Rebuttal Rpt.) ¶¶ 52, 56.
383
    Zinder Hrg. 756:16-758:2.
384
    Zinder Hrg. 756:16-757:11.
385
    Zinder Hrg. 757:16-758:4.
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111.   Prior consolidation among union grocery store employers has diminished union

bargaining leverage.386 In Southern California, for instance, Albertsons’ 2015 merger with

Safeway reduced the number of major union grocery employers from three to two—Kroger and

Albertsons.387 If Kroger and Albertsons merge, unions will be unable to play one off the other

during collective bargaining and their ability to credibly threaten a strike or boycott will

diminish.388 Union bargaining leverage will be “de minimis” with only one major unionized

grocery employer in each relevant CBA area, and thus Kroger will “have no incentive” to agree

to improved CBA terms.389 This reduced bargaining leverage will result in lower wage

increases, reduced benefits, and worse employment terms for union grocery employees.390

V.     DEFENDANTS FAIL TO REBUT THE PRIMA FACIE CASE

           A. The Divestiture Leaves Hundreds of Markets Unremedied

112.   Dr. Hill’s analysis shows that 1,002 supermarket markets (totaling $37 billion in annual

sales at the focal stores alone) are presumptively anticompetitive, even assuming a best case

scenario that each and every store divested to C&S not only remains open, but also—contrary to

C&S’s projections—maintains its pre-divestiture sales levels.391 For large format stores, the

proposed acquisition is presumptively anticompetitive in 551 large format store markets (totaling

$23 billion in annual focal store sales).392 Pursuant to Dr. Hill’s CMCR analysis discussed in

§ III.F.4, the acquisition exceeds the conservative 5% CMCR threshold in 335 supermarket

markets and 234 large format store markets, even after accounting for a perfectly performing



386
    See, e.g., Zinder Hrg. 766:1-18, 774:10-14, 776:7-14.
387
    Zinder Hrg. 766:1-18.
388
    Zinder Hrg. 773:25-775:11.
389
    Zinder Hrg. 773:25-774:25, 775:12-776:6; see also Ashenfelter Hrg. 3338:11-18.
390
    Zinder Hrg. 775:12-776:6; see also Ashenfelter Hrg. 3339:17-20.
391
    PX7006 (Hill Rebuttal Rpt.) at ¶¶ 103-104, Figs. 43-44; Hill Hrg. 3381:16-3382:5.
392
    PX7006 (Hill Rebuttal Rpt.) at ¶¶ 035-037, Figs. 10-11; Hill Hrg. 3381:16-3382:5.
                                                     50
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divestiture.393 Thus, Dr. Hill’s CMCR analysis confirms that prices likely will increase as a

result of the acquisition, regardless of the divestiture.394 Dr. Israel concedes there are

unremedied markets, even accounting for the proposed divestiture.395 Further, none of

Defendants’ experts opines that C&S will effectively operate the divested stores396 nor that C&S

will maintain the current levels of competitive intensity.397

           B. The Proposed Divestiture Will Not Mitigate a Substantial Lessening of
              Competition in the Remaining Markets

       1. The divestiture package is not a standalone business and lacks assets important to
          competitive viability

113.   C&S is not acquiring a fully functioning company as it stands today398 but rather an

amalgamation of assets designed by antitrust lawyers as a matter of litigation strategy.399 Indeed,

even Defendants’ divestiture expert admits that the acquired assets are not a standalone

business.400 To operate these disparate assets, C&S must obtain the resources and support it

needs at significant expense over several years.401 C&S does not have, and will not receive,

assets sufficient to compete as effectively as the divestiture stores compete today, including:




393
    PX7006 (Hill Rebuttal Rpt.) at ¶¶ 040, 106, Figs. 13, 46; Hill Hrg. 3381:16-3382:5.
394
    PX7006 (Hill Rebuttal Rpt.) ¶ 182.
395
    Israel Hrg. 2687:17-2688:8.
396
    Galante Hrg. 3190:3-6.
397
    Galante Hrg. 3189:14-17; Israel Hrg. 2726:8-15. Accordingly, and in conjunction with the
subsections below, Dr. Hill’s assumption that the divestiture will perform perfectly is highly
conservative.
398
    Winn Hrg. 1178:7-12; compare with Knopf Hrg. 957:2-958:5.
399
    See Order Denying Renewed Mot. to Compel, In the Matter of Kroger and Albertsons, FTC
Docket No. 9428 (June 11, 2024) at 011, https://www.ftc.gov/system/files/ftc_gov/pdf/610942_-
_order_denying_complaint_counsels_mtc_production_of_documents_and_revised_privilege_l.p
df; Winn Hrg. 1169:22-1170:1; Cosset Hrg. 2479:17-22.
400
    Galante Hrg. 3136:9-14; Winn Hrg. 1178:7-12, 1194:21-1195:4; PX 7008 (Fox Rebuttal Rpt.)
¶ 58; Fox Hrg. 1330:3-1331:8.
401
    PX7002 (Fox Rpt.) ¶¶ 25-32. Florenz Hrg. 1134:24-1141:21 (discussing numerous costs
included in C&S deal model that the stores do not bear today).
                                                      51
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         An existing banner in many geographies;402
         A significant assortment of C&S-exclusive private label products;403
         Manufacturing facilities for private label products (other than one dairy plant);404
         The primary distribution centers for 267 divestiture stores;405
         A sophisticated loyalty program to build brand loyalty and target customers with
          personalized promotions;406
         A retail media network, both as a standalone revenue stream and to earn vendor funds to
          offset cost of goods;407
         A substantial dataset with the data analysis and data analytic resources necessary for
          pricing, forecasting demand, and targeting promotions;408 and
         E-commerce assets, including store websites and mobile phone applications.409

114.      The proposed divestiture does not include many of the corporate shared services and

distribution centers currently supporting the included stores410 and contains a mix and match of

assets and stores (from both Defendants with different store formats and product assortments) in

18 states and D.C., 411 under 16 banners, 412 and in multiple divisions.413 C&S projects over a

billion dollars in additional costs, including for dis-synergies, rebannering, IT transition, and

supply chain costs, to rebuild the retail infrastructure the stores are losing (only a small portion




402
    PX7002 (Fox Rpt.) ¶ 63, Fig. 14; Winn Hrg. 1175:21-23, 1188:1-12.
403
    PX7002 (Fox Rpt.) ¶¶ 75-120; Florenz Hrg. 1137:22-1138:6; Winn Hrg. 1175:24-1177:25.
404
    PX7002 (Fox Rpt.) ¶¶ 80-82, 84-88; Winn Hrg. 1175:12-13.
405
    Fox Hrg. 1331:9-24; PX 7002 (Fox Rpt.) ¶ 219, Fig. 35.
406
    PX7002 (Fox Rpt.) ¶¶121-29, 141-50; Winn Hrg. 1178:4-6; Cosset Hrg. 2471:19-2472:13.
407
    PX7002 (Fox Rpt.) ¶¶ 130-31, 151-53; Cosset Hrg. 2241:5-11, 2241:19-2242:13, 2493:1-9;
McGowan Hrg. 1021:22-1023:11.
408
    PX7002 (Fox Rpt.) ¶¶ 167-80; Florenz Hrg. 1084:11-15, 1084:23-1085:12; Cosset Hrg.
2471:19-2472:13.
409
    PX7002 (Fox Rpt.) ¶¶ 159-168, 175, 181-184; Florenz Hrg. 1139:1-3; McGowan Hrg.
1011:7-1012:24; Cosset Hrg. 2472:9-13.
410
    Florenz Hrg. 1136:22-137:15; Winn Hrg. 1175:9-15.
411
    PX7002 (Fox Rpt.) ¶ 45; Winn Hrg. 1172:1-11 (mix and match of Defendants’ stores in
Oregon and Washington).
412
    PX7004 (Hill Rpt.) ¶¶ 221-23.
413
    Winn Hrg. 1171:1-16, 1187:9-22.
                                                       52
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of which will be invested in stores, contrary to Defendants’ assertions).414 Many of these costs—

including                   and lower private label margins—will be higher indefinitely.415

115.   Because of the disparate nature of the assets, the divestiture lacks density in many

geographies (e.g., only one store in Delaware, one store in D.C., two stores in Houston), meaning

C&S may not have scale needed for efficient fixed costs, marketing costs, fresh products,

distribution, and long-term investment.416 As a result, Kroger will have a density advantage in

major CBSAs relative to C&S, including on marketing and distribution efficiencies.417

116.   C&S’s current distribution network is not sufficient to fill in gaps in the divested

distribution network, 418 as C&S will be forced to build additional distribution center capacity at

minimum in Illinois, California, and Alaska at significant cost.419 Even in areas where C&S is

acquiring distribution center capacity, it projects ongoing increased transportation costs

compared to the current distribution networks serving the divested stores today.420

       2. C&S and Kroger will be entangled for up to four years post-divestiture

117.   Pursuant to the Transition Services Agreement (“TSA”), C&S will pay the merged

company                                   to provide the services it needs to operate and to

compete in the retail grocery market, including store operations, distribution, product supply,




414
    Florenz Hrg. 1140:24-1141:6; PX3602 at Assumptions and CF Impacts Tab; Cosset Hrg.
2482:20-2483:5, 2483:25-2484:5.
415
    PX3602 (C&S) at “Assumptions and CF Impacts” tab; McGowan Hrg. 1017:5-1018:25.
416
    Fox Hrg. 1327:19-1328:18; Florenz Hrg. 1101:19-25; Winn Hrg. 1189:16-1190:14; Knopf
Hrg. 962:14-18; 964:16-965:3; DX1058 (C&S) at 026 (showing small number of divestiture
stores in various areas).
417
    Fox Hrg. 1327:16-1328:18; PX7008 (Fox Rebuttal Rpt.) ¶ 38, Figs. 1-7.
418
    PX7002 (Fox Rpt.) ¶¶ 216-218; Fox Hrg. 1331:25-1332:11.
419
    Winn Hrg. 1238:23-1239:6; Florenz Hrg. 1136:4-14, 1140:5-18; PX7002 (Fox Rpt.) ¶¶ 216-
217.
420
    Florenz Hrg. 1136:25-1137:15; PX3602 (C&S) at “Model” tab, line 14 (“Wholesale Cost to
Serve Detriment”).
                                                    53
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marketing, data exchanges, access to loyalty programs, shelf pricing, promotional planning and

pricing, and cost management.421 The effectiveness of Defendants’ proposed divestiture remedy

will depend in substantial part on Kroger’s performance of its contractual obligations—even

though Kroger will be competing with C&S in hundreds of markets—over an extended period.422

118.   Due to the TSA, C&S will not be decoupled from Kroger for at least four years.423

Kroger’s contractual obligations can be enforced only through litigation,424 so C&S will be

vulnerable to Kroger’s underperformance or non-performance. C&S does not intend to fully

compete with Defendants for several years and plans to “run the same program between where

we share markets until banner brands are separated (pricing, promotion, loyalty, and other

customer facing programs).”425 In light of these extensive entanglements, C&S’s CEO testified

that “until we are fully de-coupled, we are not a separate functioning company.”426

       3. The divestiture presents high levels of execution risk

                            i.   C&S lacks the capabilities necessary to operate the divested
                                 stores and is not acquiring those capabilities in the divestiture

119.   C&S is a wholesaler with limited supermarket operating experience. C&S operates only

23 Piggly-Wiggly and Grand Union retail supermarkets as of fiscal year 2023, most of which

C&S acquired in 2021 and 2022.427 Reflecting C&S’s relative inexperience, C&S requested a


421
    PX7002 (Fox Rpt.) ¶ 9, Fig. 3; PX1654B (Kroger) at Schedule 2.1(a); Florenz Hrg. 1139:4-
14; PX3602 at Corporate Overhead Worksheet tab, line 42 (“TSA”); Cossett Hrg. 2485:1-24.
422
    Winn Hrg. 1192:25-1193:2; Fox Hrg. 1293:15-1294:12, 1300:9-1302:16; Knopf Hrg. 965:8-
966:7 (Raley’s would not have done acquisition if seller had remained in market because it
would be “impossible to overcome or very unlikely that we would be successful”).
423
    Winn Hrg. 1194:21-1195:4.
424
    Winn Hrg. 1193:3-8.
425
    DX1058 (C&S) at 045; Florenz Hrg. 1149:6-24; Winn Hrg. 1195:5-1197:1. Under the TSA,
Kroger will be providing base pricing, promotional plans, forecasting data, and advertising
support to C&S for at least a year post-closing. Florenz Hrg. 1147:5-7.
426
    Winn Hrg. 1195:5-1197:1 (quoting PX4030 (Winn (C&S) IH 136:18-137:8)).
427
    PX7002 (Fox Rpt.) ¶ 11; McGowan Hrg. 990:22-991:3, 993:19-21; see also Winn Hrg.
1260:19-1261:1.
                                                   54
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call with Kroger during due diligence “to discuss what it takes to operate a grocery store.”428

Indeed, a wholesaler’s business philosophy is focused on distribution efficiency rather than on

local markets and interacting with customers—and grocery wholesalers have failed in the past at

extending wholesaling success into retail operating success.429

120.   C&S (~$21 billion in revenue) has less scale than Kroger (~$150 billion) or Albertsons

(~$78 billion) today and will have less scale than Kroger post-merger ($42 billion versus $207

billion).430 Defendants will have scale advantages over C&S post-transaction, including lower

cost of goods for private label products.431 Defendants are also significantly more profitable—

C&S’s 2023 EBIDTA is only % of Albertsons’ EBIDTA and % of Kroger’s EBIDTA.432 In

contrast to the—on average—                that each divestiture store generates per year, C&S

only sells approximately                      to its 7,500 independent customer stores (i.e.,

of the average sales of a divestiture store), which account for less than a quarter of C&S’s

wholesale revenues annually.433 The divestiture stores also carry a different assortment than

what C&S provides—for example, C&S largely does not offer fresh private label products.434

121.   Under its current owner, Richard Cohen, C&S has previously tried to grow its retail

operations but failed, including for reasons applicable here, e.g., due to complications integrating

multiple banners, store sizes, and formats; expansion into retail geographies where it has little to




428
    PX1272 (Kroger) at 001.
429
    See Van Helden Hrg. 206:16-207:2; PX7004 (Hill Rpt.) ¶¶ 237-238.
430
    Winn Hrg. 1165:18-20, 1167:14-19; DX2628 (C&S) at 005 and 016.
431
    Winn Hrg. 1168:14-22; PX 7002 (Fox Rpt.) ¶¶ 117-120; McGowan Hrg. 1017:5-8; 1017:20-
1018:14; 1019:2-18; PX4050 (McGowan (C&S) Dep. 131:3-7, 17-20).
432
    Winn Hrg. 1167:20-1168:10; Sankaran Hrg. 1787:17-19; DX2628 (C&S) at 005.
433
    DX1058 (C&S) at 010, 012; Galante Hrg. 3207:19-24.
434
    See McGowan Hrg. 1015:14-23; Fox Hrg. 1315:24-1316:16; compare PX7002 (Fox Rpt.), at
068-070, Figs. 18, 20 with 072, Fig. 22.
                                                     55
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no familiarity; and because those expansion efforts represented a “Big bite.”435

122.   Much of C&S’s history since 2000 is that of “buying and then selling or closing

stores.”436 C&S acquired over 370 retail grocery stores between 2001 and 2012.437 By 2012, it

was operating only three retail stores, having sold or closed the other stores.438 In 2022, C&S

purchased 12 Tops stores divested in the Price Chopper/Tops merger and rebannered those stores

to Grand Union.439 The Grand Union stores have not met C&S’s projections it presented to the

FTC when it sought approval to acquire the stores.440 C&S has been unable to operate these

stores at the level of sales and profitability they had under Tops’ ownership—average weekly

sales fell by 28% in fiscal year 2022 following the acquisition.441 As of March 2024, sales at the

Grand Union stores further declined 13% compared to the prior year.442 Even including

wholesale profits, the Grand Union stores lose about $1 million annually, and excluding

wholesale profits the stores lose approximately $3 million annually.443 The Grand Union stores

will not meet their budget for 2024.444 C&S was thus incorrect when it represented to the FTC in

October 2023 that the stores have “always been profitable when including wholesale

profitability,” given that the stores had never been profitable (even including wholesale

profitability) as of that time.445 Similarly, after promising the FTC that all of its stores would be



435
    Winn Hrg. 1164:16-19; DX2304 (C&S) at 9.
436
    Winn Hrg. 1164:3-5.
437
    PX7002 (Fox Rpt.) ¶¶ 12-18, Figs. 4 and 5; Winn Hrg. 1162:5-1163:14.
438
    Winn Hrg. 1162:2-1163:19; PX7002 (Fox Rpt.) ¶ 18.
439
    McGowan Hrg. 993:19-21, 994:4-9, 994:19-995:5; PX7002 (Fox Rpt.) ¶¶ 22, 62.
440
    McGowan Hrg. 994:10-18; Florenz Hrg. 1107:17-1108:16.
441
    Hill Hrg. 1489:19-1490:8; PX7004 (Hill Rpt.) ¶ 225, Fig. 56.
442
    McGowan Hrg. 1002:4-16; PX3515 (C&S) at 019.
443
    McGowan Hrg. 1002:21-1003:3.
444
    McGowan Hrg. 1002:4-8.
445
    Compare PX3107 (C&S) at 017 with PX3515 (C&S) at 019; McGowan Hrg. 998:1-12,
1000:1-1001:5. C&S cannot currently sell these stores without FTC approval pursuant to an FTC


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operated together after the Price Chopper/Tops divestiture, C&S subsequently sold a store it

owned in Spry, Pennsylvania to Weis Markets “to sweeten the pot and get term [i.e., extend a

wholesale agreement],” while C&S was negotiating a wholesale supply contract with Weis.446

Weis subsequently closed the store.447

123.   Prior to buying the Grand Union stores, a C&S executive correctly predicted that it would

lose money on the retail side but profit on the wholesale side and warned “don’t say that

otherwise the FTC won’t approve it.”448 The poor performance of the divested stores under C&S

is the subject of running jokes by C&S employees in their work-related chat messages.449

124.   C&S has also struggled with the dozen or so stores it acquired as part of its 2021 Piggly

Wiggly Midwest acquisition (even though those stores were acquired as part of a larger franchise

acquisition, and thus did not require a rebannering), with C&S closing a store in 2023 for poor

performance.450 The Piggly Wiggly stores will be short of their 2024 budget expectations.451

125.   Acquiring the divested stores would increase C&S’s owned retail stores by




order. Florenz Hrg. 1133:10-20; Decision & Order, In the Matter of Golub Corporation et al.,
FTC Docket No. C-4753 (Jan. 20, 2022) at 019,
https://www.ftc.gov/system/files/documents/cases/price_chopper_decision_and_order.pdf.
446
    Florenz Hrg. 1102:13-1104:8.
447
    Florenz Hrg. 1104:4-8.
448
    Florenz Hrg. 1106:11-1107:16; PX13034 (C&S) at 002-004.
449
    PX13036 (C&S) at 002 (chat among C&S executives around the time of Grand Union’s
FY2023 results: “Grand Union…..holy smokes . . . yeah buddy . . . its bad . . .if it was your
company, would you get rid of them? . . . I would strongly consider it . . . maybe we can’t due to
[the divestiture]”); PX13038 (C&S) at 002-003 (“I hope it doesn’t point to we ceded a lot of
market share [back to divestiture seller] but I have a feeling it will”); PX13037 (C&S) at 003 (“i
am worried . . . [C&S’s retail] affiliates are absolute garbage” “Yeah GU will not get better as
long as they keep raising [prices] and then have nothing to make the stores unique.”).
450
    Winn Hrg. 1200:5-10, 1225:8-21; PX3107 (C&S) at 009.
451
    McGowan Hrg. 992:22-25; see also PX3517 (C&S) at 003 (As of November 2023, “All retail
location                            ” on net sales, with                   seeing sales declines
versus FY2023; “All stores below budgeted EBITDA. 7 stores with negative EBITDA.”).
                                                   57
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approximately 2,500%,452 in states where C&S does not currently have retail stores.453 C&S’s

retail stores today are smaller and offer fewer services than the divestiture stores.454 C&S’s retail

services (representing less than 0.5% of its revenue) are provided to small independents with

fewer needs than those stores in the divestiture package and C&S also franchises stores—

however, providing retail and franchise services is fundamentally different than owning and

operating stores, as they do not involve operating stores or interacting with customers.455

126.   Plaintiffs’ expert in retail operations and consumer shopping behavior, Dr. Edward Fox,

identified challenges C&S will need to overcome to compete effectively.456 Dr. Fox testified

C&S will face numerous substantial challenges in attracting and retaining customers to the

divestiture stores, including rebannering execution risks (including the need to use banners with

limited consumer awareness), disadvantages in competing with retained Kroger-Albertsons

stores, lack of private label programs comparable in scale or scope to those the divested stores

offer today, and challenges in developing new marketing capabilities not conveyed in the

divestiture, including a loyalty program and retail media network.457

127.   Rebannering. Banners with strong brand equity and popular private label brands are

keys to a successful retail grocery operation.458 Consumer familiarity is a key component of

brand equity and it is challenging to introduce new retail banners.459 C&S previously failed to

successfully operate stores after rebannering them to a new banner called Southern Family




452
    Compare Winn Hrg. 1173:24-25 with id. 1232:20-22.
453
    Winn Hrg. 1170:18-25.
454
    Winn Hrg. 1174:15-21.
455
    Winn Hrg. 1212:11-23, 1260:19-1261:2, 1261:14-1262:6, 1263:19-21; Fox Hrg. 1325:7-20.
456
    See generally PX7002 (Fox Rpt.) ¶¶ 25-32.
457
    Fox Hrg. 1289:5-1290:1, 1293:15-1294:12, 1307:22-1308:8, 1321:23-1322:24.
458
    PX7002 (Fox Rpt.) ¶¶ 26, 34, 38, 40, 75-76, 79; Knopf Hrg. 960:25-962:13; 962:22-963:7.
459
    McGowan Hrg. 1027:20-1028:10; PX7002 (Fox Rpt.) ¶¶ 58-66; Knopf Hrg. 960:25-961:18.
                                                     58
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Markets in 2005, and by November 2006, only 56 Southern Family Markets locations remained

out of the 105 stores C&S had acquired, “after waves of closures and store sales.”460 C&S

rebannering Tops stores to Grand Union in 2022 also contributed to sales declines.461 Other

supermarkets have also experienced significant challenges rebannering stores.462

128.   There is no precedent for the rebannering C&S will be forced to undertake.463 The stores

in the divestiture package use 16 different banners,464 but almost half will have to be rebannered

to one of six acquired or licensed banners, most of which are weak or unknown in the regions

where C&S plans to use them.465 For example, C&S is acquiring the rights to the QFC banner in

Oregon, where there are currently only four QFCs.466 C&S and its advisors have concluded that

QFC is a “             ” and one of Kroger’s “worst chains” and have identified challenges to

utilizing the banner in geographies where it does not have market awareness.467 By contrast,

Kroger will use the Fred Meyer, Safeway, and Albertsons banners in Oregon.468

129.   C&S is acquiring 129 stores that will have to change to banners that currently have no

presence in the area where the divested store is located.469 Even in states where it is getting

rights to use a banner with some existing presence, C&S’s advisors have warned that it is getting




460
    PX7002 (Fox Rpt.) ¶¶ 15-16; Winn Hrg. 1162:16-1163:4.
461
    Winn Hrg. 1175:1-6.
462
    See, e.g., Van Helden Hrg. 201:25-202:21, 203:8-204:11; PX7002 (Fox Rpt.) ¶¶ 58-66.
463
    Florenz Hrg. 1092:9-12.
464
    PX7004 (Hill Rpt.) ¶ 221.
465
    Fox Hrg. 1296:11-23; PX7002 (Fox Rpt.) ¶ 63, Fig. 14; Florenz Hrg. 1097:9-1098:5,
1098:25-1099:17, 1100:1-1101:18; PX3699.
466
    McGowan Hrg. 1032:19-1033:3.
467
    PX3406 (C&S) at 008; PX3699 (C&S) at 002; Florenz Hrg. 1096:18-1099:12 (C&S real
estate consultant Consolidated Affiliates advised against acquiring QFC and Mariano’s stores,
which are included in the divestiture); Fox Hrg. at 1297:2-19; PX7002 (Fox Rpt.) ¶ 63 n.177.
468
    McGowan Hrg. 1032:19-1033:3.
469
    Fox Hrg. 1296:11-23; PX7002 (Fox Rpt.) ¶ 63, Fig. 14.
                                                     59
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a “relatively weak” banner, including the                                   .470 C&S previously

wrote to the California Attorney General’s office that rebannering “can result in permanent sales

declines at the re-bannered store” and that receiving “exclusive rights on a nationwide basis to

certain banners owned by Albertsons, including Safeway, Carrs, Vons, Tom Thumb, and Jewel-

Osco” “would substantially reduce execution risk for C&S in running the divested stores.”471

C&S is only receiving one of those banners—Carrs (currently used only in Alaska)—on a

nationwide basis.472 As such, C&S’s CEO testified that rebannering stores is an execution risk

and that acquiring additional banners would have reduced execution risk.473 Moreover, it is

difficult to effectively operate—let alone rebanner to a new banner—stores when Kroger will

remain in the same markets.474 Rebannered stores will see a significant drop in sales—C&S

projects an annual       million sales decrease and        million EBIDTA decrease.475

130.    C&S also faces risk of customer irritation prior to the rebannering—a customer might

receive different advertisements and different prices for the same banner in the same geographic

area from Kroger and C&S, which could cause customer irritation if the C&S store does not have

the same promotional products, selection, or pricing as the Kroger-owned store.476

131.    Private labels. Supermarkets typically offer private label products that contribute to their

competitiveness.477 Private label products emulate the key characteristics of the equivalent




470
    PX3406 (C&S) at 008.
471
    PX3068 (C&S) at 002-003; Winn Hrg. 1181:1-12.
472
    Fox Hrg. 1294:13-24; Winn Hrg. 1181:1-12.
473
    Winn Hrg. 1178:13-1179:11.
474
    Knopf Hrg. 965:8-966:2; Fox Hrg. 1293:15-1294:12, 1300:9-1302:16.
475
    DX1058 (C&S) at 051; Florenz Hrg. 1092:13-1094:11; PX3602 at tab “Total Detail Working
Tab,” columns BS-BU; PX3636 (Bain) at tab “Survey response summary”. These figures
account for C&S’s “endorsement” rebannering strategy.
476
    Florenz Hrg. 1147:11-25; Fox Hrg. 1297:23-1300:12; PX7002 (Fox Rpt.) ¶¶ 67-70.
477
    Van Helden Hrg. 167:5-168:1; Kammeyer Hrg. 478:6-479:4.
                                                      60
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national brand but are offered to customers at a lower price.478 Often, the private label product

will carry the retailer’s trade name or another exclusive name, and thus can help differentiate the

banner and drive customer loyalty, because a store’s private label products are—in many

instances—not available at other retailers.479 Private label products are also typically more

profitable to the supermarket than the sale of the equivalent national brand,480 and they form a

substantial portion—often 25-30%—of supermarkets’ sales.481

132.    Defendants’ banners derive brand equity from their respective private label offerings,

including national brand equivalents, value-priced brands, and specialty brands with a focus on

natural and organic foods.482 Even though C&S wanted to buy Albertsons’ national brand

equivalent private label brands Signature and O Organic to “substantially reduce execution

risk,”483 the divestiture package includes just five niche brands (Open Nature, Waterfront Bistro,

Debi Lilly Design, Ready Meals, and Primo Taglio) that together account for only 15% of

Albertsons’ private label revenues.484 C&S’s CEO testified that not receiving a full portfolio of

private brands from Defendants is an execution risk.485 C&S is only receiving a temporary

supply arrangement for Signature and O-Organics, which comprise           of Albertsons’ private

label sales.486 After two years, C&S will have to pay a markup for these products and the TSA

for these products expires after four years total.487 C&S is not acquiring ownership of any



478
    Van Helden Hrg. 167:5-168:1; Fox Hrg. 1305:15-1307:21.
479
    Kammeyer Hrg. 478:6-11; Van Helden Hrg. 167:5-168:1; Fox Hrg. 1305:15-1306:10.
480
    Kammeyer Hrg. 478:12-21; Fox Hrg. 1308:13-22; Van Helden Hrg. 181:3-182:2.
481
    Van Helden Hrg. 168:5-8; Fox Hrg. 1306:11-1307:11.
482
    Fox Hrg. 1305:15-1307:11; PX7002 (Fox Rpt.) ¶¶ 78, 83, Figs. 17-18, 85, Fig. 20, 100-01.
483
    PX3068 (C&S) at 002-003; Winn Hrg. 1188:13-21.
484
    PX7002 (Fox Rpt.) Fig. 23; Winn Hrg. 1182:20-1183:4; McGowan Hrg. 1017:1-4; Fox Hrg.
1313:2-7; PX7002 (Fox Rpt.) ¶¶ 89-90, Fig. 23; Galante Hrg. 3198:3-8.
485
    Winn Hrg. 1185:16-19.
486
    PX7002 (Fox Rpt.) ¶ 90, Fig. 23; Winn Hrg. 1188:13-21, 1194:6-13.
487
    Winn Hrg. 1194:6-13.
                                                    61
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private label brands used at the Kroger stores and will have to replace all the private label

products at the 94 Kroger divested stores.488 In some stores, C&S may need to use three

different sets of private labels within the first few years (e.g., Kroger private labels, Albertsons

Signature and O-Organics private labels, and then C&S’s own private labels).489

133.      C&S’s own private label line is limited, has few fresh items,490 and, even after years of

significant investment will still not match that of either Defendant today.491 C&S may need to

utilize

                                                 .492 C&S today has access to 3,000 non-exclusive

private label SKUs and C&S plans to add 2,000-3,000 non-exclusive private label SKUs after

acquiring the divested stores, far fewer than the approximately 12,600 SKUs and 14,000 SKUs

Kroger and Albertsons offer, respectively.493 C&S faces challenges finding the right supplier for

private label products and creating customer adoption for new private label products is

challenging.494 Due to projected higher costs of goods for private label products, C&S models

that it will have lower margins on private label products, totaling      million annually by year 4,

       of the total expected annual retail EBITDA.495 C&S also likely faces higher private label

costs due to a lack of manufacturing assets (unlike Albertsons and Kroger today, which self-

manufacture products for the divestiture stores) and inability to make “make versus buy”



488
    McGowan Hrg. 1016:6-13; Florenz Hrg. 1156:20-21, 1083:1-20; Fox Hrg. 1310:3-20.
489
    Florenz Hrg. 1082:15-1083:20.
490
    Fox Hrg. 1316:6-16; PX7002 (Fox Rpt.) ¶ 87, Fig. 22; PX7008 (Fox Rebuttal Rpt.) ¶ 54.
491
    Florenz Hrg. 1139:15-21; Winn Hrg. 1183:12-1184:25, 1190:1-14; DX1058 (C&S) at 049
(“To develop a private label program and assortment that will match Sellers’ program is going to
be a resource-intensive multi-year journey.”) (emphasis in original).
492
    DX1058 (C&S) at 049.
493
    DX1058 (C&S) at 007; Winn Hrg. 1185:1-4; PX6154 (Kroger) at 005, PX6153 (Albertsons)
at 009; McGowan Hrg. 1014:13-20, 1064:10–1065:9; PX7002 (Fox Rpt.) ¶¶ 83-94.
494
    Winn Hrg. 1185:13-15; Van Helden Hrg. 182:3-184:14.
495
    PX4050 (McGowan (C&S) Dep. 131:3-7, 17-20).
                                                      62
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decisions.496 C&S’s deal model, which assumes no decline in private label sales at the divested

stores,497 is contradicted both by its own consultant’s analysis, which indicates customers would

decrease shopping at stores if private label brands changed,498 as well as Stater Bros.’ experience

where sales dropped 15% in the first year it introduced a new private label.499

134.    IT stack. The information technology (“IT”) stack C&S is obtaining does not yet exist

and it will exclude models and algorithms relating to pricing, customer loyalty, and marketing

(as well as inventory management and forecasting).500 Currently the stores operate on four

different tech stacks and C&S will have to adapt the Kroger, Harris Teeter, and Albertsons

United stores it is acquiring to Albertsons’ IT stack and all the Albertsons stores it is acquiring to

the Kroger human capital management system.501 C&S is receiving a license to critical

Albertsons intellectual property that is currently used in the tech stack but will have to replace

the intellectual property within five years.502 C&S will incur substantial IT costs—including

transition costs—totaling approximately over          million.503

135.    Loyalty programs. Loyalty programs create more incentive for customers to come back

to supermarkets.504 But C&S is not getting any rights to Defendants’ current loyalty programs




496
    PX7002 (Fox Rpt.) ¶¶ 117-120; PX 7008 (Fox Rebuttal Rpt.) ¶ 48; Fox Hrg. 1310:21-1312:6.
497
    Florenz Hrg. 1146:15-21.
498
    PX3636, tab “Survey response summary”; Fox Hrg. 1316:24-1317:18; PX 7008 (Fox
Rebuttal Rpt.) ¶ 51; Florenz Hrg. 1145:15-1146:8.
499
    Van Helden Hrg. 187:24-188:12; PX7002 (Fox Rpt.) ¶ 116
500
    Cosset Hrg. 2442:17-2443:10; Florenz Hrg. 1082:2-10, 1084:23-1085:12; McGowan Hrg.
1009:5-7 (pricing algorithms); Fox Hrg. 1326:5-19; PX7002 (Fox Rpt.) ¶¶ 170-175, Fig. 25;
Cosset Hrg. 2471:19-2572:13 (loyalty, e-commerce).
501
    Florenz Hrg. 1156:20-1157:8; Cosset Hrg. 2500:9-13; PX7002 (Fox Rpt.) ¶ 176.
502
    Florenz Hrg. 1084:16-22, 1085:23-1086:3.
503
    PX3602 at Assumptions and CF Impacts tab at line 18; Florenz Hrg. 1138:16-1139:3,
1156:22-1157:8; PX3489 at IS Detailed Summary tab.
504
    Sankaran Hrg. 1750:20-23; Cosset Hrg. 2232:21-2233:24.
                                                     63
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for the stores and is only getting raw data for the customers that shopped in the stores.505 C&S is

not using its current loyalty programs and instead will have to build a new loyalty program.506

After one year under the TSA, customers at the divested stores will no longer be able to use their

current loyalty program with the divested stores, potentially causing customer confusion.507

C&S currently has small, limited, loyalty programs at the Piggly Wiggly and Grand Union stores

it owns.508 In contrast, Albertsons for U loyalty program has over 41 million members,509 and

Kroger provides the 60 million families in its loyalty program with over 2 trillion personalized

recommendations each year.510 Kroger also has the right to use historical customer data from

customers that shopped at both divested and retained stores and will be able to target geographies

where it will compete with C&S with advertising or promotional offers.511

136.    Retail media. C&S will also have to create a retail media network after the divestiture

because it is not receiving either Defendants’ retail media network.512 Retail media networks are

important sources of income for supermarkets and suppliers expect supermarkets to offer

them.513 Suppliers have made retail media an important part of vendor funding to supermarkets,

which in turn affects supermarkets’ cost of goods.514 In 2023, Kroger’s alternative profit

business delivered $1.3 billion in operating profit—roughly       more than C&S’s entire annual



505
    McGowan Hrg. 1020:24-1021:3; Florenz Hrg. 1083:21-1084:7; PX7002 (Fox Rpt.) ¶¶ 141-
143; Fox Hrg. 1323:17-19.
506
    McGowan Hrg. 1065:10-22.
507
    McGowan Hrg. 1021:6-9; Fox Hrg. 1297:23-1298:15, 1299:13-1300:8; PX7002 (Fox Rpt.) ¶¶
68-69, 141.
508
    McGowan Hrg. 1021:13-21; Fox Hrg. 1324:16-1325:1.
509
    Sankaran Hrg. 1750:14-19.
510
    Cosset Hrg. 2233:11-24
511
    Galante Hrg. 3192:20-23; Fox Hrg. 1300:24-1301:11.
512
    McGowan Hrg. 1022:18-1023:11; PX7002 (Fox Rpt.) ¶¶ 141, 151-153; Fox Hrg. 1323:20-
1324:12.
513
    Fox Hrg. 1320:20-1321:22; McGowan Hrg. 1023:2-4.
514
    Fox Hrg. 1320:20-1322:24; Aitken Hrg. 1829:8-12.
                                                    64
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EBIDTA—and Kroger’s retail media alone generated             million in 2022.515 By contrast, C&S

only expects to earn                          and expects it to take three years to build mature

retail media capability.516 C&S’s lack of retail media capabilities threatens its vendor funding

and is another indicator of its subpar capabilities—compared to Kroger—post-divestiture.517

137.    E-commerce. E-commerce programs are also an important part of supermarkets’

competitiveness.518 But C&S is not acquiring any e-commerce assets or programs in the

divestiture.519 C&S has struggled with these assets—Grand Union’s e-commerce volumes fell

by roughly       during C&S’s first two years of ownership, with weekly volumes of just

                                                                                    .520

138.    Pharmacy and fuel services. C&S would also receive 147 fuel centers and 492

pharmacies in the divestiture.521 C&S operates only one pharmacy today and has one full-time

corporate retail pharmacy employee.522 C&S operates no fuel centers today.523 Pharmacy and

fuel services combined generate approximately         of the revenue of the divested stores

today.524 Pharmacy and fuel services are valuable because they can be used to cross-promote

grocery offerings in supermarket loyalty programs, and because pharmacy customers spend more

in stores than non-pharmacy customers and are more loyal.525 But pharmacy is a very difficult



515
    Cosset Hrg. 2474:15-18; 2493:10-16; PX11188 (Kroger); DX2628 (C&S) at 005.
516
    PX4050 (McGowan (C&S) Dep. at 103:10-16); McGowan Hrg. 1023:16-19; Fox Hrg.
1324:16-1325:6.
517
    Fox Hrg. 1326:21-1327:11; Galante Hrg. 3196:21-3197:8.
518
    Sankaran Hrg. 1751:6-9. Cosset Hrg. 2253:15-23.
519
    McGowan Hrg. 1012:7-24.
520
    McGowan Hrg. 1012:25–1013:4, 1013:22–1014:3; PX4050 (McGowan (C&S) Dep. at
51:23–52:4).
521
    PX7002 (Fox Rpt.) ¶ 195.
522
    McGowan Hrg. 1019:20-1020:11
523
    McGowan Hrg. 1020:12-18
524
    PX7008 (Fox Rebuttal Rpt.) ¶ ¶ 23-24.
525
    Fox Hrg. 1319:22-1320:3; Morris Hrg. 1988:2-7.
                                                    65
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business to be profitable in.526

139.    Sword/Shield. Although there is significant evidence of the execution risks associated

with C&S’s acquisition of the divestiture package, Defendants and C&S have blocked full

discovery into those risks by claiming privilege over documents and testimony regarding the

divestiture negotiations. Defendants and C&S instructed 16 witnesses—including key

negotiators and 30(b)(6) designees—not to answer questions in depositions regarding divestiture

negotiations.527 At the hearing, Defendants asserted privilege over similar questions.528

                             ii.   C&S projects sales will decline, even though its deal model
                                   fails to account for many risks associated with the divestiture

140.    C&S’s own deal model—“management’s best estimate” of what will occur529—shows it

expects substantial loss in revenues and increases in expenditures as compared to the pre-

acquisition performance of the divested stores.530 Defendants’ expert Mr. Galante acknowledged

the deal model identifies “large risks” and projects both “significant declines in sales” and

”margin erosion.”531 C&S’s primary consultant, Bain, did not design or verify C&S’s deal

model.532 Mr. Galante claims to have analyzed the deal model but admitted he “would never

second guess management’s decisions and judgment.”533 C&S’s deal model is still overly

optimistic and fails to account for substantial risks C&S will face in operating the divestiture


526
    Sankaran Hrg. 1750:9-13.
527
    Sword/Shield Motion at 1.
528
    Winn Hrg. 1179:12-25, 1185:20-25; Cossett Hrg. 2479:23-2480:3.
529
    Galante Hrg. 3202:4-8.
530
    PX3602 (C&S) at tab “Assumptions and CF Impacts”; Florenz Hrg. 1108:20-1109:5; 1112:7-
9, 1113:9-11, 1116:8-11 (predicting below-market sales growth for most stores for four years
after the divestiture); 1113:18-1114:2 (confirming deal model projects loss of sales volume in
some regions); 1116:16-22 (C&S projects 4-wall retail EBITDA to decline over the first three
years post-divestiture); 1118:17-20 (C&S projects 4-wall retail EBITDA not to return to pre-
divestiture levels until year 11 post-divestiture).
531
    Galante Hrg. 3185:23-3186:6, 3191:25-3192:5.
532
    Galante Hrg. 3205:3-6.
533
    Galante Hrg. 3218:7-12.
                                                     66
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assets,534 including risks of:

          Additional sales losses from introducing a new banner into a geography;535
          Sales losses due to “worst case” rebannering scenarios calculated by Bain;536
          Sales losses due to needing to rebanner stores twice where C&S plans to utilize the
           “endorsement” or “variant” concept against the advice of consultants;537
          Sales losses from losing access to 100% of Kroger private label brands and brands
           comprising 85% of Albertsons private label sales;538
          Erosion of vendor funding levels;539
          Erosion of pharmacy and fuel services sales due to C&S’s inexperience;540 and
          Sales losses from need to establish new e-commerce platforms and loyalty programs. 541

                               iii.   C&S will struggle to acquire the necessary talent

141.       C&S plans to staff both the transferred stores and its new retail corporate operations with

67,000 employees transferred from Kroger and Albertsons,542 but it is unlikely to be fully staffed

on the closing date. No union has consented to C&S assuming any of the over 100 collective

bargaining agreements covering union workers affected by the divestiture and no union currently




534
    See, e.g., PX7002 (Fox Rpt.) ¶¶ 27-32; PX7011 (Yeater Rebuttal Rpt.) ¶ 151-152; PX7008
(Fox Rebuttal Rpt.) ¶¶ 22-25. Florenz Hrg. 1114:3-17; 1115:4-8, 1142:4-1146:21.
535
    Florenz Hrg. 1144:18-1145:14; PX7002 (Fox Rpt.) ¶¶ 63, 66, Fig. 14; PX7008 (Fox Rebuttal
Rpt.) ¶ 35
536
    PX7011 (Yeater Rebuttal Rpt.) ¶169, Fig. 12 (noting Bain’s worst-case scenarios leads to
divestiture stores having negative 4-wall EBITDA by year 4); Florenz Hrg. 1144:8-13; PX7002
(Fox Rpt.) ¶ 29.
537
    PX7008 (Fox Rebuttal Rpt.) ¶ 32; Galante Hrg. 3204:14-17 (acknowledging Bain advised
against using endorsement concept).
538
    Florenz Hrg. 1146:15-21; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 162-164 (noting Bain’s
calculations of private label sales impacts would imply a private label “detriment” of     );
PX7008 (Fox Rebuttal Rpt.) ¶¶ 48-51, 53-57.
539
    Galante Hrg. 3196:21-3197:8 (acknowledging Bain identified risk relating to vendor funding);
McGowan Hrg. 1025:16-19; PX7011 (Yeater Rebuttal Rpt.) ¶¶151-152; PX7008 (Fox Rebuttal
Rpt.) ¶ 25.
540
    Florenz Hrg. 1111:6-11; McGowan Hrg. 1019:20-1020:18; PX7011 (Yeater Rebuttal Rpt.)
¶¶151-152; PX7008 (Fox Rebuttal Rpt.) ¶¶ 23-24.
541
    Florenz Hrg. 1142:8-16; PX7008 (Fox Rebuttal Rpt.) ¶¶44-46.
542
    Winn Hrg. 1244:3-7.
                                                       67
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supports the acquisition or divestiture.543

142.    The loss of skilled workers will be heightened in Southern California, where CBAs

include “bumping” rights that permit a more senior employee of a divested store to transfer to a

retained Kroger store, claiming the position of a less senior employee of a retained store.544

Bumping provisions could be a risk to C&S acquiring enough talent to succeed.545

143.    Unions have informed C&S they may advise their members to exercise bumping rights to

not go work for C&S, and in some cases have already recommended that members exercise their

bumping rights (and expects those members to exercise those rights) to transfer to a retained

Kroger store.546 The union membership in Southern California has “a very strong memory of

what happened in” the Haggen divestiture and has done research on C&S, concluding “[i]t’s hard

to imagine how they will be able to successfully compete” or “survive.”547

144.    At the corporate level, only certain employees—not a full management team—will be

made available for employment with C&S,548 and Kroger has to approve any C&S request for

subject matter experts and district resource employees.549 Albertsons’ corporate and national

teams currently increase Albertsons’ competitiveness and include 4,000 to 5,000 employees, but

C&S only plans to hire       corporate employees.550

                             iv.   C&S is purchasing stores to benefit its wholesale business
                                   consistent with C&S’s prior retail history and there is a risk of


543
    Winn Hrg. 1265:21-23; Clay Hrg. 718:4-6; 721:8-10.
544
    See, e.g., PX2252 (Albertsons) at 067; Zinder Hrg. 766:22-767:24.
545
    McGowan Hrg. 1026:7-1027:19; Zinder Hrg. 770:14-21 (“C&S would not have any of the
experienced grocery workers if all the senior employees exercised their bumping rights.”).
546
    McGowan Hrg. 1027:7-19; Zinder Hrg. 769:1- 25.
547
    Zinder Hrg. 769:1-25, 771:10-772:13 (“We have done research on C&S and their lack of
actual retail experience and also their lack of pharmacy experience. . . And C&S just don’t have
that experience. They have one pharmacy . . .”)
548
    Winn Hrg. 1175:16-20.
549
    PX1654A (Kroger) at 111-112.
550
    Sankaran Hrg. 1749:22-1750:5; DX3019 (Kroger) at 001.
                                                     68
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                                   store closures and sales

145.    In 2021, a C&S quarterly report read, “We do not intend to grow our grocery retailing

operations or to operate the retail grocery stores in the long term. We expect to divest our retail

grocery stores as opportunities arise.”551 After agreeing to buy divestiture stores in 2023, C&S’s

annual report stated that “[f]rom time to time, we may acquire retail store locations in connection

with strategic transactions to maintain or expand our grocery wholesaling and distribution

business.”552 Consistent with these statements, C&S has evaluated the divestiture for its

wholesaling benefits.553

146.    C&S’s internal correspondence also indicate a lack of commitment to operating all of the

stores it is acquiring long-term. In response to a consultant suggesting the potential of C&S

selling divestiture stores to wholesale customers, Ms. Florenz responded: “Yes just careful with

FTC . . . we want to say we can run them.”554 A current C&S board member and C&S’s then-

CEO, in a call with C&S’s current CEO Mr. Winn, also asked: “Do we have to say that we won’t

close stores? (the ‘all’ is a problem) – the trick is that they stay open as they transition but then

what? Are we committed to this?”555 Mr. Winn circulated wholesale customer talking points

before the initial divestiture agreement was announced previewing a future willingness to sell

stores: “If asked if we would sell . . . at this point that isn’t something we can discuss, but we

have always viewed you as a potential partner in that regard and we definitely want to support

your growth” and “[w]e are committed to being a much larger wholesaler than retailer so we are

focused on excellence in being a wholesaler and growing our wholesale business.”556


551
    PX3077 (C&S) at 036-037.
552
    PX3948 (C&S) at 011; Winn Hrg. 1268:2-12.
553
    McGowan Hrg. 1049:3-19; Florenz Hrg. 1122:13-1123:12.
554
    PX3348 (C&S) at 002; Florenz Hrg. 1120:14-1122:11.
555
    PX3115 (C&S) at 001; Winn Hrg. 1200:11-1202:2.
556
    PX3111 (C&S) at 001; Winn Hrg. 1197:24-1199:12.
                                                      69
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147.    Defendants’ and C&S’s purported commitment not to close stores or layoff frontline staff

as a result of the merger is not binding on C&S, and C&S is free to close or sell stores following

the divestiture, including for poor performance.557 40 stores in the divestiture package are

currently unprofitable,558 and C&S predicts sales will decline across the entire divestiture

package in the first year.559 C&S’s deal model assumptions would result in an additional

stores having negative 4-wall EBITDA by Year 4.560 Applying Bain’s worst-case rebannering

scenarios to the divested stores would result in   stores having negative 4-wall EBITDA by the

time rebannering is complete.561 Finally, further adjusting C&S’s assumptions regarding fixed

and variable costs would lead to     stores having a negative 4-wall EBITDA by the time

rebannering is complete.562 In Alaska, C&S is receiving union stores that “have a $7 to $9 per

hour [labor cost] disadvantage” to Defendants’ retained non-union stores and an underfunded

$80 million pension liability, leading UFCW Local Union 555 president Dan Clay to testify “I

don’t know how [C&S] could compete in that environment,” meaning those stores are at risk.563

                             v.    The divestiture purchase price is low

148.    C&S admits the divestiture purchase price is low compared to the revenues and profit

Kroger and Albertsons currently earn from these assets, as well as the value of the real estate

included.564 SoftBank, which will invest in C&S, and Kroger, separately modeled that the




557
    Winn Hrg. 1199:15-1200:10; Florenz Hrg. 1119:23-1120:10.
558
    DX2738 (Galante Rpt.) ¶ 80, Fig. 11; Galante Hrg. 3209:24-3210:1.
559
    Florenz Hrg. 1111:12-20.
560
    PX7011 (Yeater Rebuttal Rpt.) ¶¶ 160-161, Fig. 10.
561
    PX7011 (Yeater Rebuttal Rpt.) ¶ 169, Fig. 12.
562
    PX7011 (Yeater Rebuttal Rpt.) ¶¶ 170-176, Fig. 14.
563
    Clay Hrg. 723:22-726:10.
564
    DX2628 (C&S) at 017; Winn Hrg. 1258:13-21; see also PX4101 (Davison (SoftBank) Dep.
50:10-51:3); Florenz Hrg. 1119:16-20 (store real estate worth $1.9 billion).
                                                    70
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acquisition would still be profitable even if C&S lost significant sales at the divestiture stores.565

Mr. Galante opines that the divestiture is attractive for C&S, even if it generates less revenues

and requires more expenditures than projected, because it will generate free cash flow and will

help C&S expand its wholesale distribution network and product offerings.566 The financial

projections show that C&S will be able to recoup its investment and generate wholesaling

profits, regardless of whether all its purchased stores compete successfully with Defendants.567

                             vi.   Supermarket divestitures are inherently risky

149.    In addition to the failed Price Chopper/Tops divestiture to C&S, other supermarket

divestiture remedies have likewise failed to maintain competition, demonstrating the risk

inherent in such transactions.568 In the Albertsons/Safeway divestitures in 2015, 168

supermarkets were divested to four buyers, but most of those stores were closed, sold, or

reacquired by Albertsons within just a few years.569 Haggen failed in its attempt to expand from

a regional operator of supermarkets to a multi-regional operation through acquisition of 146

divested stores.570 Three wholesalers also acquired supermarkets—Associated Wholesale

Grocers (AWG), SuperValu, and Associated Food Stores—but many of those stores likewise




565
    PX3776 (SoftBank) at 018; PX4101 (Davison (SoftBank) Dep. 61:13-62:2); PX4029
(Millerchip (Kroger) IH 64:21-67:19, 69:11-24) (“. . . based on the business that those stores
represent today and taking some sensitivity around what if sales were significantly lower, what if
margins were significantly compressed . . we got very comfortable in our mind that they would –
there was significant margin for error. . .”).
566
    DX2738 (Galante Rpt.) ¶¶ 42-43, 60, 174-175, Figs. 4, 28.
567
    See PX3776 (SoftBank) at 018; PX4101 (Davison (SoftBank) Dep. 61:18-62:2); Florenz Hrg.
1122:13-1123:12; PX3602 at tab “Model”.
568
    Hill Hrg. 1486:19-1491:11; PX7004 (Hill Rpt.) ¶¶ 224-240, Figs. 56-57; PX7006 (Hill
Rebuttal Rpt.) ¶¶ 146-150, Fig. 29.
569
    PX7004 (Hill Rpt.) ¶¶ 231-240, Fig. 57; Hill Hrg. 1486:19-1489:2.
570
    PX7004 (Hill Rpt.) ¶¶ 235-236; Van Helden Hrg. 208:5-13; Zinder Hrg. 765:4-24, 766:19-
768:25.
                                                      71
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experienced high failure rates.571 AWG partnered with a regional retailer (Minyards) to acquire

and operate a dozen divested Albertsons/Safeway stores in Texas, but those stores struggled to

retain sales upon rebannering and faced significant competition from the retained

Albertsons/Safeway stores.572 The AWG/Minyard stores failed within a few years, with several

being reacquired by Albertsons.573 In total, 95 of the 168 stores were either closed or reacquired

by Albertsons.574 The closure rate of divested stores was significantly higher (by a factor of 7-

8x) than the closure rate of retained stores over the same period.575

150.    The Ahold/Delhaize merger in 2016 resulted in 81 supermarkets divested to seven

buyers, but the divested stores again experienced a high closure rate (24 stores, or 30% of the

total) after a few years.576 Among the failed divestiture buyers was another wholesaler that

“experienced a steep decline in sales” at the 18 supermarkets it acquired, which were closed (or

sold back to Ahold) within a few years.577 The closure rate of the stores was again significantly

higher (by a factor of 5-6x) than the failure rate of retained stores over the same period.578

151.    The Albertsons/American Stores merger in 1999 resulted in failed divestitures, including

the failed divestiture of 27 supermarkets in Nevada and Arizona to Raley’s.579 Raley’s struggled

after rebannering, especially since the seller had remained in the market as a competitor with




571
    PX7004 (Hill Rpt.) ¶¶ 232, 237-240, Fig. 57.
572
    PX7004 (Hill Rpt.) ¶¶ 237-238.
573
    PX7004 (Hill Rpt.) ¶ 238.
574
    PX7004 (Hill Rpt.) ¶ 239-240, Fig. 57.
575
    PX7004 (Hill Rpt.) at Fig. 57; Hill Hrg. 1486:19-1489:2.
576
    PX7006 (Hill Rebuttal Rpt.) ¶¶ 148-150, Fig. 28-29; Hill Hrg. 1489:3-11.
577
    Application for Approval, In the Matter of Koninklijke Ahold N.V. and Delhaize Group,
NV/SA, FTC Dkt. No. C-4588, at 005,
https://www.ftc.gov/system/files/documents/cases/c4588_ahold_delhaize_application_filed_by_s
upervalu_to_sell_supervalu_assets_to_giant_public.pdf.
578
    PX7006 (Hill Rebuttal Rep.) ¶¶ 149-150, Fig. 29; Hill Hrg. 1489:3-11.
579
    Knopf Hrg. 959:13-960:24.
                                                     72
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retained assets and brand names.580 Within a few years, Raley’s sold the New Mexico stores

back to Albertsons, and sold the Nevada stores to Kroger.581

                           vii.   An imperfect divestiture increases likely consumer harm

152.    Dr. Hill, who concluded that a perfect divestiture would not remedy the acquisition’s

anticompetitive effects, found that an imperfect divestiture considerably compounds the amount

of likely consumer harm. For instance, a 30% sales decline at divested stores—roughly the size

of the drop-off C&S experienced at the divested stores it acquired and then rebannered in the

Tops/Price Chopper merger—results in 1,276 presumptively illegal supermarket markets with

$53 billion in annual sales at the focal stores.582 Closure of 30% of the divested stores—akin to

the experience of stores divested in the Ahold/Delhaize merger—yields 1,410 presumptively

illegal supermarket markets with $56 billion in annual focal store sales.583

        4. The divestiture fails to mitigate a substantial lessening of competition for union
           grocery labor markets

153.    C&S will be too small for unions to credibly leverage against a combined Kroger and

Albertsons. See § IV.C, supra. C&S would be a “minor” union grocery employer post-

divestiture that would not constrain the much larger Kroger.584 Unions benefit today from

negotiating against two large employers with a similar size, scope, and regional density (Kroger

and Albertsons).585 Unions can play off competing employers to obtain concessions only where


580
    Knopf Hrg. 959:13-963:16. Mr. Knopf testified that Raley’s acquired Bashas stores in 2021
only because it was an acquisition of the entire business organization and company (including all
stores, banners, and executive team), and Raley’s would not have done the transaction if the
seller had retained stores and continued to compete in those markets against Raley’s, since the
incumbent would have had better real estate, store positioning, knowledge of the market, and
knowledge of the customer. Id. at 960:25-966:7.
581
    Knopf Hrg. 960:7-11.
582
    PX7006 (Hill Rebuttal Rpt.) ¶¶ 152-154, Fig. 51 (Appendix E).
583
    PX7006 (Hill Rebuttal Rpt.) ¶¶ 155-57, Fig. 52 (Appendix E).
584
    See Zinder Hrg. 772:19-775:11.
585
    See Zinder Hrg. 755:13-756:15, 758:5-758:25.
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the employers are of comparable size.586 In Washington, Oregon, and Southern California, for

instance, post-divestiture C&S will be significantly smaller than either Defendant is today.587

154.    Although C&S has agreed to assume current CBAs, some of those agreements expire

within a year.588 C&S has been criticized as “anti-union” for its past activity, including by

moving distribution from union warehouses to non-union warehouses.589

           C. Albertsons Is a Fierce Competitor and Will Continue to Be

155.    Albertsons is “a financially sound company” and is “not in trouble.”590 It holds the

number one or number two position by market share in 70% of the metropolitan statistical areas

in which it operates.591 Compared to 2019, when its CEO Mr. Sankaran joined the company,

Albertsons is doing better as a company, including on its balance sheet, growth performance, and

capabilities (including e-commerce).592 Only one month before the acquisition was announced,

Albertsons was “the top beneficiary of Kroger [share of wallet] losses” and was “catching up to

Kroger on share of wallet.”593 Since its latest initial public offering in 2020, Albertsons’ total

stockholder return has exceeded the S&P 500 and S&P 500 Retail Composite.594

156.    Albertsons continues to invest in its company, including $5 billion from 2020-22, with

40% of that investment going into Albertsons’ stores.595 Albertsons’ investments have paid off

with consistent growth, including a 3% increase in identical store sales in 2023, leading




586
    See Zinder Hrg. 756:22-757:15.
587
    PX7004 (Hill Rpt.) ¶ 276, Fig. 65.
588
    McPherson Hrg. 668:3-17.
589
    Winn Hrg. 1164:24-1165:14.
590
    Sankaran Hrg. 1727:1-13.
591
    Sankaran Hrg. 1745:3-7; PX6153 (Albertsons) at 008.
592
    Sankaran Hrg. 1769:4-13.
593
    Kinney Hrg. 3031:15-3032:12; PX12107 (Albertsons) at 001.
594
    PX6153 (Albertsons) at 035.
595
    Sankaran Hrg. 1779:2-20; see also PX6077 (Albertsons) at 002.
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Albertsons to tell investors it was pleased with its 2023 financial results.596

157.    Albertsons paid a $4 billion dividend to shareholders in January 2023 after agreeing to

the acquisition.597 In statements to Congress, Mr. Sankaran said that “the dividend does not

affect any of our future plans to invest in our stores, our capabilities, and our employees.”598 Mr.

Sankaran told Congress that Albertsons has “ample resources” “to meet our needs, pay our

employees, and compete effectively,” and “every intention, and the financial wherewithal, to

continue to make these investments regardless of whether the merger is consummated.”599

158.    Albertsons’ future is bright: Mr. Sankaran believes its sales can increase from $79 billion

in 2023 to       billion by 2026, and has outlined a plan to do so.600 Albertsons identified no

ordinary course documents or concrete plans to lay off workers, close stores, or exit markets

absent the acquisition.601

             D. Entry or Expansion Is Unlikely to Be Timely or Sufficient to Prevent a Loss
                of Competition

159.    Would-be entrants into the supermarket space face significant barriers to entry. Building

new supermarkets is expensive.602 Even a single new store commonly costs tens of millions of

dollars to build.603 A prospective entrant also needs a distribution system that can deliver

products to the new store in a cost-efficient manner.604 Finally, opening a supermarket is a time-

consuming multi-step process that can take anywhere from 2 to 11 years.605



596
    Sankaran Hrg. 1787:23-1788:3.
597
    Sankaran Hrg. 1772:7-10.
598
    Sankaran Hrg. 1774:10-18, 1775:16-1776:4; PX6077 (Albertsons) at 004.
599
    Sankaran Hrg. 1776:1-18; PX6077 (Albertsons) at 004.
600
    PX12428 (Albertsons) at 002-005.
601
    Sankaran Hrg. 1776:19-1777:15; 1780:6-1781:9.
602
    Van Helden Hrg. 190:10-12 (building new store costs about $20 million).
603
    Van Helden Hrg. 190:10-12; Curry Hrg. 874:16-19; Sankaran Hrg. 1783:3-10.
604
    Van Helden Hrg. 190:13-25.
605
    Sankaran Hrg. 1782:24-1783:2; Van Helden Hrg. 189:21-190:1; Curry Hrg. 873:23-874:15.
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           E. Efficiencies Do Not Outweigh Likely Competitive Harm

160.    Defendants failed to establish that most of their claimed efficiencies are cognizable under

the Merger Guidelines.606 Defendants’ own efficiencies expert, Mr. Rajiv Gokhale, concluded

that only between                           of efficiencies (less than half of Kroger’s estimated

“synergies”) are merger-specific and verifiable.607 But even this figure drastically overstates

cognizable efficiencies. First, Defendants have not independently demonstrated, using reliable

methodologies, assumptions, and data that their efficiency claims are verifiable.608 Second,

Defendants do not substantiate why this acquisition is necessary to achieve these purported

efficiencies.609 Finally, Defendants failed to establish that their claimed efficiencies would

benefit consumers and outweigh the competitive harm from the acquisition.610

161.    A proper analysis shows that only                of Defendants’ expert’s claimed

efficiencies are verifiable and merger-specific, and thus even potentially cognizable.611 But even

if Defendants’ full claimed synergies of              were cognizable, it amounts to only a small

share of the firm’s combined costs, and is insufficient to offset the predicted anticompetitive

harm to consumers.612

        1. Defendants’ claimed incremental revenue and profit synergies are neither
           cognizable nor cost savings

162.    Revenue synergies are not equivalent to cost efficiencies as they do not reflect a change




606
    Yeater Hrg. 3240:12-25.
607
    Gokhale Hrg. 2151:13-23; DX2736 (Gokhale Rpt.) ¶¶ 13, 24, Tbl. 3.
608
    Yeater Hrg. 3240:12-23, 3248:3-3249:5; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 8-9.
609
    Yeater Hrg. 3240:12-23, 3249:6-22; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 8-9.
610
    Gokhale Hrg. 2144:21-23.
611
    Yeater Hrg. 3250:7-3251:9 (discussing confidential findings from PX7011 (Yeater Rebuttal
Rpt.) ¶¶ 9-10); PX7011 (Yeater Rebuttal Rpt.) ¶¶ 8-10.
612
    Yeater Hrg. 3240:12-25, 3272:20-3273:19; PX7006 (Hill Rebuttal Rpt.) ¶¶ 180-182 & n.200;
see also Hill Hrg. 3388:4-9.
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in the company’s costs and thus would not offset any competitive harm.613

163.      Defendants estimate incremental revenue and profit synergies of                  through

Merchandising, Alternative Profit, and Health & Wellness synergies.614 Mr. Gokhale, however,

concluded that none of the Merchandising or Health & Wellness synergies were verifiable.615

164.      Defendants’ claimed incremental revenues and profits from Alternative Profit are driven

primarily by the consolidation of Defendants’ customers and related data, including shopper

data.616 This increase in revenue would arise not from saving costs but rather from: (1)

                                                                                   (2)
                                                                             617



165.      Mr. Gokhale failed to properly verify these Alternative Profit (e.g., retail media services)

synergies because he glossed over a series of unsubstantiated decisions and assumptions,

including: his unsupported selection of one of two models prepared by Kroger without

justification for his choice;618 his adoption of Kroger’s estimates of incremental revenues and

profitability without any discussion;619 and his unsupported application of Kroger’s low-end

realization rate.620




613
      Yeater Hrg. 3244:17-3245:9, 3246:2-9, 3247:6-12; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 14-15,
28.
614
    DX2736 (Gokhale Rpt.) ¶ 9, Tbl. 2.
615
    DX2736 (Gokhale Rpt.) ¶¶ 24, Tbl. 3, 232, 246.
616
    DX2736 (Gokhale Rpt.) ¶ 238.
617
    PX7011 (Yeater Rebuttal Rpt.) ¶ 28.
618
    DX2736 (Gokhale Rpt.) ¶ 239 (“In analyzing incremental revenues and profits, Kroger
prepared two cases . . . . I use the latter in this report . . . .”).
619
    DX2736 (Gokhale Rpt.) ¶ 241 (“I understand that Kroger’s subject-matter experts (based on
their experience with Kroger’s own initiative and 20 years of data analysis) have estimated the
incremental revenues and profitability . . . . As such, the model underlying the Parties’ revenue
opportunities identifies various assumptions underlying the estimates.”).
620
    DX2736 (Gokhale Rpt.) ¶ 241 (“Given that the Parties have, for the most part, used
realization rates of 60% to 80% . . . , I apply the low end (60%) . . . .”).
                                                       77
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166.    These synergies also are not merger-specific, as Albertsons plans to grow its retail media

business into a “multi-billion dollar high-margin business” separate from this acquisition.621

167.    Lastly, retail media services are also not within the relevant markets and therefore do not

address the harm to competition in the relevant markets.622

        2. Most of Defendants’ claimed cost savings have not been verified

168.    Defendants failed to verify nearly all of their claimed cost savings. For the majority, Mr.

Gokhale merely relied on the work done by Kroger or its consultants and conducted no

independent analysis.623 As a result, Plaintiffs’ efficiencies expert Mr. Aaron Yeater identified a

host of Mr. Gokhale’s and Kroger’s consultants’ unsubstantiated assumptions as one reason he

could not verify Defendants’ claimed efficiencies.624

169.    Defendants’ National Brand sourcing cost savings claim, the largest component of their

efficiency claims, are not verifiable because of several unsupported assumptions.625 For

example, the calculation of National Brand sourcing efficiencies uses an array of realization rates

(to adjust for contingencies) as a key input or assumption for which there is no support.626

Plaintiffs’ expert, Mr. Yeater, conducted robustness testing and found that the estimated

efficiencies were highly sensitive to changes in the assumed realization rate.627 Also, Defendants



621
    PX12428 (Albertsons) at 005.
622
    Yeater Hrg. 3247:6-13; PX7011 (Yeater Rebuttal Rpt.) ¶ 28.
623
    Yeater Hrg. 3255:3-7, 3261:7-11, 3263:19-3; see also DX2736 (Gokhale Rpt.) ¶¶ 76-95
(summarizing Bain’s National Brands synergy analysis), ¶¶ 96-98 (adopting Bain’s National
Brands analysis), ¶¶ 103-109 (summarizing Bain’s Own Brand synergy analysis), ¶ 110
(adopting Bain’s Own Brand analysis), ¶¶ 112-129 (summarizing Bain’s Fresh synergy analysis),
¶¶ 130-132 (adopting Bain’s Fresh analysis).
624
    PX7011 (Yeater Rebuttal Rpt.) ¶¶ 38, 49 (National Brands sourcing), ¶¶ 56, 58 (Own Brand
sourcing), ¶¶ 68, 71 (Fresh sourcing), ¶¶ 75, 77 (Goods Not For Resale sourcing); Yeater Hrg.
3255:3-7, 3261:7-11, 3263:19-3264:3.
625
    Yeater Hrg. 3255:8-17, 3263:19-25; PX7011 (Yeater Rebuttal Rpt.) ¶ 38.
626
    Yeater Hrg. 3260:15-3261:11; PX7011 (Yeater Rebuttal Rpt.) ¶ 38.d.
627
    Yeater Hrg. 3261:12-3262:1; PX7011 (Yeater Rebuttal Rpt.) ¶ 38.d.
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have not established that they would actually manage to achieve these efficiencies when they

negotiate prices with their suppliers post-acquisition.628 The National Brand sourcing

efficiencies estimate is only an opportunity or “the starting point of those negotiations.”629

Defendants will still have to get suppliers to agree to better pricing and trade promotion

programs.630 Defendants’ claim is dependent upon the subjective predictions of the merging

parties and is thus not verifiable.631 Similarly, the other categories of Defendants’ National

Brand sourcing cost efficiencies cannot be independently verified because they also rely on

unsupported assumptions.632

170.    To estimate National Brand sourcing efficiencies, Defendants engaged consultants from

Bain to analyze pricing differences between Kroger and Albertsons and utilized a “best-of-both”

pricing approach to estimate cost savings.633 But Mr. Gokhale failed to explain the

reasonableness or robustness of Bain’s assumptions driving its cost savings estimates. For

example, the best-of-both pricing approach assumes that the merged entity would get the lower

of the two costs between Kroger and Albertsons,634 but neither Bain nor Mr. Gokhale have

established whether, and to what extent, the merged entity would be able to capture price

differences in negotiation with suppliers.635 Further, Mr. Gokhale relied on interviews of Kroger

employees and consultants to support his cost savings estimates, but did not document or even




628
    Yeater Hrg. 3262:8-20; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 40-45.
629
    Yeater Hrg. 3262:8-20; PX3471 (Bain) at 003
                                             ; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 40-45.
630
    Yeater Hrg. 3262:8-20; Gokhale Hrg. 2167:4-8.
631
    Yeater Hrg. 3263:8-3264:3; PX7011 (Yeater Rebuttal Rpt.) ¶ 49.
632
    PX7011 (Yeater Rebuttal Rpt.) at Section V.A.
633
    Gokhale Hrg. 2166:6-16; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 30-31.
634
    DX2736 (Gokhale Rpt.) ¶ 77.
635
    Yeater Hrg. 3263:19-3264:3; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 9(a), 49.
                                                     79
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cite to most of those interviews in his report.636 Thus, Defendants have not produced the

information necessary for their claimed efficiencies to be independently verified. Mr. Gokhale

has been criticized previously by a district court for lack of independent analysis and relying on

similar assumptions and similar methodology in the Aetna/Humana matter.637

171.    Defendants’ “high end” estimate of Administrative Labor cost savings, estimated at

       , is also not verifiable.638 Mr. Gokhale relied on a yet-to-be-completed analysis by a

consultant to conclude that the claimed efficiency was verifiable.639 But this claimed efficiency

cannot be independently verified because the consultant’s analysis is not yet complete and

because it relies on a “proprietary database” whose underlying data was not produced to the

Plaintiffs’ expert.640 In fact, Defendants and their expert did not even have access to the

underlying data and assumptions upon which they rely.641

172.    Defendants’ estimates of efficiencies from Own More Transportation (i.e., managing

more of the transportation of goods themselves rather than using vendors) are also not verifiable

because their estimate relied on a key, unsupported input.642 Defendants’ calculation hinges on

an unsourced input, prepared by and dependent on the subjective predictions of former Kroger

executives.643 Similarly, the other claimed Supply Chain and Manufacturing cost efficiencies




636
    Gokhale Hrg. 2175:9-25.
637
    Gokhale Hrg. 2169:6-21, 2170:2-8.
638
    Yeater Hrg. 3254:3-3255:2; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 112-116.
639
    DX2736 (Gokhale Rpt.) ¶ 209 (“the parties have decided to delay this exercise until closer to
the closing of the transaction”).
640
    PX7011 (Yeater Rebuttal Rpt.) ¶¶ 114-115; Yeater Hrg. 3284:19-3285:15; 3309:10-15.
641
    Yeater Hrg. 3284:9 (Defendants’ counsel stating that “So, to be clear, we don’t have access to
the [BCG] data . . . .”).
642
    Yeater Hrg. 3269:10-3270:18; see also PX7011 (Yeater Rebuttal Rpt.) ¶¶ 94-98.
643
    Yeater Hrg. 3269:10-3270:18 (with the exception of one part of “Ways of Working”); see
also PX7011 (Yeater Rebuttal Rpt.) ¶¶ 94-98.
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cannot be independently verified because they rely on unsupported assumptions.644

173.        Only              of Defendants’ claimed efficiencies are verified and merger-specific.645

This includes                 of Supply Chain and Manufacturing “Ways of Working” savings from



      646
            These             in Supply Chain and Manufacturing estimated savings are the only

verified and merger-specific variable cost savings.647 The additional                   of the verified

and merger-specific savings result from the elimination of duplicative employees, which are

corporate-level cost Administrative Labor fixed cost savings.648

            3. Most of Defendants’ claimed cost savings are not merger-specific

174.        Defendants also failed to establish that the majority of their claimed efficiencies are

merger-specific, meaning that they could not be achieved without the acquisition.

175.        Albertsons is always looking for projects that reduce the cost of doing business.649 In

three years, Albertsons has removed $1 billion of costs and plans to cut another                      over

the next two years.650 Albertsons plans to implement additional cost savings initiatives,

including by hiring the consulting firm McKinsey, reducing cost of goods sold, improving

supply chain, and reducing transportation costs.651 Albertsons was also on target to achieve $2.3




644
    PX7011 (Yeater Rebuttal Rpt.) at Section V.B.
645
    Yeater Hrg. 3250:7-3251:9 (discussing confidential findings from PX7011 (Yeater Rebuttal
Rpt.) ¶¶ 9-10).
646
    PX7011 (Yeater Rebuttal Rpt.) ¶¶ 9.b., 10, 102-105.
647
    PX7011 (Yeater Rebuttal Rpt.) ¶¶ 29, 126.
648
    PX7011 (Yeater Rebuttal Rpt.) ¶¶ 9.c., 10, 109-111.
649
    Sankaran Hrg. 1718:16-22.
650
    Sankaran Hrg. 1783:11-1784:9; PX12428 (Albertsons) at 005 (Albertsons’ CEO in memo to
board: “line of sight to an additional      of cost take out over the next 2 years”).
651
    Sankaran Hrg. 1785:7-13, 1786:19-1787:6; see also PX12428 (Albertsons) at 004 (Albertsons
plans to “[r]educe COG[S] by further consolidating buying and further nationalizing category
management in center store”).
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billion in savings between fiscal year 2022 and fiscal year 2025.652 For its part, Kroger is

engaging in “thousands of things . . . every day to figure out a way to reduce cost” on its own.653

176.    Mr. Gokhale failed to consider what cost savings Albertsons could achieve on its own,

did not interview any Albertsons’ employees and does not cite to any internal Albertsons’

documents in his report.654 For example, in one instance Mr. Gokhale concludes that Albertsons

will obtain cost savings by moving to Kroger’s lower price even though he did not analyze

whether Albertsons could obtain the same lower price without the merger.655

177.    Further, Mr. Gokhale deems many of the cost savings merger-specific solely based on

“best-of-both” pricing applied by Bain that assumes, without evidence, that the merged firm will

simply be able to demand the lowest price offered to either firm by its suppliers.656 Both Kroger

and Albertsons currently have the opportunity to receive the same lowest possible list prices and

have access to the same trade promotion programs.657 And Kroger has not discussed post-

merger pricing with any supplier and will not do so until after the merger closes.658

178.    Defendants’ National Brand sourcing cost efficiency claims,

                      , relies on a best-of-both pricing approach and are not merger-specific.659

The differences in prices (including trade funds) currently paid by Kroger and Albertsons for

national brands are explained by the differences in how Kroger and Albertsons choose to




652
    Morris Hrg. 1988:22-1989:2.
653
    McMullen Hrg. 1590:16-1591:16.
654
    Gokhale Hrg. 2176:16-25, 2177:8-25.
655
    Id. at 2165:14-17.
656
    Gokhale Hrg. 2176:1-10; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 50-51.
657
    See Crane Hrg. 2566:9-21, 2568:13-15;                        ¶¶ 22, 27; PX7011 (Yeater
Rebuttal Rpt.) ¶ 41.a-d.
658
    Maharoof Hrg. 2104:17-22; see also, e.g., Crane Hrg. 2570:13-21.
659
    Yeater Hrg. 3264:16-3265:19; PX7011 (Yeater Rebuttal Rpt.) ¶ 20, Fig. 1.
                                                    82
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merchandise and promote their products.660 Kroger could today get the Albertsons’ price for a

given product, if they chose to merchandise and promote that product in the same way that

Albertsons does.661 But because of limitations in shelf space, the merged firm would not be able

to put all products at eye-level, and or on an end cap display, for example, to get the lower or

lowest price for all products.662 The National Brands sourcing cost efficiency is not merger-

specific because Defendants have not demonstrated that to the extent it can even be achieved,

that the same savings could not be achieved absent the merger.663 Similarly, the other categories

of Defendants’ sourcing cost efficiencies are not merger-specific because Defendants have not

demonstrated that the merger is needed to achieve better pricing from (or that better pricing

would even be achieved through negotiations with) suppliers.664

179.    Defendants’ estimates of efficiencies from Own More Transportation are not merger-

specific.665 Defendants did not demonstrate that Albertsons could not invest in owning more

transportation itself, but rather only that Albertsons has so far chosen not to make the

investments.666 Indeed, Albertsons recently considered and evaluated opportunities to pursue

productivity and reduce costs in transportation.667 Kroger has no special knowledge about

owning more transportation; in fact, Kroger only started investing in this area “a couple of years

ago.”668 Additionally, Albertsons is still ahead of Kroger in some categories of goods, including




660
    Yeater Hrg. 3265:12-3266:1; see also Crane Hrg. 2568:16-25.
661
    Yeater Hrg. 3265:12-19; Crane Hrg. 2570:1-9.
662
    Yeater Hrg. 3265:12-3266:1.
663
    Id. 3264:16-3268:7; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 33-51.
664
    PX7011 (Yeater Rebuttal Rpt.) at Section V.A.
665
    Yeater Hrg. 3269:5-9; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 94-100.
666
    Yeater Hrg. 3270:23-3272:9.
667
    Sankaran Hrg. 1786:19-1787:6 (discussing PX12428 (Albertsons)).
668
    Yeater Hrg. 3271:6-15.
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Fresh.669 Similarly, the other categories of Supply Chain and Manufacturing efficiencies are not

merger-specific because Defendants have not taken into account what cost savings Albertsons

could achieve without the merger.670

        4. Defendants’ claimed efficiencies are not likely to benefit consumers

180.    Defendants failed to establish that claimed efficiencies outweigh potential harm. Neither

Mr. Gokhale nor Dr. Israel analyzed what portion of efficiencies would benefit consumers and

offset harm.671 Even if the full amount of the claimed efficiencies were credited as cognizable,

that amount would be insufficient to offset the predicted anticompetitive harm to consumers.672

        5. Kroger’s non-binding $1 billion price investment is not an efficiency that may be
           passed through to consumers

181.    As Kroger admits, price investments are not an efficiency.673 Rather, Kroger purports to

use price investments to lower prices to “strengthen them as a competitor.”674 But eliminating

Albertsons as a competitor will extinguish an important constraint on Kroger that is more

powerful, and reliable, than unenforceable promises to make price investments.675

182.    Kroger routinely seeks to increase prices but is restrained from doing so by competition.

For example, Kroger’s pricing strategies incorporate a process to identify “items where we may

be priced lower than we need to be compared to our competition” and increase prices on those

items to improve gross margins.676 When Kroger sees cost increases, Kroger’s strategy is to lead


669
    Yeater Hrg. 3272:2-6; see also PX7011 (Yeater Rebuttal Rpt.) ¶ 100.
670
    PX7011 (Yeater Rebuttal Rpt.) at Section V.B (with one exception of the small category of
“Ways of Working”).
671
    Gokhale Hrg. 2144:21-23; Israel Hrg. 2715:6-10, 2727:11-25.
672
    PX7006 (Hill Rebuttal Rpt.) ¶¶ 180-182 & n.200; see also Hill Hrg. 3388:4-9 (discussing
what it means if CMCR values are greater than 5%).
673
    Aitken Hrg. 1892:18-20.
674
    Gokhale Hrg. 2139:18-2140:1.
675
    See FOF § III.F, supra.
676
    PX1129 (Kroger) at 003; Groff Hrg. 286:11-288:17. Kroger achieved a $20 million margin
improvement in 2020 using this process. PX1129 (Kroger) at 003; Groff Hrg. 289:2-12.
                                                    84
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on cost changes, meaning that Kroger will increase prices and see whether its competitors

respond.677 If competitors do not respond, Kroger brings prices back down.678

183.    Similarly, Kroger’s “goal is to pass through th[e] inflation to customers.”679 In 2021,

Kroger sought to “pass through as much inflation as we can,” but needed to “watch the impact

this has on our spread positioning . . . versus Walmart, Meijer, and [Albertsons].”680 In 2021,

Kroger’s Chief Merchant and Marketing Officer wrote, “Additional price investments not

recommended. We need to pass on as much inflation on as the customer will let us with spreads

being a key guardrail for us.”681 When Kroger stores are in areas with little to no competition,

Kroger has taken the opportunity to profitably increase prices for that “no competition” zone.682

                             i.   Evidence from Kroger’s prior mergers does not demonstrate
                                  that price investments occurred following those mergers

184.    Evidence from Kroger’s prior mergers does not demonstrate that price investments have

occurred following those mergers.683 While Harris Teeter’s gross margin declined from 2014 to

2021 following its acquisition by Kroger, erosions of gross margin can occur for a number of

reasons and do not prove that price investments have been made.684 Gross margins may decline

because: (1) prices have increased at a rate slower than cost of goods sold increased, (2) of

changes in the allocation of products on shelves, or (3) of changes in purchasing behavior and

the mix of products purchased.685 Indeed, following the Harris Teeter transaction, Kroger

performed an analysis and concluded that the expected price investments had not been made


677
    Groff Hrg. 289:14-22.
678
    Id.
679
    Id. at 289:17.
680
    PX11337 (Kroger) at 001; Groff Hrg. 291:15-292:7.
681
    PX1254 (Kroger) at 001; Aitken Hrg. 1855:20-1857:11.
682
    Groff Hrg. 294:17-295:14.
683
    Yeater Hrg. 3240:12-21, 3241:1-3243:14, 3275:7-25.
684
    Yeater Hrg. 3241:18-3242:13.
685
    Id. at 3241:25-3242:10.
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because Harris Teeter operated autonomously from Kroger and made decisions counter to

management expectations.686 Similarly, following Kroger’s 2015 acquisition of Roundy’s, there

was an erosion of gross margin that fell short of what was budgeted.687

                            ii.   Purported price investments will not offset harm

185.    Defendants plan to make price investments only at certain Albertsons stores, which will

not benefit Kroger customers harmed by the acquisition.688 Kroger pricing executives agreed

that post-merger price investments could be offset by less aggressive promotions so that Kroger
                                                                                     689
can                                                                                        Kroger’s

price investments also do not address non-price harm that could occur.690

186.    Defendants also have not shown that the promised price investment is incremental to

what Albertsons is investing today. Albertsons makes price investments “all the time” in “many,

many markets” to compete.691 Albertsons does not track these investments because it is “trying

to adjust pricing all the time with everything else we offer so that we are giving customers

something they want and gaining market share.”692 As Kroger’s CEO admits, “Albertsons has

always been investing in pricing.”693 Defendants have not provided analysis of the difference

between its purported price investments and those that Albertsons is executing today.694

VI.     THE EQUITIES WEIGH IN FAVOR OF A PRELIMINARY INJUNCTION

           A. If the Acquisition Closes, Significant Harm Will Result


686
    Yeater Hrg. 3242:22-3243:6 (referring to PX1353 (Kroger)); PX7011 (Yeater Rebuttal Rpt.)
¶¶ 136-137, 140.
687
    Yeater Hrg. 3243:7-14; PX7011 (Yeater Rebuttal Rpt.) ¶¶ 138-139.
688
    Gokhale Hrg. 2140:23-2141:7; McMullen Hrg. 1673:16-1674:8.
689
    PX11056 (Kroger) at 002.
690
    Gokhale Hrg. 2140:23-2141:16 (only discussing impact on prices of price investments).
691
    Sankaran Hrg. 1762:14-1763:16, 1764:15-18; PX6153 (Albertsons) at 009, 041.
692
    Sankaran Hrg. 1762:23-1763:5.
693
    PX6684 (Kroger) at 011.
694
    See McMullen Hrg. 1674:14-22.
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187.    If the acquisition closes with the administrative trial is pending, Defendants will have

access to each others’ competitively sensitive information, including cost of goods sold.695

Additionally, Defendants’ divestiture to C&S will consummate, meaning that millions of

shoppers and workers will lose access to the divestiture stores as they compete today.696

           B. Alleged Benefits Remain Available After a Merits Decision

188.    Albertsons will remain a vigorous competitor if the acquisition does not consummate.

Albertsons invests billions of dollars in its company a year and plans to continue this level of

investment going forward.697 Albertsons’ COO recognized that “[Albertsons is] literally

crushing it consistently.”698




695
    See id. 1664:8-22.
696
    DX2238 (Kroger, Albertsons, C&S) at 007; see § V.A-B, supra.
697
    Sankaran Hrg. 1779:2-7, 1779:21-1780:5.
698
    PX2616 (Albertsons) at 001.
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                    PLAINTIFFS’ PROPOSED CONCLUSIONS OF LAW

1.      Section 13(b) of the FTC Act authorizes a preliminary injunction pending an

administrative merits proceeding. 15. U.S.C. § 53(b). Section 16 of the Clayton Act enables the

State Plaintiffs to bring this action. 15 U.S.C. § 26.

2.      Courts “follow a two-step inquiry that asks (1) whether the FTC has shown a likelihood

of ultimate success on the merits in the administrative proceeding and (2) whether the equities

weigh in favor of an injunction.” IQVIA, 710 F. Supp. 3d at 347. The court “must exercise its

‘independent judgment’ to determine” if the FTC has met its burden but it “may not require the

FTC to prove the merits of its case or to establish a violation of the Clayton Act. That inquiry is

reserved for the administrative proceeding.” Id. at 349-50; accord FTC v. Lancaster Colony

Corp., Inc., 434 F. Supp. 1088, 1090-91 (S.D.N.Y. 1977); FTC v. Warner Commc’ns, Inc., 742

F.2d 1156, 1162-64 (9th Cir. 1984) (the Court does not “resolve the conflicts in the evidence,

compare concentration ratios and effects on competition in other cases, or undertake an extensive

analysis of the antitrust issues”).

3.      Plaintiffs need only “raise[] serious questions about the antitrust merits that warrant

thorough investigation in the first instance by the FTC.” IQVIA, 710 F. Supp. 3d at 350; accord

Warner, 742 F.2d at 1162; Whole Foods, 548 F.3d at 1035; FTC v. Univ. Health, Inc., 938 F.2d

1206, 1217-18 (11th Cir. 1991).

4.      Section 7 of the Clayton Act, 15 U.S.C. § 18, was enacted “to arrest potential harm to

competition in its incipiency.” St. Luke’s, 778 F.3d at 783 (citing Phila. Nat’l Bank, 374 U.S. at

362). This incipiency standard requires that “wherever possible, without doing violence to the

legislative objectives underlying the antitrust laws, we should ‘lighten the burden of proof,’

‘simplify the test of illegality’ and ‘dispense with elaborate proof of market structure, market

behavior or probable anticompetitive effects.’” Lancaster, 434 F. Supp. at 1094 (citing Phila.
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Nat’l Bank, 374 U.S. at 362-63). Thus, even as to the ultimate merits, “any ‘doubts are to be

resolved against the transaction.’” FTC v. Penn State Hershey Med. Ctr., 838 F.3d 327, 337 (3rd

Cir. 2016) (quoting FTC v. Elders Grain, Inc., 868 F.2d 901, 906 (7th Cir. 1989) (Posner, J.)).

5.         At the administrative merits proceeding, the FTC will apply a three-step burden-shifting

framework. Olin Corp. v. FTC, 986 F.2d 1295, 1305 (9th Cir. 1993). The plaintiff must first

establish its prima facie case or a presumption of illegality and then the burden shifts to the

defendants to produce evidence rebutting the prima facie case or countervailing procompetitive

benefits. Id. If the defendants meet their burden, then the burden of production shifts back to the

plaintiff to produce additional evidence of competitive harm (merging with the plaintiff’s

ultimate burden of persuasion). Id. Here, Plaintiffs have shown a likelihood of success on the

merits of its Section 7 challenge in the administrative court, and the equities favor issuing a

preliminary injunction.

     I.       THE FTC IS LIKELY TO SUCCEED ON THE MERITS

              A. The Acquisition is Presumptively Illegal and Likely to Cause Anticompetitive
                 Effects in the Supermarkets Product Market

6.         In the merits proceeding, the FTC will show that the acquisition is illegal because it

significantly increases concentration in both (i) the supermarket product market in local areas,

and (ii) the union grocery labor market in collective bargaining agreement (“CBA”) areas.

           1. Supermarkets are a relevant product market

7.         A relevant product market consists of products “that are reasonably interchangeable”

such that “purchasers are willing to substitute one for the other.” ProMedica Health Sys., Inc. v.

FTC, 749 F.3d 559, 565 (6th Cir. 2014). In a Section 13(b) proceeding, it is “not necessary” for

Plaintiffs “to prove the existence of the [relevant] market.” IQVIA, 710 F. Supp. 3d at 368

(quoting Whole Foods, 548 F.3d at 1041) (emphasis in original). Instead, Plaintiffs need only


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“rais[e] some question of whether [the alleged market] is a well-defined market.” Whole Foods,

548 F.3d at 1037.

8.     “In evaluating reasonable interchangeability, ‘the mere fact that a firm may be termed a

competitor in the overall marketplace does not necessarily require that it be included in the

relevant product market for antitrust purposes.’” IQVIA, 710 F. Supp. 3d at 368 (quoting Sysco,

113 F. Supp. 3d at 26).

9.     Further, the inquiry does not look at all products that are interchangeable for any

purpose—only products “reasonably interchangeable by consumers for the same purpose.” E.g.,

Optronic Techs., Inc., 20 F.4th at 482. “In other words, the existence of a larger market within

which two products compete does not necessarily mean that they are reasonably interchangeable

substitutes for one another.” IQVIA, 710 F. Supp. 3d at 368; see also FTC v. Staples, Inc., 970 F.

Supp. 1066, 1075 (D.D.C. 1997) (“Staples I”).

10.    In assessing the relevant market, courts “regularly consider ordinary course documents.”

IQVIA, 710 F. Supp. 3d at 362-63. The Government can also define a market using quantitative

evidence of interchangeability derived from the HMT. Optronic Techs., Inc., 20 F.4th at 483.

Here both the qualitative evidence and quantitative evidence show that supermarkets are a

relevant “line of commerce” in which to assess the competitive effects of this acquisition is

supermarkets. See, e.g., California v. Am. Stores Co., 872 F.2d 837, 841 (9th Cir. 1989).

               i.      The Brown Shoe practical indicia demonstrate that supermarkets are a
                       relevant product market

11.    The Supreme Court has identified multiple “practical indicia” that signify a relevant

product market, including “industry or public recognition of the [relevant market] as a separate

economic entity, the product’s peculiar characteristics and uses, unique production facilities,

distinct customers, distinct prices, sensitivity to price changes, and specialized vendors.” Brown


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Shoe Co. v. United States, 370 U.S. 294, 325 (1962).

12.    These Brown Shoe “practical indicia” serve an “evidentiary usefulness” in determining

substitutability and “cross-elasticities of demand.” Epic Games, 67 F.4th at 976. The indicia

must be “viewed in totality” and not in isolation. FTC v. Surescripts, LLC, 665 F. Supp. 3d 14,

43 (D.D.C. 2023). Indeed, “[a]ll the factors need not be satisfied for the Court to conclude that

the FTC has identified a relevant market.” IQVIA, 710 F. Supp. 3d at 355.

13.    Analysis of the Brown Shoe practical indicia establishes that supermarkets constitute a

relevant product market. See FOF § III.A.1, supra.

             ii.       Other store formats are not reasonably interchangeable with
                       supermarkets

14.    Other store formats do not share the same Brown Shoe practical indicia and are not

reasonably interchangeable with supermarkets. See IQVIA, 710 F. Supp. 3d at 367.

15.    Although other stores sell some of the same products, their smaller assortment does not

allow one-stop shopping and, accordingly, they are not “reasonably interchangeable by

consumers for the same purposes.” Optronic Techs., 20 F.4th at 482 (emphasis added); see also

Staples I, 970 F. Supp. at 1074-75

16.    Supermarkets also differ from other retail formats in customer experience. See Bon-Ton

Stores, Inc. v. May Dep’t Stores Co., 881 F. Supp. 860, 874 (W.D.N.Y. 1994) (analyzing as a

Brown Shoe factor the physical appearance of retail stores, for example, “the location of

checkout counters, the manner in which goods are displayed, and so on”); see also Staples I, 970

F. Supp. at 1078 (finding “that office superstores are, in fact, very different in appearance,

physical size, format, the number and variety of SKU’s offered, and the type of customers

targeted and served than other sellers of office supplies”). As the district court explained in

California v. Am. Stores Co., 697 F. Supp. 1125 (C.D. Cal. 1988), the mere fact that other store


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formats also sell groceries does not mean that “grocery shoppers seriously consider, for example,

gasoline service stations or department stores as competing sources with supermarkets for their

grocery needs.” Id. at 1129, aff’d in the rel. part, 872 F.2d 837 (9th Cir. 1989); see also Whole

Foods, 548 F.3d at 1040 (“The fact that a customer might buy a stick of gum at a supermarket or

at a convenience store does not mean there is no definable groceries market.”); Sysco, 113 F.

Supp. 3d at 26 (“[F]ruit can be bought from both a grocery store and a fruit stand, but no one

would reasonably assert that buying all of one’s groceries from a fruit stand is a reasonable

substitute for buying from a grocery store.”).

                  iii. Evidence of cross-shopping does not support a broader market

17.    Relevant markets can exist even if certain customers “cross-shop” in other markets.

Whole Foods, 548 F.3d at 1040-41 (evidence of cross-shopping “entirely consistent” with the

existence of a submarket consisting of premium natural and organic supermarkets).

18.    Courts refuse “to lump together” various channels of shopping “merely because

[consumers] spend in different channels.” United States v. Google, 2024 WL 3647498, at *86

(D.D.C. Aug. 5, 2024); IQVIA, 710 F. Supp. 3d at 358-59 (same).

19.    In Google, the court rejected Dr. Israel’s reliance upon a cross-product usage theory for

market definition. 2024 WL 3647498, at *71-74. There, Dr. Israel argued that users “cross-

query,” i.e., run searches on Google’s general search engine (GSE) and on specialized vertical

providers (SVPs) like Amazon. Id. at *71-72. Dr. Israel opined that cross-querying is evidence

that SVPs are reasonably interchangeable with GSEs like Google, and thus belong in the same

product market. Id. The court rejected Dr. Israel’s approach and conclusions, holding that

neither the existence of cross-querying nor the fact that “Google and Amazon have some

overlapping users” meant that the two companies’ services belong in the same product market

and are reasonably interchangeable. Id.
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       2. Local areas around Defendants’ stores are relevant geographic markets

20.    “The relevant geographic market is the area of effective competition where buyers can

turn for alternate sources of supply.” St. Luke’s, 778 F.3d at 784. Dr. Hill’s store-based, draw

area approach to geographic market definition is well-supported. Id. at 785 (affirming

geographic market where at least one-third of patients traveled outside the market for services).

Indeed, the Sysco court accepted geographic markets based upon 75% draw areas that Dr. Israel

advanced over criticisms that they were “arbitrary.” 113 F. Supp. 3d at 51-52.

21.    Dr. Hill’s customer-based draw area is similarly well-supported. See, e.g., FTC v.

Hackensack, 30 F.4th at 169 (defining geographic market based on patient location and supplier

location); St. Alphonsus Med. Ctr.-Nampa, Inc. v. St. Luke’s Health Sys., 2014 WL 407446, at

*6-8 (D. Idaho Jan. 24, 2014), aff’d 778 F.3d at 775 (same).

       3. Economic analysis confirms that supermarkets in local areas are relevant
          geographic markets

22.    Plaintiffs have also shown a likelihood of establishing a relevant antitrust market of

supermarkets in local areas by use of the HMT. See FOF § III.D, supra. The HMT is

“commonly used in antitrust actions to define the relevant market.” IQVIA, 710 F. Supp. 3d at

368. Conversely, no court has applied Dr. Israel’s “‘actual’ hypothetical monopolist test.” See

FOF § III.D.1.iii, supra.

23.    The HMT asks whether a hypothetical monopolist of products within a candidate market

could profitably impose a small but significant and non-transitory increase in price or other

worsening of terms on at least one product in the set. Id. If the monopolist could do so, “then a

relevant product market exists for antitrust purposes.” IQVIA, 710 F. Supp. 3d at 368-69; see

also Sysco, 113 F. Supp. 3d at 34-35 (describing aggregate diversion analysis).

24.    Both the Brown Shoe practical indicia and the HMT show that supermarkets in local


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areas are a relevant antitrust market. See FOF §§ III.A-D, supra.

       4. The acquisition is illegal even when analyzed using a large format store product
          market

25.    Plaintiffs in merger cases commonly offer broader product market definitions as a

sensitivity test to demonstrate the likely competitive effects of a merger. See, e.g., FTC v.

Hackensack Meridian Health, Inc., 2021 WL 4145062, at *20 & n.25 (D.N.J. Aug. 4, 2021),

aff’d, 30 F.4th 160 (3d Cir. 2022) (adopting plaintiff’s geographic market where the expert

performed a “sensitivity check” by analyzing concentration in a more conservative market); FTC

v. Advocate Health Care Network, 841 F.3d 460, 466 (7th Cir. 2016) (noting that plaintiff’s

expert tested the robustness of his results by “test[ing] another, larger market”).

26.    Within a broader market, “well-defined submarkets may exist which, in themselves,

constitute product markets for antitrust purposes.” Brown Shoe, 370 U.S. at 325. “[R]elevant

submarkets are common in merger analysis.” Olin Corp., 986 F.2d at 1301. “[T]he viability of

such additional markets does not render the one identified by the government unusable.” IQVIA,

710 F. Supp. 3d at 368 (quoting United States v. Bertelsmann SE & Co., 646 F. Supp. 3d 1, 28

(D.D.C. 2022)).

27.    The Court as a finder of fact can determine whether the record contains evidence

sufficient to establish any or all of the following: a supermarket product market, a large format

product market, or some other alternative market. Epic Games, 67 F.4th at 978 n.9 (holding that

Ninth Circuit precedent “squarely forecloses” the argument that antitrust claims automatically

fail if the court does not adopt the plaintiff’s market). In Rockford Memorial, for example, the

Seventh Circuit affirmed the district court’s decision to reject both the government’s and the

defendants’ proposed market definitions and, based on evidence from the preliminary injunction

hearing, define its own market. 898 F.2d at 1285; see also Epic Games, 67 F.4th at 981


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(affirming unpleaded “middle-ground market”).

28.    Here, Plaintiffs have maintained from the start of this litigation that the acquisition is

presumptively unlawful even if non-supermarket retail formats are included in the relevant

product market. See Compl. at 23, ECF No. 1 (Feb. 26, 2024). And both the Brown Shoe

practical indicia and the HMT show that large format stores in local areas are a relevant antitrust

market. See FOF §§ III.B-D, supra.

       5. The proposed acquisition creates a presumptively illegal increase in concentration
          in both the relevant supermarket local areas and in large format local areas

29.    “A commonly used metric for determining market share is the Herfindahl–Hirschman

Index (‘HHI’).” St. Luke’s, 778 F.3d at 786. The HHI for a market is calculated by “summing

the squares of the individual firms’ market shares.” Id.

30.    Plaintiffs can establish a prima facie case by showing that the merger will yield high

market concentrations. Id. at 785. The Merger Guidelines explain that a merger is

presumptively unlawful when it increases a market’s HHI by more than 100 and results in either

(a) post-merger market share greater than 30% or (b) post-merger HHI exceeding 1,800. 2023

Merger Guidelines § 2.1. These presumption thresholds, mirroring those in the 1992 Merger

Guidelines, have been endorsed by numerous courts. See, e.g., Am. Stores Co., 872 F.2d at 842;

Heinz, 246 F.3d at 716; Chicago Bridge, 534 F.3d at 431; IQVIA, 710 F. Supp. 3d at 378.

31.    The Supreme Court has also held that mergers are presumptively unlawful if they result

in a single entity controlling a 30% market share. See Phila. Nat’l Bank, 374 U.S. at 364; RSR,

602 F.2d at 1324; see also IQVIA, 710 F. Supp. 3d at 377-79 (reaffirming validity of “30%

threshold” above which a transaction is presumably illegal).

32.    Here, Dr. Hill found that 1,922 supermarket local areas meet the presumption of

illegality. See FOF § III.E, supra. Dr. Hill also calculated market shares for the broader product


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market—“large format stores.” Even using this more conservative approach, he found that the

merger is presumptively unlawful in 1,785 large format local areas. Id.

33.     A finding of harm in any market satisfies Plaintiffs’ prima facie burden. E.g., Anthem,

236 F. Supp. 3d at 254 (“The Court concludes that the merger is likely to lessen competition

substantially in Richmond, Virginia at least, and it does not reach any of the other markets.”).

            B. The Proposed Acquisition is Unlawful in a Market for Union Grocery Labor
               in Collective Bargaining Agreement Areas

34.     The antitrust laws protect labor. See, e.g., 21 Cong. Rec. 2457 (Mar. 21, 1890) (Sen.

Sherman: “The sole object of such a combination [a trust] is to make competition impossible

. . . . [I]t commands the price of labor without fear of strikes, for in its field it allows no

competitors.”); Bertelsmann, 646 F. Supp. 3d at 34-35 (confirming that the Clayton Act applies

to mergers that harm competition for workers). Defendants’ attempts to avoid antitrust scrutiny

ignore the Supreme Court’s warning that antitrust exemptions should not apply to “agreement[s]

among employers . . . sufficiently distant in time and in circumstances from the collective-

bargaining process.” Brown v. Pro Football, Inc., 518 U.S. 231, 250 (1996). A merger of

employers is not a “restraint[] . . . imposed through the bargaining process,” id. at 237, but a

choice entirely outside of the bargaining process that subverts unions’ negotiating leverage. See

Br. of Amicus Curiae NLRB at 11, ECF No. 333 (“Defendants are mistaken to suggest that our

nation’s labor laws grant them unfettered rights ‘to join forces in collective bargaining today.’”).

35.     An antitrust analysis of a labor, or “buy-side” case is the “mirror image” of the

supermarket, or “sell-side” case. See Todd v. Exxon Corp., 275 F.3d 191, 202 (2d Cir. 2001).

Contrary to Defendants’ focus on the interchangeability of workers (the sellers of labor services),

here the proper inquiry is “the commonality and interchangeability of the buyers.” Id. That is,

which employers the workers negotiating a CBA view as interchangeable.


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36.    The Brown Shoe factors and the market realities support a finding that union grocery

labor in CBA areas is a relevant antitrust market. As applied to labor, the practical indicia

include “industry or public recognition of the [relevant market] as a separate economic entity, the

[labor’s] peculiar characteristics and uses, unique production facilities, distinct [buyers], distinct

[compensation], sensitivity to [compensation] changes, and specialized vendors.” See Brown

Shoe, 370 U.S. at 325; see also 2023 Merger Guidelines § 4.3.D.8 (“The same market definition

tools and principles discussed above can be used for input markets and labor markets . . . .”).

37.    While “[i]t is always possible to take pot shots at a market definition,” Rockford

Memorial Corp., 898 F.2d at 1285, “[a] market need not be defined with the precision of a

NASA scientist.” Sysco, 113 F. Supp. 3d at 54. Defining “a relevant market is not an end unto

itself; rather, it is an analytical tool used to ascertain the ‘locus of competition.’” Bertelsmann,

646 F. Supp. 3d at 24 (citing Brown Shoe, 370 U.S. at 320).

38.    “There is no legal requirement that a plaintiff supply quantitative proof to define a

relevant market.” Google, 2024 WL 3647498, at *68; see also Optronic Techs., Inc., 20 F.4th at

482-83; Sidibe v. Sutter Health, 2019 WL 2078788, at *25-27 (N.D. Cal. May 9, 2019).

           C. The Acquisition is Also Unlawful Because it Will Eliminate Substantial
              Head-To-Head Competition

39.    Independent from market concentration, Plaintiffs can meet their prima facie burden by

demonstrating that an acquisition will eliminate substantial head-to-head competition between

close competitors. FuboTV, 2024 WL 3842116, at *17, *29 (granting preliminary injunction

based on competitive effects, not market concentration); IQVIA, 710 F. Supp. 3d at 385 (“It is

sufficient to show, as the FTC has, that Defendants vigorously compete head-to-head and that

this competition would be eliminated by the proposed transaction.”); Bertelsmann, 646 F. Supp.

3d at 50 (“[C]ourts have recognized that a merger that eliminates head-to-head competition


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between close competitors can result in a substantial lessening of competition.”) (quoting cases);

United States v. Mfrs. Hanover Tr. Co., 240 F. Supp. 867, 950 (S.D.N.Y. 1965) (eliminating

significant competition may by “‘itself constitute[] a violation of § 1 of the Sherman Act,’ and, a

fortiori, of the Clayton Act”); 2023 Merger Guidelines § 2.2; 2010 Guidelines § 6 (“The

elimination of competition between two firms that results from their merger may alone constitute

a substantial lessening of competition.”).

40.    Plaintiffs can meet their burden to show a relevant market in which head-to-head

competition will be eliminated even if they fail to meet their burden to define a market in which

to measure the extent of any post-merger increase in share. Mfrs. Hanover Tr. Co., 240 F. Supp.

at 923, 955 (enjoining merger based on elimination of competition even though court rejected

Government’s proposed market); see also FuboTV, 2024 WL 3842116, at *24 (holding plaintiff

likely to succeed on merits when “at least one of the . . . aspects of the [joint venture] will tend to

produce anticompetitive effects in a relevant market.”).

41.    When assessing head-to-head competition, “[c]ourts frequently rely on ordinary course

documents and witness testimony illustrating that two merging parties view each other as strong

competitors.” IQVIA, 710 F. Supp. 3d at 383; see also, e.g., Hackensack, 2021 WL 4145062, at

*21 (collecting cases); Anthem, 236 F. Supp. 3d at 216 (“Relevant evidence of a merger’s

potential unilateral effects include the merging companies’ ordinary course of business

documents, testimony of industry participants, and the history of head-to-head competition

between the two merging parties.”).

42.    Extensive evidence of head-to-head competition is “an important consideration when

analyzing possible anti-competitive effects.” Anthem, 236 F. Supp. 3d at 216. It shows both that

consumers will have fewer options overall, and fewer of the options they consider close



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substitutes. Bertelsmann, 646 F. Supp. 3d at 39.

43.    “[T]his is true even where the merging parties are not the only two, or even the largest,

competitors in the market.” Anthem, 236 F. Supp. 3d at 216 (collecting cases); see also RSR, 602

F.2d at 1325 (“[A] merger of the second and fifth largest firms . . . is not the merger of ‘two

small firms.’”). Courts have rejected attempts to point out allegedly closer competitors to avoid

antitrust scrutiny. See, e.g., Anthem, 236 F. Supp 3d at 216 (“Anthem’s insistence that United,

not Cigna, is its ‘closest’ competitor, is beside the point.”); Sysco, 113 F. Supp. 3d at 62 (“[T]he

merging parties need not be the top two firms to cause unilateral effects . . . .”); H&R Block, 833

F. Supp. 2d at 83 (“The fact that Intuit may be the closest competitor for both HRB and TaxACT

does not necessarily prevent a finding of unilateral effects for this merger.”).

44.    Additionally, courts routinely consider evidence that the acquirer constrains the prices of

the target firm as well as non-price competition. In Hackensack, for example, the Third Circuit

highlighted that the acquiring firm “places a strong competitive constraint on [the seller]”

including a constraint on non-price competition. 30 F.4th at 174.

           D. Defendants Cannot Rebut Plaintiffs’ Case

45.    Defendants’ attempts to rebut the prima facie case are unsuccessful.

       1. The proposed divestiture does not address the acquisition’s anticompetitive harm

46.    Proposed divestitures are rebuttal evidence for which Defendants bear the burden of

production. See, e.g., Aetna, 240 F. Supp. 3d 1 at 60; FTC v. Staples, Inc., 190 F. Supp. 3d 100,

137 n.15 (D.D.C. 2016); Sysco, 113 F. Supp. 3d at 72.

47.    Where the “prima facie case anticipates and addresses the respondent’s rebuttal evidence,

as in this case, the prima facie case is very compelling and significantly strengthened,” and “the

respondent’s burden of production on rebuttal is also heightened.” Chicago Bridge, 534 F.3d at



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426. The more the merger threatens competitive harm, as here, the surer the remedy must be—

that is, the “more evidence the defendant must present to rebut [the prima facie case]

successfully.” Heinz, 246 F.3d at 725.

48.    To rebut Plaintiffs’ prima facie case, Defendants have the burden to establish a

divestiture would “sufficiently mitigate[] the merger’s effect such that it [is] no longer likely to

substantially lessen competition.” Illumina, 88 F.4th at 1059; see also Sysco, 113 F. Supp. 3d at

72 (divestiture must “restore competition” and “replac[e] the competitive intensity lost as a result

of the merger”).

                    i. The proposed divestiture does not address harm in hundreds of markets

49.    Defendants bear the burden of proving that the divestiture would be sufficient to fill the

competitive void left by the acquisition in every presumptively illegal market. “[I]f

anticompetitive effects of a merger are probable in ‘any’ significant market,” the merger violates

Section 7. Brown Shoe, 370 U.S. at 337; see also Anthem, 855 F.3d at 368 (threat of

anticompetitive effects in one local market “provides an independent basis for the injunction”

prohibiting merger). As this Circuit has held, in “the statutory phrase ‘in any line of commerce’,

the word entitled to emphasis is ‘any’ . . . . The line of commerce need not even be a large part of

the business of any of the corporations involved.” Crown Zellerbach, 296 F.2d 812; see also

RSR, 602 F.2d at 1323 (merger violates Section 7 “if anticompetitive effects of a merger are

probable in ‘any’ significant market”); Whole Foods, 548 F.3d at 1034 (“if, as appears to be the

situation, it remains possible to reopen or preserve a Wild Oats store in just one of those markets,

such a result would at least give the FTC a chance to prevent a § 7 violation in that market”);

Pargas, Inc. v. Empire Gas Corp., 423 F. Supp. 199, 227 (D. Md. 1976), aff’d, 546 F.2d 25 (4th

Cir. 1976) (preliminarily enjoining acquisition alleged to affect “only a limited number of

communities” since divestiture must address “any geographic area”).
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50.    Even assuming a perfectly successful divestiture, Plaintiffs have shown that the

acquisition is presumptively unlawful in hundreds of supermarket and large format markets that

the divestiture does not address. See FOF § V.A supra. The divestiture fails on this basis.

                   ii. The proposed divestiture will not mitigate a substantial lessening of
                      competition in the remaining markets

51.    Where a divestiture buyer does not “already [have], or could easily attain, the other

capabilities needed to compete effectively,” divesting an “existing business entity” is more likely

to preserve competition. Aetna, 240 F. Supp. 3d at 60; Sysco, 113 F. Supp. 3d at 73-76.

52.    Courts have found divestitures inadequate where the divestiture buyer would not be able

to operate on its own and therefore “[would] not be a truly independent competitor.” See Sysco,

113 F. Supp. at 77-78 (finding divestiture insufficient where buyer would be “dependent on the

merged entity for years following the transaction,” including licensing private label products for

three years and licensing a database for five years); CCC Holdings, 605 F. Supp. 2d at 59. As

the Aetna court explained: “Courts are skeptical of a divestiture that relies on a continuing

relationship between the seller and buyer of divested assets because that leaves the buyer

susceptible to the seller’s actions—which are not aligned with ensuring that the buyer is an

effective competitor.” 240 F. Supp. 3d at 60.

53.    Courts have also found divestitures inadequate where the buyer would have higher costs,

fewer private label products, or less expertise, and thus may not be able to effectively. See

Sysco, 113 F. Supp. at 76-78; FTC v. Libbey, Inc., 211 F. Supp. 2d 34, 52 (D.D.C. 2002) (buyer

would have higher costs and “thus may not be able to effectively compete”).

54.    Executive experience does not make up for a divestiture buyer’s lack of critical

capabilities. See Sysco, 113 F. Supp. 3d at 73 (“Defendants also point to the industry acumen

and experience of PFG’s executives . . . . [T]he court is not persuaded that post-merger PFG will


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be able to step into USF’s shoes to maintain—certainly not in the near term—the pre-merger

level of competition that characterizes the present marketplace.”).

55.    A divestiture buyer’s experience in the markets at issue is a relevant factor in assessing

whether the buyer will be able to successfully compete with the divested assets. See Aetna, 240

F. Supp. 3d at 59, 72-73 (buyer’s “history in the individual Medicare Advantage market also

raises concerns about its ability to successfully compete following the divestiture”).

56.    Courts in antitrust merger cases do not defer to the business judgment of divestiture

buyers or treat them as disinterested. In Aetna, both the divestiture buyer and Defendants

testified to their confidence in the plans for the divestiture. The court did not take those

representations at face value and independently reviewed the facts and internal statements,

ultimately holding that “[t]he totality of the evidence suggests that [the buyer] is not likely to

have the internal capacity . . . to successfully operate the divestiture plans so as to replace the

competition lost by the merger.” 240 F. Supp. 3d at 70; see also Sysco, 113 F. Supp. 3d at 73.

57.    The court in Aetna observed that the divestiture’s “low purchase price raises concerns

about whether [the divestiture buyer] can be a successful competitor” and “supports the

conclusion that [the buyer] has serious doubts about its own ability to manage all the divestiture

[assets] but is willing to try given the low risk to the company reflected in the bargain price.”

Aetna, 240 F. Supp. 3d at 72. The court found “especially” probative “statements made by [the

divestiture buyer’s] executives and board members while the deal was being negotiated.” Id. at

64. Equivalent evidence has been shielded by Defendants and C&S here on claims of privilege.

See FOF § V.B.3.i, supra.

58.    Defendants’ made-for-litigation divestiture to C&S fails to meet Defendants’ substantial

burden. See FOF §§ V.A-B, supra.



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       2. The purported efficiencies do not rebut Plaintiffs’ prima facie case

59.    No circuit court has held that claimed efficiencies justified an otherwise unlawful merger.

Hackensack, 30 F.4th at 176. Indeed, it is unclear whether this is even a valid defense in the

Ninth Circuit. St. Luke’s, 778 F.3d at 789.

60.    Courts recognizing the efficiencies defense have made clear that defendants pursuing the

defense bear the burden to meet a “rigorous standard,” showing that the alleged efficiencies are

“cognizable,” meaning they enhance competition, are verifiable, and are merger specific. Penn

State, 838 F.3d at 347-51. “[P]roof of ‘extraordinary efficiencies’ is required to offset the

anticompetitive concerns in highly concentrated markets.” St. Luke’s, 778 F.3d at 792.

61.    The Clayton Act does not excuse anticompetitive mergers “simply because the merged

entity can improve its operations.” Id. at 791-792 (“It is not enough to show that the merger

would allow St. Luke’s to better serve patients.”). Further, “anticompetitive effects in one

market cannot be offset by procompetitive effects in another market.” RSR, 602 F.2d at 1325;

accord Phila. Nat’l Bank, 374 U.S. at 370-71.

62.    Defendants must show that efficiencies “ultimately would benefit competition and,

hence, consumers.” Univ. Health, 938 F.2d at 1223; Hackensack, 30 F.4th at 177; CCC

Holdings, 605 F. Supp. 2d. at 74. Further, Defendants must make this showing in the relevant

antitrust markets where harm would occur. In Aetna, for example, the court expressed “serious

concerns” about efficiencies because (1) it was “very likely that a significant share of the

claimed efficiencies may be retained by the merged firm,” and (2) defendants’ expert (Mr.

Gokhale) did not attribute the claimed efficiencies to particular markets. 240 F. Supp. 3d at 98.

As a result, the court lacked confidence that the consumers who were likely to be harmed by the

merger would also share in its benefits. Id.



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63.    To show that purported efficiencies are verifiable, defendants must provide sufficient

bases for their work such that efficiencies are “reasonably verifiable by an independent party.”

Wilhelmsen, 341 F. Supp. 3d at 72 (quoting H&R Block, 833 F. Supp. 2d at 89). Confidence of

executives and endorsement by hired consultants are not enough to establish cognizable

efficiencies. See id. at 73 (“The court cannot substitute Defendants’ assessments and projections

for independent verification.”); Sysco, 113 F. Supp. 3d at 82-85 (criticizing defendants’ expert

for relying solely on information created by defendants or their consultants); see also FTC v.

Sanford Health, 2017 WL 10810016, at *15 (D.N.D. Dec. 15, 2017), aff’d, 926 F.3d 959 (8th

Cir. 2019) (rejecting efficiencies “based only on Defendants’ estimates”). The court in Aetna, for

example, considered the best-of-both analysis proposed by defendants’ expert (Mr. Gokhale), but

took issue with the rigor of his analysis. 240 F. Supp. 3d at 97-98. Specifically, the court

explained that Mr. Gokhale could have reviewed underlying contracts himself rather than relying

on the work of consultants, which was insufficient to qualify as the type of “robust analysis”

needed to verify claimed efficiencies. Id. at 97. And where savings are projected to occur

through negotiations with third parties, the court in Anthem deemed claimed efficiencies

unverified when defendants offered no explanation for why third parties would agree to the

favorable rates claimed by defendants. 236 F.Supp. 3d at 244-45. “If this were not so, then the

efficiencies defense might well swallow the whole of Section 7 of the Clayton Act because

management would be able to present large efficiencies based on its own judgment and the Court

would be hard pressed to find otherwise.” H&R Block, 833 F. Supp. 2d at 91 (rejecting

efficiencies based on “management judgments” rather than “an analysis of facts that could be

verified by a third party”); see also Univ. Health, 938 F.2d at 1223.

64.    To show that purported efficiencies are merger specific, Defendants must establish that



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they “cannot readily ‘be achieved without the concomitant loss of a competitor.’” St. Luke’s,

778 F.3d at 790-91 (quoting Heinz, 246 F.3d at 722). “If a company could achieve certain cost

savings without any merger at all, then those stand-alone cost savings cannot be credited as

merger-specific efficiencies.” H&R Block, 833 F. Supp. 2d at 90.

65.    Increased profits are not cognizable efficiencies. ProMedica, 2011 WL 1219281, at *36

(“The numerous claimed revenue enhancement opportunities are not true efficiencies because

they merely shift revenue among the participants in the market and, in effect, do nothing more

than increase [defendant’s] bottom-line.”); CCC Holdings, 605 F. Supp. 2d at 73-74 (“[W]hile

reducing the costs of doing business provides several advantages for the merged firm, these

advantages could show up in higher profits instead of benefitting customers or competition.”).

       3. Defendants cannot satisfy the weakened competitor defense

66.    Testimony that Albertsons may in the future close stores or lay off workers cannot justify

the acquisition. FOF § V.C, supra. Such claims are evaluated under the “weakened competitor”

defense, requiring “a substantial showing that the acquired firm’s weakness, which cannot be

resolved by any competitive means, would cause that firm’s market share to reduce to a level

that would undermine the government’s prima facie case. ProMedica, 749 F.3d at 572.

67.    Courts credit such defenses “only in rare cases,” and have described the defense as “the

Hail-Mary pass of presumptively doomed mergers.” Id. at 572; see also Kaiser Aluminum &

Chem. Corp. v. FTC, 652 F.2d 1324, 1339 (7th Cir. 1981) (“Financial weakness, while perhaps

relevant in some cases, is probably the weakest ground of all for justifying a merger.”).

68.    Defendants’ arguments fail under the weakened competitor defense. Defendants do not

assert that concentration levels are on the verge of dropping below those that trigger a

presumption of illegality in any of the relevant markets identified Plaintiffs’ prima facie case.



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Nor do they show that Albertsons’ claimed “weakness . . . cannot be resolved by any competitive

means.” ProMedica, 794 F.3d at 572; see also Warner Commc’ns, 742 F.2d at 1164-65 (“[A]

company’s stated intention to leave the market . . . does not in itself justify a merger.”).

69.    Likewise, Defendants’ arguments fail under a failing firm defense, which requires a

company to show that “its resources were so depleted and the prospect of rehabilitation so

remote that it faced the grave probability of a business failure” and (2) “that it tried and failed to

merge with a company other than the acquiring one.” Olin Corp., 986 F.2d at 1306-1307.

       4. The promised “price investments” do not rebut Plaintiffs’ prima facie case

70.    Defendants’ promise to lower prices is entitled to no weight. See, e.g., Meta Platforms,

654 F. Supp. 3d at 937 (“[S]ubjective corporate testimony is generally deemed self-serving and

entitled to low weight.”); Bertelsmann, 646 F. Supp. 3d at 50 (CEO’s promise about post-merger

conduct “lack[ed] credibility” because it “would not be profit-maximizing and is thus unreliable

evidence of future conduct” and could “be broken at will”); see also State of Washington v.

Kroger Co. et al., No. 24-2-00977-9, Superior Court of the State of Washington, County of King

(September 10, 2024 Hrg. Tr. at 52:13-19) (“The Court’s ruling is that the motion in limine

regarding the defendants’ non-binding promise to lower prices is granted.”).

71.    In merger cases, the critical question is whether the merger will enable the merging

companies to increase prices profitably. While a defendant may make promises—even credible

promises— not to raise prices, “this type of guarantee cannot rebut a likelihood of

anticompetitive effects.” H&R Block, 833 F. Supp. 2d at 82 (rejecting defense that defendants

pledged to maintain the acquired firm’s current prices for three years, even though it “has no

reason to doubt that defendants would honor their promise”).

       5. Entry and expansion will not be timely, likely, or sufficient to counteract the
          acquisition’s anticompetitive effects

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72.         Defendants bear the burden of showing that “low barriers to entry” rebut Plaintiffs’ prima

facie case. United States v. Bazaarvoice, Inc., 2014 WL 203966, at *71 (N.D. Cal. Jan. 8, 2014);

see also Heinz, 246 F.3d at 715 n.7. To meet their burden, Defendants must demonstrate that

any entry by new firms, or expansion by existing firms, will be “timely, likely, and sufficient in

its magnitude, character, and scope to deter or counteract the competitive effects of concern” of

the merger. IQVIA, 710 F. Supp. 3d at 393; 2023 Merger Guidelines § 3.2. Put differently, entry

or expansion must “fill the competitive void” resulting from the merger. H&R Block, 833 F.

Supp. 2d at 73. Entry must be “of a sufficient scale to compete on the same playing field.”

Chicago Bridge, 534 F.3d at 431-32. And entry must occur before the merger causes

anticompetitive effects and must maintain competition over the long term. Aetna, 240 F. Supp.

3d at 52-53. Defendants cannot make that showing here. See FOF § V.D, supra.

      II.      THE EQUITIES FAVOR A PRELIMINARY INJUNCTION

               A. Defendants’ Interest in Completing the Transaction Before the Merits
                  Proceeding Does Not Outweigh the Public Equities

73.         The second step in determining whether to grant preliminary relief is to “weigh the

equities in order to decide whether enjoining the merger would be in the public interest.” IQVIA,

710 F. Supp. 3d at 400 (quoting Penn State Hershey, 838 F.3d at 352).

74.         The equities under Section 13(b) go to the “consequences resulting from the requested

injunction”—not any equities concerning the merger itself. FTC v. Meta Platforms, Inc., 2022

WL 16637996, at *6 (N.D. Cal. Nov. 2, 2022); accord Penn State Hershey, 838 F.3d at 353.

75.         “The prevailing view is that, although private equities may be considered, they are not to

be afforded great weight.” IQVIA, 710 F. Supp. 3d at 400 (quoting Penn State Hershey, 838

F.3d at 352); accord Univ. Health, 938 F.2d at 1225 (interests of private parties carry “little

weight”). As such, “no court has denied a Section 13(b) motion for a preliminary injunction


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based on weight of the equities where the FTC has demonstrated a likelihood of success on the

merits.” Peabody, 492 F. Supp. 3d at 918.

76.    “The principal public equity weighing in favor of issuance of preliminary [] relief is the

public interest in effective enforcement of the antitrust laws.” Heinz, 246 F.3d at 726. As the

Supreme Court explained in United States v. E. I. du Pont de Nemours & Co.: “The proper

disposition of antitrust cases is obviously of great public importance, and their remedial phase,

more often than not, is crucial. For the suit has been a futile exercise if the Government proves a

violation but fails to secure a remedy adequate to redress it.” 366 U.S. 316, 323 (1961).

77.    “If the acquisition is allowed to proceed but is later found to be violative of the antitrust

laws, divestiture will be required. At best, divestiture is a slow, cumbersome, difficult,

disruptive and complex remedy.” Lancaster, 434 F. Supp. at 1096; accord Heinz, 246 F.3d at

726 (recognizing that “divestiture is an inadequate and unsatisfactory remedy in a merger case”).

78.    Here, the equities support entry of a preliminary injunction. Without it, Kroger can

acquire Albertsons and begin integrating immediately. The divestiture to C&S will also

consummate. See Sysco, 113 F. Supp. 3d at 87 (FTC may face the “daunting and potentially

impossible task” of “unscrambling the eggs” if merger ultimately deemed unlawful).

79.    In contrast, Defendants cannot establish harm merely from waiting for the administrative

process to play out. There is “no reason why, if the merger makes economic sense now, it would

not be equally sensible to consummate the merger following a[n] FTC adjudication on the merits

that finds the merger lawful.” Penn State Hershey, 838 F.3d at 353.

80.    Defendants’ claims they will abandon the acquisition if a preliminary injunction is

granted do not weigh against enjoining the acquisition. See id. (“[E]ven accepting [Defendants’]

assertion that they would abandon the merger following issuance of the injunction, the result—



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that the public would be denied the procompetitive advantages of the merger—would be

[Defendants’] doing.”); IQVIA, 710 F. Supp. 3d at 400-01 (similar); Wilhelmsen, 341 F. Supp. 3d

at 74 (similar).

            B. Plaintiffs are Not Required to Establish Irreparable Harm

81.     When Congress adopted Section 13(b) was adopted, it made plain its intent “to maintain

the statutory or ‘public interest’ standard . . . The Conferees did not intend, nor do they consider

it appropriate, to burden the Commission with the requirements imposed by the traditional equity

standard . . . .” H.R. Rep. No. 93-624 (1973) (Conf. Rep.), as reprinted in 1973 U.S.C.C.A.N.

2523, 2533; Lancaster, 434 F. Supp. at 1090.

82.     Contrary to Defendants’ argument, the recent Starbucks decision does not hold to the

contrary. Instead, Starbucks held that when Congress seeks to depart from traditional equity

practice, it must “ma[k]e its desire plain.” Starbucks Corp. v. McKinney, 144 S. Ct. 1570, 1577

(2024); see also Gilley v. Stabin, 2024 WL 3507982, at *1 n.3 (D. Or. July 23, 2024)

(“Defendants have not convinced the Court that Starbucks invalidated the ‘serious questions’

test.”). That is exactly what Congress did here: Section 13(b) expressly departs from traditional

equity practice by (1) relieving the FTC of the requirement to show irreparable harm, (2)

substituting a “public interest” standard in its place, and (3) directing courts to “consider” the

likelihood of success along with the equities.

83.     Further, even if the FTC needed to show irreparable harm (which it does not), it has. As

the Ninth Circuit stated plainly in Boardman v. Pac. Seafood Grp., “A lessening of competition

constitutes an irreparable injury under our law.” 822 F.3d 1011, 1023 (9th Cir. 2016) (affirming

injunction where plaintiffs showed a reasonable probability that the challenged merger would

substantially lessen competition).



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Dated: September 27, 2024       Respectfully submitted,

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